EXHIBIT E
EXHIBIT 1
EXHIBIT 2
EXHIBIT 3
                                  CURRICULUM VITAE
                            WARREN JAMES WOODFORD, Ph.D., Chemist
                            451 Lower Cravens, Chattanooga, Tennessee 37409
                                       Telephone (423) 821-1146

EDUCATION

     B.S., Chemistry, East Carolina University, 1968.
     M.S. & Ph.D., Chemistry, Emory University, 1973.
     Postdoctoral, Medicinal Chemistry, Kansas University, 1974.

PUBLISHED BIOGRAPHICAL INFORMATION

     Who's Who in Frontiers of Science and Technology.
     American Men and Women in Science.

MEMBERSHIPS

     American Chemical Society.
     American Association for the Advancement of Science.

LICENSE & CERTIFICATES

     Researcher License, State of Tennessee Department of Health (License No. 10410) for activities
     regarding Scientific Research, Chemical Analysis of Controlled Substances, and Training of Odor
     Detection Animals.

     Controlled Substances Registration Certificates, United States Department of Justice, August 1989
     through May 1997, for Analytical Lab Activities regarding testing of controlled substances in
     Schedules 1, 2, 3, 3N, 4, 5. From June 1997 to present, am permitted to conduct independent
     examinations and testing of controlled substances on a case-by-case basis in licensed crime
     laboratories.

     Drug Recognition and Evaluation Overview Course on NHTSA Manual, Certificate of Completion,
     Atlanta, Georgia, May 20-22, 2004.

     Medical Review Officer (MRO) Federal Health & Human Services Training Course, Certificate of
     Completion, Chicago, Illinois, November 1-3, 1996.

FORENSIC WORK

     Examined and tested a large variety of controlled substances at New Scotland Yard's Forensic
     Sciences Laboratories in London, England; as a visiting scientist, focused on forensic laboratory
     testing methods, October 1975.

     For 38+ years have conducted numerous examinations of evidence and testing for controlled
     substances at various American crime laboratories and police station evidence rooms.




                                             Page 1 of 4
     Researched marijuana cultivation, laboratory testing, and smell identification in the Bibliographic
     Area of the Institute of Pharmaceutical Sciences (United States government marijuana farm), in
     Oxford, Mississippi, May 1980.

     Conducted laboratory studies regarding the GC/MS testing method for marijuana at the United
     States Army Forensic Drug Testing Laboratory, Wiesbaden, West Germany, July 1986.

     Observed odor-detection K-9s in action with their police handlers in Croatia, Hungary & Poland,
     July 1999.

     For about 15 years studied and worked with Thomas A. Knott, retired Baltimore police K-9 trainer
     and handler who was also a K-9 trainer/handler consultant for the FBI, HRT (Hostage Rescue
     Team), and the White House K-9 Corps. Observed his use of K-9s and his demonstrations with K-9s
     many times. He gave me access to his vast library on the subject of K-9 training and handling.
     Collaborated with other police K-9 trainers and advised handlers regarding K-9 training for smell-
     detection of controlled substances. Associative membership in the National Narcotic Detector Dog
     Association, 2007-2011.

     Participant variable surface tracking (VST) K-9 certification sessions, American Kennel Club,
     Athens, GA, October 1994.

EXPERT TESTIMONY
     Qualified as an expert witness on the subject of laboratory testing of controlled substances and
     testified more than 500 times (1975 to present) in many State Courts, Federal Courts, and Military
     Courts in the continental United States and abroad.

     Qualified as an expert witness on the subject of training requirements and conditions for humans to
     reliably smell-detect odors of controlled-substances and testified in Federal Courts in Florida,
     Oregon, Washington, California, and Texas; and in State Courts in Georgia, New Mexico, Ohio,
     Indiana, Colorado, Washington, and Vermont.

     Qualified as an expert witness on the subject of training requirements and conditions for K-9s to
     reliably detect odors of controlled substances in Federal Courts in California and in Washington,
     D.C. (testimony also incorporated into various other Federal jurisdictions such as Tennessee)
     and have testified on this subject in State Courts in Pennsylvania, Oregon, Nebraska, and South
     Dakota.


AUTHORED WORK

     Expert Evidence in Criminal Law: The Scientific Approach, Published by Irwin Law, Inc., Pages 120-
     121, 2009. Subject: Mathematical analysis of Police observations of drug detection.

     Endogenous Alcohol in Blood Can Add to BAC Levels, Proceedings of the 51st Annual Meeting of the
     American Academy of Forensic Sciences, Abstract No. E-10, page 133, 1999. Subject: dietary alcohol
     volatilizes upon heat incubation prior to headspace gas chromatograph testing of blood.

     Crime Lab Shortcuts Make for Bad Chemistry in Court, Bureau of National Affairs, Criminal Practice
     Manual, Volume 9 (12), page 281, 1995. Subject: Interview regarding common errors made by crime
     laboratories during the testing of controlled substances.

     Guidelines for DRE (Drug Recognition Evaluation) (co-author), American Academy of Forensic
     Sciences, 40th Annual Meeting, San Antonio, Abstract No. E-15, page 124, 1994.


                                             Page 2 of 4
    Affidavit, Drug Testing Legal Manual, Clark Boardman Co., page B8-1, 1989. Subject: laboratory
    testing errors in urinalyses of controlled substances.

    Detection of the Parkinsonism-Producing Neurotoxin, MPTP, Academic Press, New York, page 543,
    1986. Subject: co-developed assay method for neurotoxic impurity in controlled substances with
    scientists at the Centers for Disease Control (CDC) in Atlanta, Georgia.

    The Relation Between Paraquat Spills and Brain Damage, DEA Final Environmental Impact Statement,
    Ace-Federal Reporters, Washington, D.C., page 282, 1986.

    Assay for Neurotoxin, Symposium on MPTP, Department of Neurology, Uniformed University of the
    Health Sciences, Bethesda, Maryland, page 61, 1985. Subject: method for detecting neurotoxic
    impurity in controlled substances; co-developed with scientists at the Centers for Disease Control
    (CDC) in Atlanta, Georgia.

    How to Interpret Breath Alcohol Reports, Library of Congress 83-51151, 1983.

    Synthesis of 5-substituted 2'-deoxyuridines, Journal of Medicinal Chemistry, (co-author) Volume 19,
    page 909, 1976. Subject: Cancer therapeutic drug.

    Screening Procedures for Drugs, Journal of Chromatography, Volume 115 (2), page 678, 1975.
    Subject: demonstration of errors in a crime laboratory method of testing controlled substances.

    Synthesis of the Alpha and Beta Anomers of 1- (2-deoxy-D-ribofuranosyl)-4'-pyridone, Journal of
    Medicinal Chemistry, (co-author), Volume 17, page 1027, 1974. Subject: Cancer therapeutic drug.

    Synthesis and Cyclization. An Approach to pseudo-santonin; Dissertation Abstracts International,
    Volume 34 (2), page 603, 1973. Subject: The odor ingredient in Absinthe,

    The Gas-phase Synthesis and Reactions of Bromamine, Inorganic Chemistry, (co-author) Volume 8 (4),
    page 998, 1969. Subject: Bromamine in human breath is a biological marker for asthma, bronchitis
    and emphysema (i.e., chronic obstructive pulmonary disease, COPD).

ACKNOWLEDGMENTS

    What the Nose Knows; the Science of Scent in Everyday Life, Crown Publishers, NY, pages 31-33, 71-
    72, 2008. Subject: odor identifications of marijuana and cocaine.

    Criminal Practice Report, Who Really Knows What a Dog’s Nose Knows? Pike & Fischer, Inc.
    (subsidiary of The Bureau of National Affairs) Volume 12, No. 23, page 462, 1998. Subject: methyl
    benzoate; the actual odor of cocaine.

    Indoor Air Pollution and Health, Marcel Dekker, Inc., Chapter 15, page 337, 1996. Subject: Biological
    markers for volatile organic compound (VOC) odors from indoor air exposures. Co-contributor with
    scientists from the Oregon Health Sciences University in Portland, Oregon and the Centers for
    Disease Control (CDC) in Atlanta, Georgia.

    American Bar Association Journal, August issue, page 22, 1993. Subject: cocaine traces on currency
    produce methyl benzoate, the odor of cocaine.




                                            Page 3 of 4
    Scientific Evidence (Cumulative Supplement), The Michie Company, page 128, 1989. Subject: By
    testing a woman using the male scale, she will inevitably score as though she had consumed more
    alcohol than in fact she has.

    Electronic Supervisor (United States Congress Office of Technology Assessment), Document OTA-
    CIT-333, pages 133-4, 1987. Subject: origin of false-positive test results on urinary metabolites of a
    marijuana.

    Journal of Immunological Methods, Volume 101, page 50, 1987. Subject: contribution to the U.S.
    Public Health study by the Centers for Disease Control (CDC) regarding improving laboratory
    equipment for drug testing based on immunoassays.

    Substance Abuse Report, April issue, page 7, 1986. Subject: marijuana metabolite testing flawed by a
    melanin by-product.

    Bigger Secrets, Houghton Mifflin Co., Boston, Chapter 10, page 77, 1986. Subject: detection of
    cocaine residues on United States Currency in general circulation.

    Designer Drugs, CompCare Publications, Minneapolis, Chapter 5, page 111, 1986. Subject:
    “Woodford/Vogt Test”; a detection method for a neurotoxin by-product in “designer drugs”; co-
    developed with Dr. Robert Vogt, laboratory scientists at the Centers for Disease Control (CDC) in
    Atlanta, Georgia.

    The Champion, Volume IX (4), page 4, 1985. Subject: Equipment and testing method for determining
    human lung breath-to-blood ratios.

    Substance Abuse: Pharmacologic and Clinical Perspectives, John Wiley and Sons, New York, page 63,
    1983. Subject: chemical definition of “Cocaine Freebase”.

    Analytical Chemistry Reviews, Volume 51 (5), page 258R, 1979. Subject: Screening Procedures for
    Drugs, Journal of Chromatography, Volume 115 (2), page 678, 1975. Subject: Evaluation of crime
    laboratory testing methodology for drug testing.

RESEARCH GRANTS

    United States Public Health Service (Department of Health & Human Services) CA54401 and
    CA55401.

PATENTS

    United States Patent No. 4,260,517, My patented formulation of methyl benzoate, the odor of cocaine,
    was tested and found effective for human and canine smell-training and proficiency testing; available
    to K-9 trainers and handlers from Sigma Chemical Co., Forensic Chemistry Catalog No. P2423-
    100G. Mimicking the Odor of Cocaine for Police Use, New York Times, April 11, 1981. Confirmed as
    the actual odor of cocaine that canines alert and indicate to (Odor confirmed by other scientists:
    Proceedings of the 51st Annual Meeting of the American Academy of Forensic Sciences, Abstract No. B-
    28, page 33, 1999).

    United States Patent No. 4,843,020, Improved GC/MS method and solutions to eliminate false-
    positive test results for marijuana.
                                                                                     October 2014




                                             Page 4 of 4
EXHIBIT 4
I testified as an expert witness in the following cases during the past eight years to date:

2010

State of Georgia v. Guintivano, Clarke County State Court, Attorney Ben Sessions, Judge
Simpson, Jury Trial. Subject Infrared Breath Alcohol Testing.

State of Georgia v. Newman, Columbia County Superior Court, Attorney Victor Hawk,
Judge Brown, Re-trial by Jury. Subject: Assay Blood Alcohol Gas Chromatography
Testing.

State of Georgia v. King, Douglas County State Court, Attorney Trina Griffiths, Judge
Dettmering, Jury Trial. Subject: Alcohol Infrared Breath Testing.

State of Georgia v. Sinon, Houston County State Court, Attorney Robert Daniel, Judge
Richardson, Jury Trial. Subject: Alcohol Infrared Breath Testing.

State of Georgia v, Schiavone, Hall County State Court, Attorney Watson, Judge Baldwin,
Jury Trial. Subject: Alcohol Infrared Breath Testing.

State of Vermont v. Bryant, Lamoille District Court, Attorney Paul Volk, Judge Pearson,
Motions Hearing. Subject: Human olfactory observations.

City of Macon Georgia v. Britt, Attorney Debra Gomez, Judge Herndon, Administrative
Hearing. Subject: Assay Drug GCMS Testing False Positives.

State of Georgia v. Tylor, Jones County Superior Court, Attorney Mary Stanley, Judge
George, Jury Trial Subject: Alcohol Infrared Breath Testing.

Connecticut Board Department of Public Health v. LaChance, Attorney Kardaras,
Hearing Officer Gaither, Administrative Hearing. Subject: Drug GCMS Testing.

Smith County Tennessee Education Association v. Smith County Board of Education,
United States District Court of the Middle District of Tennessee at Nashville, Attorney
Rick Colbert, Judge Campbell, Deposition. Subject: Teacher Drug Testing.

State of Georgia v. Ibarra, Coweta County State Court, Attorney Allen Trapp, Judge
Cranford, Jury Trial. Subject: Alcohol Infrared Breath Testing.

Department of Labor and Industries, Industrial Insurance Division, State of Washington,
In re: Lolkus, Attorney Hunter Macdonald, Deposition. Subject: Volatile Organic
Chemicals (VOC); indoor-air work environment.

State of New Jersey v. Macaluso and Rivers, Bergen County State Court, Judge Roma,
Attorneys James Bustamante and David Michael. Subject: Human and canine olfactory
observations.



                                                                                               1
State of California v. Paralta, City & County Superior Court of San Francisco, Attorney
Marshall Schulman, Judge Chan. Subject: Human olfactory observations.

Smith County Tennessee Education Association v. Smith County Board of Education,
United States District Court of the Middle District of Tennessee at Nashville, Attorney
Rick Colbert, Judge Campbell. Bench Trial. Subject: Teacher Drug Testing.

2011

State of Florida v. Sanchez, Collier County Circuit Court, Judge Hardt, Attorney David
Macey, Evidentiary Hearing. Subject: Human olfactory observations.

State of Georgia v. Mobley, Bibb County State Court, Attorney Bob Daniel, Macon,
Georgia, Judge Adams, Bench Trial. Subject: Alcohol Infrared Breath Testing.

State of Georgia v. Lafferty, Bibb County State Court, Attorney; Bob Daniel, Macon,
Georgia, Judge Adams, Jury Trial. Subject: Alcohol Infrared Breath Testing.

State of Georgia v. Burton, Houston County State Court, Attorney Bob Daniel, Macon,
Georgia, Judge Ashford, Jury Trial. Subject: Alcohol Infrared Breath Testing.

State of Georgia v. Seymour, Athens-Clarke County State Court, Attorney Doug
Lenhardt, Athens,, Georgia, Judge Simpson, Jury Trial. Subject: Alcohol Infrared Breath
Testing.

State of Georgia v. Yarrington, Cobb County State Court, Attorney Steven Ward, Atlanta,
Georgia, Judge Glover, Jury Trial. Subject: Alcohol Infrared Breath Testing.

People of Illinois v. Maloney, Henry County Circuit Court, Attorney Steve Hanna,
Moline, Illinois, Judge Hammer, Evidentiary Hearing. Subject: Human Olfactory
Observations.

State of Georgia v. Ford, Athens-Clarke County Georgia State Court, Attorney Steven
Ward, Atlanta, GA, Judge Simpson, Jury Trial: Subject: Alcohol Infrared Breath Testing.

State of Nebraska v. Doyle, Lancaster County District Court, Attorney Sara Zalkin, San
Francisco, and John Berry, Lincoln, Nebraska, Judge Flowers. Evidentiary Hearing.
Subject: Canine Olfactory Observations.

State of South Dakota v. Delgado, Pennington County Circuit Court, Attorneys J. Tony
Serra, San Francisco, CA, and Timothy J. Rensch, Rapid City, S.D., Judge Thorstenson.
Evidentiary Hearing. Subject: Canine Olfactory Observations.




                                                                                          2
People of California v. Cole, Sonoma County Superior Court, Attorneys Erica E. Treeby
and J. Tony Serra, San Francisco, CA, Judge Medvigy, Evidentiary Hearing. Subject:
Canine Olfactory Observations.

2012

State of Georgia v. Rodriguez-Zepeda, Hall County Georgia Superior Court, Attorney
Jim Hodes, Atlanta, GA, Judge Gosselin, Bench Trial. Subject: Net Weight of Evidence.

State of Georgia v. Putmon, Fulton County Georgia Superior Court, Attorney Michael
Holmes, Atlanta, GA, Judge Schwall, Evidentiary Hearing. Subject: Human Olfactory
Observations.

State of Georgia v. Ford, Athens-Clarke County Georgia State Court, Attorney Steven
Ward, Atlanta, GA, Judge Simpson, Jury Re-Trial: Subject: Breath Alcohol Testing.

State of Georgia v. Patanode, Hall County Georgia State Court, Attorneys David Powell
and Jeffery Talley, Gainesville, GA, Judge Wynne, Jury Trial. Subject: Prescription
Drug Testing.

State of Georgia v. Ladow, Fulton County Georgia Sate Court, Attorney Lawrence Kohn,
Atlanta, GA, Judge John R. Mather, Jury Trial. Subject: Breath Alcohol Testing.

State of Georgia v. Jenkins, Fulton County Georgia State Court, Attorney Charles T.
Magarahan, Atlanta, Judge Fred C. Eady, Jury Trail. Subject: Breath Alcohol Testing.

State of Georgia v. Bonnick, Gwinnett County Georgia State Court, Attorney Russell
Burnett, Atlanta, Judge Randy Rich, Jury Trial. Subject: Breath Alcohol Testing.

State of Georgia v. Miller, Bartow County Georgia Superior Court, Attorneys Steven
Ward (Atlanta) and Trina Griffiths (Marietta). Judge David Smith. Jury Trial. Subject:
Breath Alcohol Testing.

State of Washington v. Fager, Jefferson County Superior Court, Attorneys Michael Haas
(Port Townsend) and James Dixon (Seattle). Judge Craddock Verser. Evidentiary
Hearing. Subject: Human Olfaction.

State of North Carolina v. Stough, Jackson County Criminal Superior Court, Attorneys
Roy Patton (Sylva) and Ben Scales (Ashville). Judge Allen Thornburg. Jury Trial.
Subject: Methamphetamine Testing.

2013

State of California v. Phillips, et al., Orange County Superior Court, San Francisco
Attorneys: Tony Serra, Shari White, Kali Grech, and Gregory Bentley, Judge John D.
Conley. Evidentiary Hearing. Subject: Human Olfaction.



                                                                                         3
State of Georgia v. Cho, Gwinnett County State Court, Attorney Kevin Mooney (Atlanta),
Jury Trial. Subject: Breath Alcohol Testing.

State of Georgia v. Karimi, Forsyth County State Court, Attorney Charles Magarahan
(Atlanta), Chief Judge T. Russell McClelland, III, Jury Trial. Subject: Breath Alcohol
Testing.

State of Georgia v. Kinney, Fulton County State Court, Attorney James K. “Skip”
Sullivan (Atlanta), Judge Diane E. Bessen, Jury Trial. Subject: Breath Alcohol Testing.

Rothenberg, et. al., v. The New York City Taxi and Limousine Commission, and The
City of New York, et. al., United States District Court Southern District of New York,
Attorneys Dan Ackman and Norman Siegel (New York), Deposition. Subject: Workplace
Drug Testing.

State of Ohio v. Aliu, et. al., Lorain County Court of Common Pleas, Attorneys Michael
Duff, Dan Whiteman (Cleveland, OH), and Eber Bayona (Norwalk, CA), Judge James M.
Burge. Evidentiary Hearing. Subject: Human and K-9 Olfaction.

State of Washington v. Espinoza, et al, Pierce County Superior Court, Attorney Lisa
Mulligan (Seattle), Ephraim Benjamin (Tacoma), Michael Negle (Olympia), Judge
Ronald E. Culpepper. Evidentiary Hearing. Subject: Canine Olfaction.

American Federation of Government Employees (AFGE) Local 2585 and the Federal
Mediation and Conciliation Services, DOJ Bureau of Prisons, FCI Bennettsville, South
Carolina, Re: Slover, Attorney Evan Greenstein, Arbitrator: Harry Mason
Arbitration Hearing. Subject: Prison Drug Testing.

United States of America v. Wiggins, District Court for the District of New Mexico,
Federal Defender Attorney Marc Robert, Judge William Johnson, Evidentiary Hearing,
Subject: Probation Drug Testing.

State of Georgia v. Brischler, State Court of Dekalb County, Georgia, Attorney Charles T.
Magarahan, (Atlanta), Judge Johnny N. Panos, Jury Trial. Subject: Breath Alcohol
Testing.


2014

State of Georgia v. Amick, State Court of Hall County, Georgia, Attorney Gus McDonald,
Cornelia, Georgia, Judge Larry A. Baldwin, II, Jury Trial. Subject: Blood Alcohol
Testing.

Sate of Georgia v. Wandel, Coweta County State Court. Attorney John Travis Overocker,
Carrolton, GA, Judge John Herbert Cranford, Jury Trial. Subject: Breath Alcohol Testing.



                                                                                          4
State of Indiana v. Conkright, Vanderburg County Superior Court, Attorneys Glenn
Grampp and Patrick Duff, Evansville, IN, Judge Wayne Trockman, Evidentiary Hearing.
Subject: Human olfactory observations.

State of Georgia v. Slabbaert, Fulton County State Court, Attorney Steven Ward, Atlanta;
Judge Myra H. Dixon, Jury Trial. Subject: Breath Alcohol Testing.

State of Texas v. Jones, Montgomery County, 359th District Court, Attorneys Luro Taylor,
Houston, and Patty Miginnis, Conroe; Judge Kathleen Hamilton. Evidentiary Hearing.
Subject: K-9 olfactory observations.

State of Georgia v. Long, Fulton County State Court, Attorney Charles T. Magarahan,
Atlanta, Judge Fred C. Eady, Jury Trial. Subject: Breath Alcohol Testing.

State of Georgia v. Woody, Superior Court of Dawson County, Charles T. Magarahan,
Atlanta, Judge Jason Deal, Jury Trial. Subject: Breath Alcohol Testing.

State of Georgia v. Kim, Gwinnett County State Court, Attorney Kevin Mooney, Atlanta,
Judge Emily Brantley, Jury Trial. Subject: Breath Alcohol Testing.
                                                                         October 2014




                                                                                        5
EXHIBIT 5
                           Attachment A


                    Resume of Sanford A. Angelos




Sanford A Angelos                                  No. 03 C 3644
SANFORD A. ANGELOS DEA Senior Forensic Chemist (Ret)
EDUCATION
                      University of Illinois – Chicago       M.Ed. - Research Evaluation   (1985)
                      University of Illinois – Chicago       M.Sc. – Criminalistics        (1975)
                      University of Illinois – Chicago       B.Sc. – Chemistry             (1972)
                      High school -                          Oak Park & River Forest High School
WORK EXPERIENCE
                    Forensic Chemist Consultant Aris Associates Ltd.                                2/06 to present
                                 (Independent Contractor for US DOJ-ICITAP and DOS-INL)
                    Peer Review Panel Member National Institute of Justice                          2/09 to present
                                                  (US DOJ-OJP – BJA)
                    Senior Forensic Chemist      U.S.-Drug Enforcement Administration               3/89 to 1/06
                    Visiting Forensic Chemist    Nat’l Inst. of Police Science, Tokyo, Japan        8/96 to 11/96
                    Forensic Chemist             U.S.-Drug Enforcement Administration               1/76 to 3/89
                    Associate Criminalist        Illinois Dept. of Law Enforcement                  7/75 to 1/76
                    Teaching Assistant           UIC Dept. of Criminal Justice                      9/74 to 6/75
INTERNATIONAL TRAINING                  (see Appendix A, B)
                      2010          Armenia      (US DOS-INL)       Georgia (US DOS-INL)
                      2009          Armenia      (US DOS-INL)
                      2008          Thailand     (US DOJ-ICITAP)    Uzbekistan (US DOJ-ICITAP)
                      2007          Belize       (US DOJ-ICITAP)    Columbia (US DOJ-ICITAP)
                      2006          China        (AAFS)
                      1996          Japan        (US DOJ-DEA)
COMMUNITY SERVICE
                    North Dearborn Association Treasurer                   (2009-2011)
                    Local School Council       Secretary                   (2009-2012)
MEMBERSHIPS              (see Appendix C )
                      American Chemical Society                            Member          1974
                      American Academy of Forensic Sciences                Fellow          1975
                      Clandestine Laboratory Investigating Chemists        In-Active       1990
                      Canadian Society of Forensic Sciences                Member          1982
TEACHING                 (see Appendix D)
                    Adjunct Faculty - Dept. of Science - Columbia College          1/84 to 1/90 & 9/06 to 12/08
                    Adjunct Faculty - Science Institute - Columbia College         8/92 to 6/06
                    Adjunct Faculty - Dept. of Chemistry -Roosevelt University     1/84 to 1/90
                    Adjunct Faculty - College of Education – UIC                   1/82 to 1/88
                    Adjunct Faculty - Dept. of Criminal Justice – UIC              1/81 to 1/87
COURT TESTIMONY
                    Over 300 times in State and Federal Courts
                    Over 200 Clandestine Laboratory Investigations
CERTIFICATION
                    DEA-Clandestine Laboratory Entry Team (CLET)           [OSHA Certified 48 CFR 1910.120(q)]
                    Bloodborne Pathogen Certified Instructor               [Public Health Service]
PRESENTATIONS            (see Appendix E, A, B)
                    Over 45 presentations and workshops to the various organizations listed above
PUBLICATIONS             (see Appendix F)
                    Over 10 papers published
HONORS                   (see Appendix G)
                  Meritorious Service Award                         American Academy of Forensic Sciences 2009
                  Exceptional Performance                           DEA 1999; 1997; 1996; 1995
                  Research Award for Foreign Specialists            Japanese Government 1996

CONFIDENTIAL                                                                                                 Page 1
                   APPENDIX A – INVITED – GUEST PRESENTATIONS
                              (Note Presentations prior to 1/2000 not included)


AUGUST 2010          Penn State – Forensic Science Lecture Series
                     State College, Pennsylvania
- Forensic Science the Real CSI

April 2010            Thermo Scientific Webinar
                      Madison Wisconsin
- Illicit Drug Analysis using FT-IR with Mixture Searching

December 2007         St. Johns College Forensic Seminar
                      Belize City, Belize
-The Role Forensics in Law Enforcement

March 2003            Michigan Science Teachers Association
                      50th Annual Meeting
-The Use of Forensic Sciences in Teaching Science

April 2003            Central Research and Creative Accomplishment Symposium
                        Central Missouri State University
-Analysis of Controlled Substances




CONFIDENTIAL                                                                      Page 2
                  APPENDIX B – WORKSHOP PRESENTATIONS
September 2010   National Forensic Bureau (Tbilisi, Georgia)
                 Presenter – Drug Analysis Infrared Spectroscopy

September 2010   National Bureau of Expertise Forensic Section (Yerevan, Armenia)
                 Presenter –Drug Analysis Practical Infrared Spectroscopy and Gas Chromatography

June 2010        National Forensic Bureau (Tbilisi, Georgia)
                 Presenter –Drug Analysis Liquid Chromatography

May 2010         National Bureau of Expertise Forensic Section (Yerevan, Armenia)
                 Presenter –Drug Analysis Infrared Spectroscopy

December 2009    National Bureau of Expertise Forensic Section (Yerevan, Armenia)
                 Presenter –Drug Analysis Wet Chemical Techniques

July 2009        Science Workshop for Science Teachers (Chicago, Illinois)
                 Visualization: The Future of Learning
                 Presenter -Forensic Sciences for Educators

August 2008      Central Institute for Forensic Science Laboratory (Bangkok, Thailand)
                 Presenter- Gas Chromatography-Mass Spectrometry of Explosive Residue

August 2008      Royal Thai Police Forensic Laboratory (Bangkok, Thailand)
                 Presenter- Drug and Instrumental Analysis

July 2008        Science Workshop for Science Teachers (Chicago, Illinois)
                 Visualization: The Key to the Future of Learning
                 Presenter -Forensic Sciences for Educators

April 2008       Uzbekistan Ministry of Health Laboratory (Tashkent, Uzbekistan)
                 Presenter- Gas Chromatograph-Mass Spectrometry

December 2007    Belize National Forensic Science Service (Belize City, Belize)
                 Presenter- Use of Gas Chromatograph-Mass Spectrometry in Drugs Analysis

July 2007        Science Workshop for Science Teachers (Chicago, Illinois)
                 Presenter -Forensic Mysteries as a Way of Teaching

March 2007       Columbian Joint Forensic Laboratory Seminar (Bogotá, Columbia)
                 Presenter- Designer Drugs Analysis -Methamphetamine and MDMA

November 2006    2006 Police and Science International Forum (Hangshou, China)
                 Presenter- Clandestine Methamphetamine Laboratories

February 2005    American Academy of Forensic Sciences Annual Meeting
                 Chair –Analysis of Samples from Clandestine Methamphetamine Laboratories



CONFIDENTIAL                                                                                  Page 3
                APPENDIX B – WORKSHOP PRESENTATIONS (Continued)
October 2004       Southwestern Association of Forensic Scientists Annual Meeting
                   Chair –Clandestine Laboratory Production Capabilities
                   Presenter -GC Quantitation & Validation Methodology

March 2004         Michigan Science Teachers Association Annual Meeting
                   Presenter -Forensic Mysteries as a Way of Teaching

February 2004      American Academy of Forensic Sciences Annual Meeting
                   Presenter -Drug Enforcement Administration – Forensic Drug Chemist Workshop

February 2004      American Academy of Forensic Sciences Annual Meeting
                   Co-Chair –Bubble Bubble Boom Fires and Explosions in Clandestine Drug Laboratories

October 1995       Midwestern Association of Forensic Scientists
                   Analysis of d,l-Methamphetamine

February 1992      American Academy of Forensic Sciences Annual Meeting
                   GC/IRD/MSD Forensic Applications

February 1989      American Academy of Forensic Sciences Annual Meeting
                   MACRO Programming for HP ChemStation




CONFIDENTIAL                                                                                     Page 4
                       APPENDIX C - PROFESSIONAL AFFILIATIONS
AMERICAN ACADEMY OF FORENSIC SCIENCES
     Local Arrangements Chair [a]                                (2011)
     By-laws Committee Member [a]                                (1997-2011)
     2007 Criminalistics Section Program Co-Chairman [s]         (2006)
     Criminalistics Section’s AdHoc Membership Committee         (2004-2005) Chair (2009-2012)
     Criminalistics Section’s Historian                          (1995-1998)
     Criminalistics Section’s Award Committee                    (1993-1997)-Chairman (1993)
     Chairman of the AdHoc Proceedings Committee [a]             (1992-94)
     Chairman - Criminalistics Section                           (1992)
     Nominating Committee [a]                                    (1992)
     Council [a]                                                 (1991-1992)
     Membership Committee [a]                                    (1991-1992)
     Secretary - Criminalistics Section                          (1991)
     1991 Criminalistics Section Program Chairman                (1990)
     Member of the AdHoc Publication Committee [s]               (1982)
     Chairman of the Criminalistics Section Planning Committee   (1987-89)
     [a] Academy position [s] Criminalistics Section position

JOURNAL OF FORENSIC SCIENCES
     Editorial Review Board                                      (1985-2002)

FORENSIC SCIENCES FOUNDATION
     Student Affiliate Scholarship Committee Chair               (2009-2011)
     Emerging Forensic Scientist Award Committee                 (2010)

INTERNATIONAL ACADEMY OF FORENSIC SCIENCES
     2008 Drugs of Abuse Section Program Chairman                (2007-2008)

AMERICAN CHEMICAL SOCIETY (Chicago Section)
     Distinguish Service Award Committees (Chair 2006)           (2002-2006)
     Treasurer                                                   (1998-2000)
     Policy – Bylaw                                              (1998-2002)
     Awards                                                      (1998-1999)
     Member of the Board of Directors                            (1984-1995; 1996-1998; 2000-2002)
     Chairman of the Professional Relations Committee            (1990-91; 1995-96)
     Program Co-Chair                                            (1995-1997)
     Past-Chairman of the Section                                (1994-95)
     Chairman of the Section                                     (1993-94)
     Chairman-Elect of the Section                               (1992-93)
     Chairman of the Environmental Health & Safety Committee     (1987-1989)
     Chairman of the W. Gibbs Arrangement Committee              (1985)
     Chairman of the House Committee                             (1984)
     CHEMICAL BULLETIN
             Co-Editor                                           (1999-2001)
             Editorial Board                                     (1982-1997)
             Editor                                              (1987-1989)




CONFIDENTIAL                                                                                     Page 5
               APPENDIX C - PROFESSIONAL AFFILIATIONS (Continued)
MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS
     Criminalistics Coordinator                    (1985)
     Member of the Executive Board                 (1981-1983)
     Meeting Program Coordinator                   (1982)
     MAFS BULLETIN
     Editor                                        (1981-1983)

COUNCIL OF FORENSIC SCIENCE EDUCATORS
     Secretary -Treasurer                          (1997-2002)
     Interim Secretary-Treasurer                   (1996)




CONFIDENTIAL                                                        Page 6
                           APPENDIX D - ACADEMIC POSITIONS

COLUMBIA COLLEGE
    SCIENCE and MATHEMATICS DEPARTMENT
          56-2170-01SMW LifeSavers or Killers: The Story of Drugs
          56-2749-01SM  Scientific Investigation: Sherlock Holmes to the Courtroom
                           Various terms between January 1984 to June 1991
           56-1280-01/02       Crime Lab Chemistry
                           Various terms between September 2006 to January 2009

    SCIENCE INSTITUTE
          60-4250-01SMW        Crime Lab Chemistry
                           Various terms between January 1993 to June 2006

UNIVERSITY OF ILLINOIS - CHICAGO
    DEPARTMENT OF CRIMINAL JUSTICE
         CrJ 200  Criminalistics
         CrJ 291  Introduction to Forensic Sciences
         CrJ 314  Criminalistics Analytical Laboratory I
         CrJ 315  Criminalistics Analytical Laboratory II
         CrJ 460  Forensic Sciences Laboratory I
         CrJ 461  Forensic Sciences Laboratory II
         CrJ 464  Forensic Sciences Special Topics
                 Various terms between January 1981 to January 1987

    COLLEGE OF EDUCATION
         CIE 309 Consumer Drug Educations
         CIE 310 Drug Evaluations
                    Various terms between January 1982 to January 1989

ROOSEVELT UNIVERSITY
    CHEMISTRY DEPARTMENT
         CHEM 311-10   Introduction to Forensic Sciences
         CHEM 312-10   Forensic Drug Chemistry
         CHEM 370-10   Forensic Chemistry

    SOCIOLOGY DEPARTMENT
          SOC 355-10   Criminology and Forensic Science
                           Various terms between January 1984 to August 1991




CONFIDENTIAL                                                                         Page 7
                               APPENDIX E - PRESENTATIONS
FEB 2010 AMERICAN ACADEMY OF FORENSIC SCIENCES
- Methamphetamine: Peanut Butter to Ice
- Clandestine Laboratory Capability: Actual vs. Theoretical

AUG 1999 INTERNATIONAL ASSOCIATION OF FORENSIC SCIENCES
-Methamphetamine by the Birch Reduction

FEB 1999 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Production Capabilities of Clandestine Methamphetamine Laboratories

FEB 1998 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Lithium-Ammonia Reduction of Pseudoephedrine to Methamphetamine

AUG 1996 INTERNATIONAL ASSOCIATION OF FORENSIC SCIENCES
-An Unsuccessful Clandestine Synthesis of Amphetamine
-Clandestine Synthesis of Fentanyl
-Clandestine Manufacture of Methadone

FEB 1996 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Sodium-Ammonia Reduction of Ephedrine to Methamphetamine
-Analysis of Samples 4-Bromo-2,5-Dimethoxyphenethylamine (Nexus) an Analogue of 4-Bromo-2,5-
Dimethoxyamphetamine (DOB)

OCT 1995 MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS
-An Unsuccessful Clandestine Synthesis of Amphetamine
-Clandestine Synthesis of Fentanyl

AUG 1995 AMERICAN CHEMICAL SOCIETY
- Overview of Chemistry in the Forensic Sciences.
- Use of Forensic Sciences in Chemical Education

FEB 1994 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Clandestine Synthesis of Fentanyl

SEPT 1993 CLANDESTINE LABORATORY INVESTIGATING CHEMISTS ASSOCIATION
-An Unsuccessful Clandestine Synthesis of Amphetamine

FEB 1993 AMERICAN ACADEMY OF FORENSIC SCIENCES
-An Unsuccessful Clandestine Synthesis of Amphetamine

AUG 1993 AMERICAN CHEMICAL SOCIETY
-Use of Gas Chromatography/Mass Spectrometry (GC/MS) in Non-science Major Course Laboratory
Experiments Instrumentation of a Forensic Laboratory

FEB 1992 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Clandestine Manufacture of Methadone



CONFIDENTIAL                                                                                   Page 8
                          APPENDIX E – PRESENTATIONS (Continued)
OCT 1990 INTERNATIONAL ASSOCIATION OF FORENSIC SCIENCES
-Synthesis of Amphetamine from Toluene
-An Investigation of Phenyl-2-Propanone Reaction Mechanisms

FEB 1990 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Optimizing FT-NMR Pulse Patterns for Quantitation Measurements
-NMR Quantitation of Methamphetamine and Ephedrine Mixtures

OCT 1989 MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS
-Automated Sampling for Gas Chromatography and for a Mass Selective Detector
-An Investigation of Phenyl-2-Propanone Reaction Mechanisms

FEB 1989 AMERICAN ACADEMY OF FORENSIC SCIENCES
-NMR Examination of Cocaine and Heroin
-NMR Analysis of PCP Analogues

OCT 1988 CANADIAN SOCIETY OF FORENSIC SCIENCES
-Automated Analysis on High Pressure Liquid Chromatography, Precision, Accuracy, and Linearity
-Automated Analysis on Capillary Gas Chromatography, Precision, Accuracy, and Linearity
-Automated Analysis on a Mass Selective Detector

OCT 1988 MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS
-Automated Instrumental Analysis

FEB 1988 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Automated Analysis on High Pressure Liquid Chromatography, Precision, Accuracy, and Linearity
-Automated Analysis on Capillary Gas Chromatography, Precision, Accuracy, and Linearity
-Automated Analysis on a Mass Selective Detector
-Synthesis of Amphetamine from Toluene
-The Analysis of an Analogue of Methaqualone

AUG 1987 INTERNATIONAL ASSOCIATION OF FORENSIC SCIENCES
-Clandestine Manufacture of 4-Bromo-2,5-Dimethoxyamphetamine
-A Gas Chromatography/Mass Spectrometry System for the Identification of Clandestinely Produced
Phencyclidine Preparations
-Quantitation and Identification of Pharmaceutical Preparation by Nuclear Magnetic Resonance

FEB 1987 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Potential Safety Hazards in a Forensic Laboratory
-Identification of Clandestine Phencyclidine Mixtures by Capillary Gas Chromatography/Mass Spectrometry
-An Investigation of Phenyl-2-Propanone Reaction Mechanisms

FEB 1986 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Distinguishing the Optical Isomers of Propoxyphene by Infrared Spectroscopy
-A Statistical Evaluation of Research Published in The Journal of Forensic Sciences




CONFIDENTIAL                                                                                       Page 9
                          APPENDIX E – PRESENTATIONS (Continued)
FEB 1985 AMERICAN ACADEMY OF FORENSIC SCIENCES
-An Evaluation of Research Attitudes and Productivity of Forensic Science Higher Education Faculty
-The Role of the Forensic Chemist in Clandestine Laboratory Investigations, Seizures and Prosecutions

JAN 1985 AMERICAN CHEMICAL SOCIETY
-Clandestine Manufacture of 4-Bromo-2,5-Dimethoxyamphetamine

OCT 1984 AMERICAN CHEMICAL SOCIETY (CHICAGO-SAFETY SYMPOSIUM)
-Liability and the Drug Laws

FEB 1984 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Attitudes of Criminalists Towards The Journal of Forensic Sciences: A Survey Analysis
-The Synthesis of P-2-P from Allybenzene
-Clandestine Manufacture of 4-Bromo-2,5-Dimethoxyamphetamine

FEB 1983 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Analysis of a "Simple" Synthesis of P-2-P from Its Alcohol

FEB 1982 AMERICAN ACADEMY OF FORENSIC SCIENCES
-The Analysis of P-2-P Synthetic Mixtures Obtained from Clandestine Laboratories
-Quantitation and Identification of Pharmaceutical Preparations by Nuclear Magnetic Resonance
-Characteristics of Forensic Science Faculty Within Criminal Justice Higher Education Programs

MAY 1981 MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS
-Quantitation and Identification by Nuclear Magnetic Resonance

FEB 1981 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Identification and Quantitation of Multiple Barbiturate Preparations By Nuclear Magnetic Resonance
-A Comparative Study on the Use of Shift Reagents in the NMR Determination of Methamphetamine and
Amphetamine Enantiomers

FEB 1980 AMERICAN ACADEMY OF FORENSIC SCIENCES
-Identification and Quantitation of Barbiturates by Nuclear Magnetic Resonance

NOV 1979 MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS
-Distinguishing The Optical Isomers of Propoxyphene by Infrared Spectroscopy

OCT 1978 MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS
-The Isolation and Identification of Precursors and Reaction Products In The Clandestine Manufacture of
Methaqualone and Mecloqualone

SEPT 1977 AMERICAN CHEMICAL SOCIETY
-Identification of Some Chemical Analogues and Positional Isomers of Methaqualone




CONFIDENTIAL                                                                                            Page 10
                          APPENDIX E – PRESENTATIONS (Continued)
FEB 1977 AMERICAN ACADEMY OF FORENSIC SCIENCES
-The Isolation and Identification of Precursors and Reaction Products In The Clandestine Manufacture of
Methaqualone and Mecloqualone

OCT 1976 MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS
-Identification of Some Chemical Analogues and Positional Isomers of Methaqualone

MAY 1976 MIDWESTERN ASSOCIATION OF FORENSIC SCIENTISTS
-A Study of the Criminalistic Identification of Lipstick Stains




CONFIDENTIAL                                                                                          Page 11
                            APPENDIX F – PUBLICATIONS-Journal
JOURNAL OF FORENSIC SCIENCES Volume 26, Number 4, Page 656
*Approaches To Drug Sample Differentiation II: Nuclear Magnetic Resonance Spectrometric Determination of
Methamphetamine Enantiomers

JOURNAL OF FORENSIC SCIENCES Volume 26, Number 4, Page 793
*Identification of Some Chemical Analogues and Positional Isomers of Methaqualone

JOURNAL OF FORENSIC SCIENCES Volume 28, Number 3, Page 552
*Characteristics of Forensic Science Faculty within Criminal Justice Higher Education Programs

JOURNAL OF FORENSIC SCIENCES Volume 29, Number 4, Page 1187
*A Clandestine Approach To The Synthesis of P-2-P From Phenylpropenes

JOURNAL OF FORENSIC SCIENCES Volume 30, Number 1, Page 269
*An Evaluation of Criminalists' Attitudes Towards The Journal of Forensic Sciences

JOURNAL OF FORENSIC SCIENCES Volume 30, Number 4, Page 1022
*The Isolation and Identification of Precursors and Reaction Products In The Clandestine Manufacture of
Methaqualone and Mecloqualone

JOURNAL OF FORENSIC SCIENCES Volume 35, Number 6, Page 1297
*The Identification of Precursors, Impurities, and By-Products In Clandestinely Produced Phencyclidine
Preparations

JOURNAL OF FORENSIC SCIENCES Volume 36, Number 2, Page 358
*The Identification and Quantitation of Pharmaceutical Preparations By Nuclear Magnetic Resonance
Spectroscopy

JOURNAL OF FORENSIC SCIENCES Volume 38, Number 2, Page 455
*The Structural Identification of a Methyl Analog of Methaqualone Via 2-Dimensional NMR Techniques

JOURNAL OF CHEMICAL EDUCATION June 1996 Volume 73, Number 6, Page 565
*Use of Gas Chromatography-Mass Spectroscopy (GC-MS) in Nonscience Major Course Laboratory
Experiments




CONFIDENTIAL                                                                                         Page 12
                            APPENDIX F – PUBLICATIONS-Other


U.S. D.E.A. - MICROGRAM Volume XXII, Number 3, Page 38
*Hewlett Packard Programming for the MSD Chem Station: Part I. Standard Search & Print Program

U.S. D.E.A. - MICROGRAM Volume XXII, Number 3, Page 41
*Perkin Elmer Obey Programming for FT-IR with CDS-3 Software: Part I. Print Programs

U.S. D.E.A. - MICROGRAM Volume XXII, Number 10, Page 194
*Perkin Elmer Obey Programming for FT-IR with CDS-3 Software: Part II. Automated Scan-Save-Print
Programs

CRIMINALISTICS: AN INTRODUCTION TO FORENSIC SCIENCES - LAB MANUAL (1989)
R. SAFERSTEIN, EDITOR EXPERIEMENT #27 PAGE 217
"Determination of Lipstick Dyes by Thin-Layer Chromatography"




CONFIDENTIAL                                                                                     Page 13
                          APPENDIX F – PUBLICATIONS-Proceedings

PROCEEDINGS OF THE AMERICAN ACADEMY OF FORENSIC SCIENCES Volume 16, Number 16
* Methamphetamine: Peanut Butter to Ice

PROCEEDINGS OF THE AMERICAN ACADEMY OF FORENSIC SCIENCES Volume 16, Number 16
* Clandestine Laboratory Capability: Actual vs. Theoretical

PROCEEDINGS OF THE 2006 POLICE AND SCIENCE INTERNATIONAL FORUM
* Clandestine Methamphetamine Laboratories Legal Perspectives and Analytical Procedures in the United States
(in Chinese translation)

PROCEEDINGS OF THE AMERICAN ACADEMY OF FORENSIC SCIENCES Volume 2, Number 2
*Sodium-Ammonia Reduction of Ephedrine to Methamphetamine

PROCEEDINGS OF THE AMERICAN ACADEMY OF FORENSIC SCIENCES Volume 2, Number 2
*Analysis of Samples 4-Bromo-2,5-Dimethoxyphenethylamine (Nexus) an Analogue of 4-Bromo-2,5-
Dimethoxyamphetamine (DOB)

PROCEEDINGS OF THE AMERICAN ACADEMY OF FORENSIC SCIENCES Volume 4, Number 4
*Lithium-Ammonia Reduction of Pseudoephedrine to Methamphetamine

PROCEEDINGS OF THE AMERICAN ACADEMY OF FORENSIC SCIENCES Volume 5, Number 5
*Production Capabilities of Clandestine Methamphetamine Laboratories

Current Topics in Forensic Science
PROCEEDINGS OF THE 14th MEETING OF THE INTERNATIONAL ASSOCIATION OF FORENSIC
SCIENCES Volume 2, page 310
*An Unsuccessful Clandestine Synthesis of Amphetamine

Current Topics in Forensic Science
PROCEEDINGS OF THE 14th MEETING OF THE INTERNATIONAL ASSOCIATION OF FORENSIC
SCIENCES Volume 2, page 312
*Clandestine Synthesis of Fentanyl

Current Topics in Forensic Science
PROCEEDINGS OF THE 14th MEETING OF THE INTERNATIONAL ASSOCIATION OF FORENSIC
SCIENCES Volume 2, page 374
*Clandestine Manufacture of Methadone

Current Topics in Forensic Science
PROCEEDINGS OF THE 15th MEETING OF THE INTERNATIONAL ASSOCIATION OF FORENSIC
SCIENCES, page 61
*Methamphetamine by the Birch Reduction




CONFIDENTIAL                                                                                        Page 14
                     APPENDIX G – AWARDS and HONORS
                         (Note Awards prior to 1/1995 not included)

2009           American Academy of Forensic Sciences Criminalistics Section
                  Meritorious Service Award

2004           U.S. Department of Justice Drug Enforcement Administration
                   Certificate of Appreciation Award

2003           U.S. Department of Justice Drug Enforcement Administration
                   Special Act or Service

1999           U.S. Department of Justice Drug Enforcement Administration
                   Exceptional Performance

1998           Columbia College of Chicago
                   Teacher of the Year (Adjunct Faculty)

1997           U.S. Department of Justice Drug Enforcement Administration
                   Exceptional Performance

1996           Japanese Government National Police Agency
                   Research Award for Foreign Specialists
               U.S. Department of Justice Drug Enforcement Administration
                   Exceptional Performance
               Chicago Area Technological Societies
                   Award of Merit

1995           U.S. Department of Justice Drug Enforcement Administration
                   Exceptional Performance
               American Chemical Society
                   Appreciation Award
                   Appreciation Award (Second Award)




CONFIDENTIAL                                                                  Page 15
                          Attachment B


                    List of Articles and Reports




Sanford A Angelos                                  No. 03 C 3644
                                      Articles and Reports Cited

Angelos, S.A., Unpublished Report “Trace Analysis of U.S. Currency” U.S. Drug Enforcement
Administration, Forensic Science Section, (1985). Copy attached

Hudson, J.C., Analysis of Currency for Cocaine Contamination, Can. Soc. Forens. Sci. J., 22:2:203-218
(1989). Copy attached

Oyler, J., Darwin, W.D., and Cone, E.J., Cocaine Contamination of United States Paper Currency, J.
Analyical Toxicology, 20:4: 213-216 (1996). Copy attached

Negrusz, A., Perry, J.L., and Moore C.M., Detection of Cocaine on various Denominations of United States
Currency, J. Forens. Sci., 43:3 (1998). Copy attached

Jenkins, A.J., Drug Contaminations of US Paper Currency, Forens. Sci. Intnl., 121 (2001). Copy attached

Zuo, Y., Zhang, K., Wu, J., Rego, C., and Fitz, J., An Accurate and Nondestructive GC method for
determination of Cocaine on US Paper Currency, J. Separation Sci., 31 (2008). Copy attached

Zuo, Y., et.al., Unpublished presentation to the American Chemical Society. ACS Press Release and
Article attached

Dejarme, L.E., Gooding, R.E., Lawhon, S.J., Ray, P., and Kuhlman, M.R., Formation of Methyl Benzoate
from Cocaine hydrochloride under Different Temperatures and Humidies, Proceedings. SPIE, 2937:19
(1996). Copy attached

Waggoner,L.P., Jonston, J.M., Williams, M., Jackson, J., Jones, M.H., BoussoM, T., and Petrousky, J.A.,
Canine Olfactory Sensitivity to Cocaine hydrochloride and Methy Benzoate, Proceedings SPIE, 2937:19
(1996). Copy attached

Furton, F.G., Hsu,Y., Luo, T., Alvarez, N., and Lagos, P., Novel Sample Preparation methods and Field
Testing procedures used to Determine the Chemical Basis of Cocaine detection by Canines, Proceedings
SPIE, 2941 (1997). Copy attached

Furton, F.G., Hsu,Y., Luo, T., Norelus, A., and Rose, S., Field and Laboratory Comparison of the Senitivity
and Reliability of Cocaine Detction on Currency using Chemical Sensors, Humans, K-9s and
SPME/GC/MS/MS Analysis, Proceedings SPIE, 2941 (1999). Copy attached

Carter, J.F., Sleeman, R., and Parry, J., The Distribution of Controlled Drugs on Banknotes via Counting
Machines, Forens. Sci. Intnl., 132 (2003). Copy attached

Ebejer, K.A., Winn, J., Carter, J.F., Sleeman, R., Parker, J., and Korber, F., The Difference between Drug
Money and a “Lifetime‟s Savings”, Forens. Sci. Intnl., 167 (2007). Copy attached




Sanford A Angelos                                                                         No. 03 C 3644
                                    Articles and Reports Reviewed
Wimmer, K., and Schneider, S., Screening for Illicit Drugs on Euro Banknotes by LC-MS/MS, Forens. Sci.
Intnl, Article in Press (2010). Copy attached

Felix, J., and Gardner, E.A., Cocaine Contamination of Paper Currency in Birmingham, Alabama,
Proceedings Am. Acad. Forens. Sci., (2009). Student presentation Abstract attached

Sleemam, R., Burton, I.F.A., Carter, J.F., and Roberts, D.J., Rapid Screening of Banknotes for the Presence
of Controlled Substances by Thermal Desorption Atmospheric Pressure Chemical Ionization Tandem Mass
Spectrometry, The Analyst, 124 (1999). British Study confirms both Oyler and Hudson Copy attached

Sleemam, R., Burton, I.F.A., Carter, J.F., Roberts, D.J., and Hulmston, P., Drugs on Money, Anal. Chem,
June (2000) Copy attached

Jourdan, T.H., Veitenheimer, A., and Wagner, J.R., Exploration Of Cocaine Contamination of United States
Currency – Continuing Studies, Proceedings Am. Acad. Forens. Sci., (2010). Abstract attached

Heimbuck, C.A. and Bower, N.W., Teaching Experiment Design Using a GC-MS Analysis of Cocaine on
Money: A Cross-Disciplinary Laboratory, J. Chem. Ed., 79:10 (2002). Reviewed on-line

Esteve‐Turrillas, F.A., et al. Validated, non‐destructive and environmentally friendly determination of
cocaine in euro bank notes. Journal of Chromatography A, 1065, (2005). Reviewed on-line

Xu, Y., et al. Field‐amplified sample stacking capillary electrophoresis with electrochemiluminescence
applied to the determination of illicit drugs on banknotes. Journal of Chromatography A, 1115 (2006).
Reviewed on-line

Di Donato, E., Santos Martin, C.C., and De Martinis, B.S., Determination of cocaine in Brazilian currency by
capillary gas chromatography/mass spectrometry. QuimNova. 30:8 (2006). Reviewed on-line

Ebejer, K.A., et al., Factors influencing the contamination of UK banknotes with drugs of abuse. Forens. Sci.
Intnl, 171 (2007). Reviewed on-line




Sanford A Angelos                                                                          No. 03 C 3644
                                          Attachment C1


      Angelos, S.A., Unpublished Report “Trace Analysis of U.S. Currency” U.S. Drug Enforcement
                           Administration, Forensic Science Section, (1985).




Sanford A Angelos                                                                  No. 03 C 3644
                                           Attachment C2

  Hudson, J.C., Analysis of Currency for Cocaine Contamination, Can. Soc. Forens. Sci. J., 22:2:203-218
                                                 (1989).




Sanford A Angelos                                                                     No. 03 C 3644
                                            Attachment C3
    Oyler, J., Darwin, W.D., and Cone, E.J., Cocaine Contamination of United States Paper Currency, J.
                               Analyical Toxicology, 20:4: 213-216 (1996).




Sanford A Angelos                                                                      No. 03 C 3644
                                           Attachment C4
Negrusz, A., Perry, J.L., and Moore C.M., Detection of Cocaine on various Denominations of United States
                                  Currency, J. Forens. Sci., 43:3 (1998).




Sanford A Angelos                                                                    No. 03 C 3644
TECHNICAL NOTE


Adam Negrusz,1 Ph.D.; Jennifer L. Perry,1 B.S.; and Christine M. Moore,2 Ph.D.


Detection of Cocaine on Various Denominations
of United States Currency


   REFERENCE: Negrusz A, Perry JL, Moore CM. Detection of                           dollar bills that line their pockets. Considering all this information,
   cocaine on various denominations of United States currency. J                    can casual contact with money contaminated with cocaine result
   Forensic Sci 1998;43(3)626–629.
                                                                                    in positive urinalysis? In one study (2), the reported concentration
                                                                                    of benzoylecgonine in urine following casual contact with cocaine-
   ABSTRACT: The presence of cocaine on U.S. paper currency col-
   lected in many cities in the United States has previously been                   contaminated currency was below the cutoff value of 150 ng/mL
   reported. Currency becomes contaminated during the exchange,                     for this particular cocaine metabolite. It has also been suggested
   storage and use of cocaine. Different currency denominations are                 that currency becomes contaminated from contact with previously
   also rolled by drug users and used to snort cocaine. Illicit cocaine             contaminated bills in financial institutions. There are sometimes
   is widely abused and therefore the contaminated paper currency
   can be easily found in common use. A total of 18 bills were analyzed
                                                                                    even hundreds of micrograms (in one case even 1327 mg) of
   in our laboratory for cocaine. Ten $20 bills were randomly collected             cocaine present on a single bill (1). Widespread currency contami-
   in Rockford, IL and four $1 bills in Chicago. An additional four                 nation may cause a problem for people who on a daily basis deal
   uncirculated $1 bills were analyzed as a control group. All bills                with large numbers of bills: bank tellers, people who operate
   were extracted with 0.1 M hydrochloric acid followed by solid-                   money counting machines, among others.
   phase extraction. Cocaine was identified using gas chroma-
   tography/mass spectrometry in full scan mode, and drug quantita-
                                                                                       The aim of this study was to identify and quantitate cocaine on
   tion was performed in selected ion monitoring mode. A standard                   ten $20 bills collected randomly from the general circulation in
   curve was prepared and doxepin was used as an internal standard.                 Rockford, IL. In addition, four $1 bills were collected randomly
   In addition, for method validation two levels of control solutions               in Chicago and analyzed. As a control group, four new and uncir-
   were analyzed simultaneously. Precision and accuracy values were                 culated $1 denomination bills were analyzed. Gas chroma-
   within acceptable ranges. Cocaine was present on 92.8% of all bills
   collected from the general circulation. All $20 bills were contami-              tography/mass spectrometry (GC-MS) was employed for identifi-
   nated with cocaine and the amount of drug varied from 0.14 to                    cation and quantitation of drug on paper currency. This study was
   10.02 mg of cocaine per bill (x 4 2.86 mg). Only one $1 bill was                 prompted by the Channel 17 WTVO TV Station in Rockford,
   cocaine free. In one case ($1 bill), only traces (below quantitation             which also provided the $20 bills.
   limit) of cocaine were found. All four uncirculated $1 bills were
   cocaine-free.
                                                                                    Materials and Methods
   KEYWORDS: forensic science, drugs of abuse, contamination of
                                                                                    Drug Standards, Chemicals, and Materials
   currency, cocaine, solid-phase extraction, gas chromatography-
   mass spectrometry
                                                                                       Cocaine hydrochloride was obtained from Mallinckrodt, Inc.
                                                                                    (St. Louis, MO). Doxepin was purchased from Radian International
   United States paper currency has been reported to be contami-                    (Austin, TX). Acetic acid glacial was obtained from Sigma Chemi-
nated with illicit cocaine due to the enormous extent of cocaine                    cal Company (St. Louis, MO). Methylene chloride, hydrochloric
distribution, sale and consumption. Previously cocaine was found                    acid, isopropanol, ammonium hydroxide and methanol were pur-
on paper currency collected in 14 different size cities in the United               chased from Fisher Scientific (Itasca, IL). All organic solvents
States (1). At present and based on the existing analytical data it                 were high-performance liquid chromatography (HPLC) or HPLC-
is accurate to say that the paper currency contamination of cocaine                 GC/MS grade, all other chemicals were American Chemical Soci-
is widespread. In fact, most Americans handle small amounts of                      ety (ACS) grade. The elution solvent, methylene chloride isopropa-
cocaine every day, not as packets sold by drug dealers, but on the                  nol:concentrated ammonium hydroxide (78:20:2, v/v/v), was
                                                                                    prepared fresh every day. ISOLUTEe HCX 200 mg, 10 mL extrac-
                                                                                    tion columns (International Sorbent Technology) were purchased
   1
    Assistant Professor of Forensic Sciences and graduate student, respec-          from Jones Chromatography (Lakewood, CO).
tively, Department of Pharmaceutics and Pharmocodynamics, College of
Pharmacy, The University of Illinois at Chicago, Chicago, IL.
   2
    Scientific Director, U.S. Drug Testing Laboratories, Inc., Des Plaines,         Instrumentation
IL.
   Received 25 July 1997; and in revised form 23 Sept. 1997; accepted 6              Analysis was performed using a Hewlett-Packard (Palo Alto,
Oct. 1997.                                                                          CA) 6890 gas chromatograph with HP 6890 Series injector and

                                                                              626


  Copyright © 1998 by ASTM International
                                                                                        NEGRUSZ ET AL. • DETECTION OF COCAINE               627

5973 mass selective detector (MSD). Samples (1 mL) were intro-               TABLE 1—Amounts of cocaine on $20 and $1 denominations
duced to the system via a split-splitless capillary inlet system in        collected randomly from general circulation in two Illinois Cities:
                                                                                                Rockford and Chicago.
a splitless mode, and an HP-5MS fused-silica capillary column (30
m 2 0.25 mm 2 0.25 mm) was used. The oven temperature pro-               Denomination           Bill No.           Amount of Cocaine (mg/bill)
gram was: 1308C for 1 min, ramp at 128C/min to 2808C; 2808C
for 1 min. The sample inlet temperature was 2708C. The ion source            $20                    1                          4.54
                                                                             $20                    2                          2.17
temperature was kept at 2308C and quadrupole temperature at                  $20                    3                          3.43
1508C. Cocaine was identified by GC-MS operating in the full                 $20                    4                          5.98
scan mode (35 to 500 amm) and quantitation was performed in the              $20                    5                          1.04
selected ion monitoring mode (m/z 82, 182, 303 ions for cocaine              $20                    6                         10.02
and m/z 58 for the internal standard, doxepin) using ion ratios of           $20                    7                          0.47
                                                                             $20                    8                          0.65
520%. Dwell time for each ion was 50 ms.                                     $20                    9                          0.16
                                                                             $20                   10                          0.14
Currency Collection                                                          $1                    11                          2.99
                                                                             $1                    12                          0.31
   Ten paper bills ($20 denominations) were collected randomly               $1                    13                         N.D.*
from wallets of ten people in Rockford, and four $1 bills were               $1                    14                         ,0.05
collected at the University of Illinois at Chicago from general circu-     *Not detected.
lation (employees and graduate students). Four uncirculated $1
bills were obtained from the Federal Reserve and shipped for analy-
sis in a plastic bag. Single bills were placed in plastic ziplock bags
and delivered to the Department of Pharmaceutics and Pharmaco-
                                                                         was performed using GC-MS working in the selected ion monitor-
dynamics, University of Illinois at Chicago for analysis.
                                                                         ing mode. Doxepin retention time was 11.50 min. The standard
                                                                         curve was linear over the range of cocaine concentrations (50 to
Extraction Procedure
                                                                         500 ng) and had correlation coefficient, slope and intercept of
   Single bills were placed in 50-mL plastic tubes and 0.1 M hydro-      0.999, 18.6 2 1013, and 8.75, respectively. The wash from the
chloric acid (5 mL) was added. All tubes were capped, placed on          specimens was diluted to produce concentrations of cocaine within
a rotator, and the bills were extracted for 15 min at 30 rpm. A          the linear range. The limit of quantitation (LOQ) was arbitrarily
standard curve was prepared for the following concentrations of          established to be 50 ng, the lowest cocaine concentration on the
cocaine: 50, 100, 200, and 500 ng. Control samples were prepared         standard curve, and the limit of detection (LOD) 1 ng of cocaine
in duplicate at 75 and 300 ng and the specimens were run in two          per bill using the lowest concentration at which ion ratio criteria
batches. After extraction, aliquots (0.5 mL) were transferred to         were met and signal-to-noise was greater than 5. Two sets of con-
glass test tubes and internal standard (300 ng, doxepin) was added       trol solutions (75 and 300 ng of cocaine per bill) were analyzed.
to each sample, standard and control solutions. Acetic acid (1.93        For the 75 ng controls (N 4 8), the precision and accuracy values
M, 1 mL) and deionized water (8 mL) were added to each solution          were 3.61% and 14.13%, respectively, for the 300 ng control
and all samples were further extracted using solid-phase extraction.     solutions (N 4 8), the precision and accuracy were 3.24% and
Extraction columns were placed on the vacuum manifold and con-           4.86%, respectively. Figures 1a and 1b represent typical total ion
ditioned with methanol (3 mL), deionized water (3 mL), and acetic        chromatogram and mass spectrum, respectively, of the extract from
acid (1.93 M, 1 mL). All samples were added to the columns and           $20 bill #4.
were slowly drawn through. The columns were dried (2 min) and
were washed with deionized water (3 mL), hydrochloric acid (0.1
                                                                         Discussion
M, 1 mL), and methanol (3 mL). After the last wash, the columns
were dried for 5 min and collection tubes were placed in the mani-          This study demonstrates that paper currency ($20 and $1 denom-
fold rack. Drugs were eluted with a mixture of methylene chloride:       inations) randomly collected from the general circulation in the
isopropanol:concentrated ammonium hydroxide (78:20:2, v/v/v) (3          Illinois area is contaminated with cocaine. In the most recent study
mL). All samples were then evaporated to dryness under a stream          Oyler et al. analyzed $1 bills collected from the general circulation
of air, reconstituted in methanol (100 mL), transferred to the           in several cities in the United States for the presence of cocaine
autosampler vials and placed on the autosampler.
                                                                         (1). Cocaine was extracted from bills using methanol followed by
                                                                         solid-phase extraction. The drug was identified using GC-MS in
Results                                                                  full scan mode and quantitation was achieved in selected ion moni-
   In this study cocaine was identified on 92.8% of all bills ana-       toring mode with deuterated internal standards. In addition, all
lyzed by GC-MS (Table 1). All the extracts from $20 bills were           bills were analyzed for benzoylecgonine, ecgonine methyl ester,
positive for cocaine and the amount of the drug was between 0.14         cocaethylene, norcocaine, anhydroecgonine methyl ester, and nor-
and 10.02 mg per bill (x 4 2.86 mg). Four $1 bills were analyzed.        cocaethylene. Benzoylecgonine, a hydrolysis product of cocaine,
One bill was negative for cocaine and traces of cocaine (below           was present on 17% of the currency analyzed and its amounts did
quantitation limit) were present on another one (x 4 0.83 mg). All       not exceed one tenth of the measured cocaine concentration. All
uncirculated $1 bills were negative for cocaine. Table 1 gives the       the currency analyzed was negative for other cocaine constituents.
results of analysis of all bills for the presence of cocaine. Cocaine    In the Oyler et al. study cocaine was present in 79% of the currency
retention time was 11.32 min and the drug was identified by com-         samples analyzed in amounts above 0.1 mg and in 54% of the
parison of the mass spectrum (full scan mode) with cocaine stan-         samples above 1.0 mg. Cocaine contamination was found on cur-
dards. Quantitation of cocaine with doxepin as an internal standard      rency from all the cities examined.
628   JOURNAL OF FORENSIC SCIENCES




  FIG. 1—Typical total ion chromatogram (A) and mass spectrum (B) of the extract from the twenty-dollar bill #4 (cocaine amount 5.98 mg).
                                                                                    NEGRUSZ ET AL. • DETECTION OF COCAINE           629

   In this study, the analysis of $20 bills (10) was carried out for   References
the first time, together with the analysis of four $1 bills. Cocaine     1. Oyler J, Darwin WD, Cone EJ. Cocaine contamination of United
was present on 13 of all bills analyzed (92 8%) and on 12 (85.7%)           States paper currency. J Anal Toxicol 1996;20:213–6.
in amounts above 0.1 mg and on 7 (50%) above 1.0 mg. Ten $20             2. ElSohly MA. Urinalysis and casual handling of marijuana and
bills collected in Rockford, IL were analyzed and they were all             cocaine. J Anal Toxicol 1991;15:46.
positive for cocaine. The results from this study clearly show that    Additional information and reprint requests:
$20 and $1 denominations circulated in the Illinois area are con-      Adam Negrusz
taminated with cocaine. In conclusion, based on this study and         Department of Pharmaceutics and Pharmacodynamics (M/C 865)
other data (1) it is accurate to say that the entire population of     College of Pharmacy
                                                                       The University of Illinois at Chicago
various denominations of United States currency is contaminated        833 South Wood Street
to a significant degree with illicit cocaine.                          Chicago, IL 60612
                                            Attachment C5
         Jenkins, A.J., Drug Contaminations of US Paper Currency, Forens. Sci. Intnl., 121 (2001).




Sanford A Angelos                                                                       No. 03 C 3644
                                        Forensic Science International 121 (2001) 189 193




                        Drug contamination of US paper currency
                                                     Amanda J. Jenkins*
                        Of®ce of the Cuyahoga County Coroner, 11001 Cedar Road, Cleveland, OH 44106, USA
                   Received 3 November 2000; received in revised form 22 December 2000; accepted 8 January 2001



Abstract

   It is known that US paper currency in the general circulation is contaminated with cocaine. Several mechanisms have been
offered to explain this ®nding, including contamination due to handling during drug deals and the use of rolled up bills for
snorting. Drug is then transferred from one contaminated bill to others during counting in ®nancial institutions. The possibility
of contamination of currency with other drugs has not been reported. In this study, the author reports the analysis of 10
randomly collected US$ 1 bills from ®ve cities, for cocaine, heroin, 6 acetylmorphine (6 AM), morphine, codeine,
methamphetamine, amphetamine and phencyclidine (PCP). Bills were immersed in acetonitrile for 2 h prior to extraction and
GC MS analysis. Results showed that 92% of the bills were positive for cocaine with a mean amount of 28:75  139:07 mg
per bill, a median of 1.37 mg per bill, and a range of 0.01 922.72 mg per bill. Heroin was detected in seven bills in amounts
ranging from 0.03 to 168.50 mg per bill: 6 AM and morphine were detected in three bills; methamphetamine and amphetamine
in three and one bills, respectively, and PCP was detected in two bills in amounts of 0.78 and 1.87 mg per bill. Codeine was not
detected in any of the US$ 1 bills analyzed. This study demonstrated that although paper currency was most often
contaminated with cocaine, other drugs of abuse may be detected in bills. # 2001 Elsevier Science Ireland Ltd. All rights
reserved.

Keywords: Contamination; Currency; Cocaine; Heroin; Methamphetamine; Phencyclidine




1. Introduction                                                        date have only tested for the presence of cocaine on currency
                                                                       and have not considered other drugs of abuse such as heroin
   In recent years, several studies published in the US have           and phencyclidine. With the reported increase in heroin use
reported the detection of cocaine in the US money supply               (especially by the snorting and smoking routes of adminis
[1,2]. These studies have demonstrated the presence of                 tration) [4]; the increase in methamphetamine use [5], and
cocaine on US$ 1 bills [2] and also US$ 20 bills [3].                  the continued regional use of phencyclidine [6]; a study was
Although US paper currency is likely to become contami                 conducted to ascertain the contamination of US paper
nated during drug deals, the major source of contamination             currency with these drugs in addition to cocaine.
is considered to be drug users who roll up the currency in
order to snort cocaine. As the money is counted in machines
in banks, so the machines may become contaminated and                  2. Experimental
transfer small amounts of drug to subsequent bills. Concern
has been raised in law enforcement circles as how to                   2.1. Chemicals and drug standards
differentiate this contaminated money from currency used
in drug transactions. Quantities of cocaine detected on                   All organic solvents such as methanol, ethyl acetate and
randomly collected bills have been low, ranging from 0 to              acetonitrile, were HPLC grade; all other chemicals were
1327 mg per bill [2]. Studies documented in the literature to          ACS grade. Derivatizing reagents were obtained from Pierce
                                                                       Chemical Company (Rockford, IL). Amphetamine hydro
                                                                       chloride, methamphetamine hydrochloride, and chlorphen
  *
    Tel.: 1 216 721 5610; fax: 1 216 707 3174.                       termine were purchased from Alltech Applied Science
E mail address: cccotox@inetmail.att.net (A.J. Jenkins).               (State College, PA).

0379 0738/01/$ see front matter # 2001 Elsevier Science Ireland Ltd. All rights reserved.
PII: S 0 3 7 9 0 7 3 8 ( 0 1 ) 0 0 4 0 1 7
190                               A.J. Jenkins / Forensic Science International 121 (2001) 189 193

2.2. Collection of dollar bills                                      10 ml capacity). The sample tubes were rinsed with 1 ml
                                                                     sodium hydroxide which was applied to the column. The
   Paper currency in US$ 1 denominations were collected              samples were allowed to pass through the columns under
randomly from four US cities, namely, Baltimore, Chicago,            gravity. After 10 min the drugs were eluted by adding
Denver, and Honolulu and also from San Juan, Puerto Rico.            2  8 ml methylene chloride to each column. After elution,
The money was in general circulation at the time. Upon               100 ml 0.1N hydrochloric acid in methanol was added and
collection, the bills were placed in plastic storage bags and        the methylene chloride evaporated to dryness at 408C.
stored at room temperature until analysis. Analysis was              Extracts were reconstituted with 100 ml chlorobutane and
performed at the Addiction Research Center, Intramural               25 ml chlorodi¯uoroacetic anhydride, vortexed and heated
Research Program, National Institute on Drug Abuse,                  at 708C for 10 min. Then 10 ml of 1% hydrochloric acid
National Institutes of Health, Baltimore, MD, USA.                   in acetonitrile was added to each tube, the extracts evapo
                                                                     rated to dryness at 408C and the residue reconstituted in
2.3. Extraction                                                      500 ml ethyl acetate. A four point standard curve was
                                                                     assayed with each run in a concentration range of 500
   Each bill (10 from each city) was placed separately in a          5000 ng/ml. A negative control and positive control
15 ml centrifuge tube and 5 ml of acetonitrile was added.            (2000 ng/ml) were assayed with each run. The limit of
Each tube was capped and agitated by vortexing for 4  30 s          detection and quantitation was approximately 100 ng/ml
period over 2 h. After 2 h, the bills were removed and               for each analyte.
aliquots (1 ml for each assay) removed from each tube
for analysis. Acetonitrile was used as a drug free control.          2.5. Instrumentation

2.4. Analysis                                                           Analyses were performed using a Hewlett Packard
                                                                     5890A gas chromatograph with an autosampler (HP
   Samples were assayed for cocaine, phencyclidine and               7673A) interfaced with a HP 5971A or HP 5970 mass
codeine by modi®cation of a previously published method              selective detector operated in the SIM mode. A splitless
using solid phase extraction (SPE) followed by gas chro              capillary inlet system and a HP 1 fused silica column
matographic mass spectrometric (GC MS) analysis [8]. An              (12 m  0:2 mm i.d., 0.33 mm ®lm thickness) was utilized
eight point standard curve was assayed in duplicate with             for the amine, cocaine, codeine, phencyclidine analyses. A
each run in a concentration range of 3.1 1000 ng/ml for              Restek 5 capillary column (15 m  0:25 mm i.d., 0.10 mm
cocaine, 2.5 500 ng/ml for codeine, and 1.25 250 ng/ml for           ®lm thickness) was used for the heroin, 6 acetylmorphine
phencyclidine. Samples were diluted when necessary to                and morphine assay.
ensure the analyte concentration fell within the range of
the standard curve. Control samples were assayed with each
run at concentrations of 100 and 500 ng/ml cocaine, 25 and           3. Results
250 ng/ml codeine, and 12.5 and 125 ng/ml for PCP. In
addition, a commercially prepared EMIT1 II (Syva Co.,                   Drugs were identi®ed by comparison of retention time of
San Jose, CA) calibrator (300 ng/ml) and an in house                 the peak of the unknown with the calibrators and the
500 ng/ml cocaine hydrolysis control was assayed with each           presence of characteristic ions. The cocaine data is presented
run. The limit of detection was approximately 1.0 ng/ml for          according to region of bill collection (Table 1). Codeine was
each analyte.                                                        not detected in any of the dollar bills analyzed.
   Samples were assayed for heroin, 6 acetylmorphine and
morphine using a previously published method [7]. A six              3.1. Baltimore
point standard curve was assayed with each run in a con
centration range of 2.5 50 ng/ml. Samples were diluted                  Cocaine was detected in all 10 bills of currency collected
when necessary to ensure the analyte concentration fell              in Baltimore. The amount of cocaine detected in each bill
within the range of the standard curve. Control samples              was variable, ranging from 0.01 to 13.05 mg per bill. Mor
were assayed with each run at a concentration of 15 ng/ml.           phine, 6 acetylmorphine, PCP, methamphetamine or amphe
The limit of detection (LOD) and quantitation was approxi            tamine were not detected in these bills. However, heroin was
mately 1.0 ng/ml for each analyte.                                   detected in two bills, in amounts of 76.5 (#3) and 168.5 mg
   Samples were assayed for methamphetamine and                      per bill (#9), respectively.
amphetamine by SPE followed by GC MS operated in
the SIM mode. Brie¯y, paper currency acetonitrile extracts,          3.2. Chicago
standards and controls were vortexed with 1 ml 0.1N sodium
hydroxide and chlorphentermine internal standard solu                   Cocaine was detected in 60% of the bills (N  10)
tion. After mixing for approximately 30 s the samples                collected in Chicago, in amounts ranging from 0.02 to
were applied to SPE columns (Chem ElutTM, Varian Corp.,              1.27 mg per bill. Heroin was detected in three bills (0.03,
                                       A.J. Jenkins / Forensic Science International 121 (2001) 189 193                               191

Table 1                                                                   4. Discussion
Cocaine concentrations in the US$ 1 denomination paper currency
from ®ve cities                                                              Randomly collected US$ 1 bills from ®ve cities were
Bill no. Cocaine amount (mg per bill)      a                              assayed for cocaine, heroin, 6 acetylmorphine, morphine,
                                                                          codeine, methamphetamine, amphetamine and phencycli
            Baltimore    Chicago    Denver     Honolulu San Juan          dine. It was found that 92% (46/50) of the bills were positive
 1           9.87        0.02         1.21       3.25     1.04            for cocaine with the largest amount of cocaine per bill (922
 2          13.05        1.10         0.52       0.84     0.36            mg) measured in Honolulu (H9). Heroin was detected in
 3           2.64        0.10         1.42       0.54     0.21            seven bills; the highest amount found was in bills collected
 4           1.43        0.79         3.25       1.44     3.08            in Baltimore (76.5 and 168.5 mg). 6 Acetylmorphine and
 5           0.11        1.27       233.55       7.58    26.72            morphine were detected in three bills, one obtained in
 6           0.01        0.13         8.03       1.52     1.67            Chicago and two in Denver. These bills were not the same
 7           0.37        NDb          0.41       1.32     0.06            bills in which heroin was measured. Amphetamine was
 8           5.44        ND           0.62      20.81     0.20
                                                                          detected in one bill (0.85 mg). Methamphetamine was
 9           9.48        ND           2.80     922.72     0.82
                                                                          detected in three bills or 6% of the samples. PCP was
10           0.59        ND           2.77      24.74     2.42
                                                                          detected in two bills or 4% of the samples; both bills were
     a
         Reported to two decimal places.                                  obtained in Denver.
     b
         ND: not detected.                                                   Studies conducted to date have reported low levels of
                                                                          cocaine on US currency. Hearn [9] reported the presence of
                                                                          trace amounts of cocaine in US currency in 1989. He
0.14, 8.90 mg per bill, C3 C5) and 6 acetylmorphine                       analyzed 135 bills in denominations of US$ 1 100 obtained
(9.22 mg per bill) and morphine (5.51 mg per bill) were                   from banks in 12 cities across the US. He found cocaine in
detected in one bill (#5). Amphetamine was identi®ed in                   131 of the bills with an average amount of 7.3 mg cocaine per
the amount of 0.85 mg (C2) in one bill. No methampheta                    bill. In another report, Hudson [10] analyzed notes of all
mine or PCP were detected.                                                denominations obtained from the Bank of Canada in Regina,
                                                                          Saskatchewan, Canada. Notes were tested for cocaine by
3.3. Denver                                                               GC NPD and GC MS following immersion in ethanol and
                                                                          reconstitution of residues with chloroform. Bupivacaine was
   Cocaine was detected in all US$ 1 bills collected in the               utilized as internal standard. Quantitation was achieved by
Denver area, in amounts ranging from 0.41 to 233.55 mg per                GC MS using electron impact ionization operating the
bill. Nine of the ten bills had amounts of cocaine <10 mg per             instrument in the selected ion monitoring mode and using
bill. Of these, three contained cocaine at levels <1 mg per               the 182 ion for cocaine and the 140 ion for the internal
bill. Bills identi®ed as D4 and D5, contained 6 acetylmor                 standard. Hudson reported cocaine levels of typically <1 ng
phine and morphine in nanogram quantities. Bill D9 con                    per banknote, although there were some outliers which the
tained 0.03 mg of heroin and also PCP (0.78 mg). Bill number              author noted were obtained from notes which were ``worn
D10 also contained PCP in the amount of 1.87 mg per bill.                 and dirty'' [10]. No apparent difference was noted in the
Methamphetamine was detected in two bills (D8 and D10)                    amount of cocaine measured between denominations. The
from the Denver area at a concentration of 0.55 and 0.60 mg               author then analyzed ®ve groups of notes seized as the result
per bill.                                                                 of drug investigations. The samples were analyzed and
                                                                          quantitated without use of an internal standard. The author
3.4. Honolulu                                                             reported average levels of cocaine in these notes ranging
                                                                          from 2.7 to 1069 ng per note. The author concluded that the
   Cocaine was detected in all bills collected in Honolulu at             amount of cocaine detected in the seized currency was >50
amounts ranging from 0.54 to 922.72 mg per bill. Metham                   times the background level and therefore should be regarded
phetamine was detected on one bill (H3) at <1 mg per bill. No             as signi®cant. The current study and the work of Hearn
heroin, 6 acetylmorphine, morphine, PCP or amphetamine                    disagree with the results of Hudson as microgram quantities
were detected.                                                            of cocaine were measured in notes obtained from the general
                                                                          circulation.
3.5. San Juan                                                                Jourdan and Donnelly [11] used ion mobility spectro
                                                                          metry as a screening tool to detect cocaine on currency in the
   Cocaine was detected in all bills collected in San Juan                general circulation. Bills were obtained from urban and rural
ranging from 0.06 to 26.72 mg per bill. Fifty percent of the              ®nancial institutions. Cocaine was quantitated using elec
bills had amounts of cocaine <1 mg per bill. Heroin was                   trospray LC MS or GC MS using a deuterated internal
detected at a low level (0.09 mg per bill) in one bill (S2). The          standard. The initial screening involved scanning US cur
other drugs measured were not detected in any of the bills                rency in aliquots of 10 bills, one side only. If the presence of
from San Juan.                                                            cocaine was indicated by the ion mobility spectrometer, a
192                               A.J. Jenkins / Forensic Science International 121 (2001) 189 193

second sample was screened. The second sample was the                study gave varying results. This series of studies questions
other side of the original 10 bills or a second set of bills         the signi®cance of a dog alert to currency and suggests the
obtained from the same recovery. Results presented from              possibility that the dogs are responding to a characteristic
10 areas representing bills from four states (CA, CT, NY             of the currency itself rather than the drug.
and TX) and Washington, DC showed averages of nano                      Another issue to consider with regard to drug contamina
gram quantities of cocaine per bill. Cocaine was not                 tion of currency is whether drug may be transferred from the
detected in bills obtained from several areas. Of the bills          bills to human skin and absorbed by individuals handling
which were positive for cocaine no trend was observed                such currency. In a study reported by ElSohly [14] two US$ 1
with regard to the amount of cocaine per bill and the                bills were immersed in powdered coca paste, the loose
denomination. The authors concluded from this part of                powder shaken off and the bills given to an individual
their study that the upper limit of the general background           who was instructed to handle them several times throughout
level for cocaine in currency was 13 ng per bill since               the day. The individual was not permitted to wash the hands
>95% of the bills in the study had cocaine levels less than          but otherwise instructed to perform normal functions. Urine
this amount. Jourdan and Donnelly then reported data                 samples were collected and tested by immunoassay. The
from 40 cases. The data presented demonstrated that                  concentration of benzoylecgonine (BE) in the subject's urine
>65% of the submissions contained cocaine at a level                 was determined semiquantitatively using the assay calibra
<30 ng per bill. The authors concluded by stating they               tors. Urine samples collected up to 8.5 h after initial hand
considered any bill containing at least 100 ng cocaine is            ling of contaminated currency were negative for BE.
``statistically different from the background level of the           Samples collected at 12.5, 18 and 21 h were positive for
drug on currency in general circulation'' [11]. Obviously            BE at levels of 72, 36 and 24 ng/ml, respectively. Subsequent
the current study disagrees with the results of Jourdan and          samples were negative. Utilizing a 300 ng/ml cutoff con
Donnelly since several hundred micrograms of cocaine                 centration, the subject was negative for cocaine metabolite.
were measured in several US$ 1 bills tested. The different           Therefore, it appears unlikely that cocaine or other drugs
sources of the bills between the studies may offer a partial         identi®ed in this study could be transferred to humans by
explanation for the different results. In the Jourdan and            contact with paper currency in suf®cient amounts to produce
Donnelly study the bills were obtained from ®nancial in              positive test results from urinalysis.
stitutions. No information was provided in the paper as to              In summary, this study demonstrated the presence of
how or from whom they were obtained. In the current                  several drugs of abuse in US currency collected randomly
study the bills were obtained as the result of day to day            from ®ve cities. It appears that microgram amounts of drug
transactions in stores, restaurants and in fees for admit            may be present on bills in the general circulation. To the
tance to public sites in each of the cities.                         author's knowledge, this is the ®rst report of drug contam
    Jourdan and Wang [12] noted that when analyzing                  ination of US currency with heroin, PCP or methampheta
cocaine from currency obtained in criminal cases, the FBI            mine. Drug contamination of currency other than US and
requests submission of a control sample of bills obtained            Canadian dollars has not been reported. It is possible that
from a source that can be considered representing currency           examination of paper currency from countries with a dif
in the general circulation in the area. These samples are then       ferent drug abuse problem will demonstrate a varying dis
tested prior to the questioned specimens. Jourdan and Wang           tribution of contamination.
also stated that in a 1994 decision by the ninth Circuit Court
of Appeals in US v. US Currency (Alexander) 39 F.3d 1039,
the court held that a drug dog ``alert'' on a sum of money is        Acknowledgements
not suf®cient probable cause for seizure of the currency as
proceeds of drug traf®cking. Indeed, several studies have              The author wishes to thank Mr. Abraham Tsadik of the
been conducted in order to determine canine speci®city and           Drug Chemistry and Metabolism Section, Intramural
sensitivity for the detection of cocaine contaminated cur            Research Program, NIDA, NIH, Baltimore, MD for help
rency. Poupko et al. [13] reported the results of studies            with the drug analysis.
conducted at the Arkansas Police Department in Fayettes
ville, AR, using uncirculated currency contaminated with 1
5000 mg cocaine. Negative controls consisted of uncircu              References
lated currency, drug free as determined by GC MS analysis.
All three dogs in the study alerted to the negative controls          [1] S. Karch (Ed.), Tainted Money Supply, Vol. 9, No. 3, Forensic
                                                                          Drug Abuse Advisor, Berkeley, CA, 1997, pp. 20 21.
and had varying results with the positive samples from
                                                                      [2] J. Oyler, W.D. Darwin, E.J. Cone, Cocaine contamination of
alerting at 1 mg to no alert until the 500 mg bills. When                 United States paper currency, J. Anal. Toxicol. 20 (1996)
clean bond paper was utilized as the negative control, none               213 216.
of the dogs alerted to the drug free paper. When the same             [3] A. Negrusz, J.L. Perry, C.M. Moore, Detection of cocaine on
paper was used contaminated with cocaine, two dogs failed                 various denominations of United States currency, J. Forensic
to alert to any contaminated paper. The other two dogs in this            Sci. 43 (3) (1998) 626 629.
                                    A.J. Jenkins / Forensic Science International 121 (2001) 189 193                                   193

[4] Community Epidemiology Work Group, Epidemiologic                    [9] Crime and Chemical Analysis, New Equipment Roundup
    Trends in Drug Abuse. I. Highlights and Executive Summary,              Dazzles Scientists, PittCon Experience, Science 245 (24
    National Institutes of Health Division of Epidemiological and           March 1989) 1554 1555.
    Prevention Research, National Institute on Drug Abuse,             [10] J.C. Hudson, Analyses of currency for cocaine contamination.
    Rockville, MD, June 1998.                                               J. Can. Soc. Forensic Sci. 22 (1989) 203 219.
[5] Methamphetamine Abuse Alert, NIDA Notes, Vol. 13, No. 6,           [11] T.H. Jourdan, B.F. Donnelly, Detection and quantitation of
    NIH Publication no. 99 3478, National Institutes of Health,             cocaine on US currency: signi®cance of analytical results, in:
    National Institute on Drug Abuse, Bethesda, MD, 15 March                Proceedings of the Counterdrug Law Enforcement: Applied
    1999.                                                                   Technology for Improved Operational Effectiveness Interna
[6] A.J. Jenkins, Hallucinogens, in: B. Levine (Ed.), Principles            tional Technology Symposium, Part I, 1995, pp. 9 27 9 33.
    of Forensic Toxicology, American Association for Clinical          [12] T. Jourdan, D. Wang, Cocaine contamination of US currency,
    Chemistry, Inc., Washington, DC, 1999, pp. 287 288.                     in: Proceedings of the American Academy of Forensic
[7] B.A. Goldberger, W.D. Darwin, T.M. Grant, A. Allen, Y.H.                Sciences Annual Meeting, New York, NY, February 1997,
    Caplan, E.J. Cone, Measurement of heroin and its metabolites            p. B28 (Abstract).
    by isotope dilution electron impact mass spectrometry, Clin.       [13] J.M. Poupko, R.B. Holitik, J. Patnoe, Studies on canine
    Chem. 39 (4) (1993) 670 675.                                            speci®city and sensitivity for detection of cocaine on currency,
[8] E.J. Cone, M. Hillsgrove, W.D. Darwin, Simultaneous                     in: Proceedings of the International Association of Forensic
    measurement of cocaine, cocaethylene, their metabolites                 Toxicologists/Society of Forensic Toxicologists Joint Con
    and ``crack'' pyrolysis products by gas chromatography                  gress, Tampa, FL, 31 October 4 November 1994 (Abstract 86).
    mass spectrometry, Clin. Chem. 40 (7) (1994) 1299                  [14] M.A. ElSohly, Urinalysis and casual handling of marijuana
    1305.                                                                   and cocaine, J. Anal. Toxicol. 15 (1991) 46.
                                            Attachment C6
     Zuo, Y., Zhang, K., Wu, J., Rego, C., and Fitz, J., An Accurate and Nondestructive GC method for
               determination of Cocaine on US Paper Currency, J. Separation Sci., 31 (2008).




Sanford A Angelos                                                                      No. 03 C 3644
2444                                                                                                     J. Sep. Sci. 2008, 31, 2444 2450


Yuegang Zuo                           Original Paper
Kai Zhang
Jingping Wu
Christopher Rego                      An accurate and nondestructive GC method for
John Fritz
                                      determination of cocaine on US paper currency
Department of Chemistry and
Biochemistry, University of           The presence of cocaine on US paper currency has been known for a long time.
Massachusetts Dartmouth, North        Banknotes become contaminated during the exchange, storage, and abuse of
Dartmouth, MA, USA                    cocaine. The analysis of cocaine on various denominations of US banknotes in the
                                      general circulation can provide law enforcement circles and forensic epidemiolo-
                                      gists objective and timely information on epidemiology of illicit drug use and on
                                      how to differentiate money contaminated in the general circulation from bank-
                                      notes used in drug transaction. A simple, nondestructive, and accurate capillary gas
                                      chromatographic method has been developed for the determination of cocaine on
                                      various denominations of US banknotes in this study. The method comprises a fast
                                      ultrasonic extraction using water as a solvent followed by a SPE cleanup process
                                      with a C18 cartridge and capillary GC separation, identification, and quantification.
                                      This nondestructive analytical method has been successfully applied to determine
                                      the cocaine contamination in US paper currency of all denominations. Standard cal-
                                      ibration curve was linear over the concentration range from the LOQ (2.00 ng/mL)
                                      to 100 lg/mL and the RSD less than 2.0%. Cocaine was detected in 67% of the circu-
                                      lated banknotes collected in Southeastern Massachusetts in amounts ranging from
                                      l2 ng to 49.4 lg per note. On average, $5, 10, 20, and 50 denominations contain
                                      higher amounts of cocaine than $1 and 100 denominations of US banknotes.
                                      Keywords: Cocaine / Gas chromatography – flame ionization detection – mass spectrometry / Pa
                                      per currency / Solid phase extraction / Ultrasonic extraction
                                      Received: March 2, 2008; revised: April 1, 2008; accepted: April 2, 2008
                                      DOI 10.1002/jssc.200800117




1 Introduction
Cocaine,       3-benzoyloxy-8-methyl-8-azabicyclo[3.2.1]oc-
tane-2-carboxylic acid methyl ester (Fig. 1), is one of the
most commonly abused illicit drugs in the world. In the
US alone, 6 million people report using cocaine annually
on a regular basis, consuming between 259 and 447 met-
ric tons of cocaine at a cost of US$ 35 70 billion [1, 2].             Figure 1. Chemical structure of cocaine.
Cocaine abuse transcends all social, racial, and economic
boundaries. Many cocaine users use a wrapped banknote
                                                                       used as a part of the forensic evidence to establish a link
to sniff this drug. It has been known since the mid 1980s
                                                                       between a suspect to these drugs [4]. Forensic scientists
that paper currencies in North American and European
                                                                       are now also measuring cocaine on paper currencies as a
countries are contaminated with cocaine residue during
                                                                       part of an effort to study the epidemiology of illegal drug
the drug deals and consumption [3]. The presence of
                                                                       abuse. For the past few decades, epidemiologists have
trace levels of illicit drugs on banknotes is frequently
                                                                       struggled to obtain a quantitative view of illicit drug use.
Correspondence: Professor Yuegang Zuo, Department of Chem
                                                                       However, the traditional data such as tons of drugs
istry and Biochemistry, University of Massachusetts Dartmouth,         seized, the number of people seeking treatment for
285 Old Westport Road, North Dartmouth, MA 02747, USA                  addiction, drug-related mortality, and responses to drug-
E mail: yzuo@umassd.edu                                                abuse questionnaires are biased and inaccurate, which
Fax: +1 508 999 9167
                                                                       makes scientists turn to the environment and believe
Abbreviations: FID, flame ionization detection; HP, Hewlett –          that the measurement of drugs on the money and in sew-
Packard; IS, internal standard; NPD, nitrogen – phosphorus de          age wastewater would provide objective and timely epi-
tection                                                                demiological information on illicit drug use [5].

i   2008 WILEY VCH Verlag GmbH & Co. KGaA, Weinheim                                                                  www.jss journal.com
J. Sep. Sci. 2008, 31, 2444 2450                                                            Gas Chromatography        2445


   Several techniques such as GC coupled with nitrogen        2.3 Sample extraction and preparation
phosphorus detection (NPD), MS, positive-ion chemical-
                                                              Each banknote was placed separately in a 20 mL glass
ionization MS, atmospheric pressure chemical-ioniza-
                                                              vial and 15 mL of doubly distilled and de-ionized water
tion MS or MS-MS, Raman microspectroscopy, and CE, for
                                                              was added to the vials to completely submerge the note
the analysis of cocaine on paper currencies have been
                                                              in the water. All vials were capped and sonicated at room
reported in the literature [4 14]. Among these tech-
                                                              temperature for 5 min in an ultrasonic bath (VWR Signa-
niques, GC-MS has been the most widely employed
                                                              ture Ultrasonic Cleaner Model 75D, 90 W) with Digital
method. In previous studies, various organic solvents
                                                              Timer, Heat, and Power (VWR, S. Plainfield, NJ, USA).
such as chloroform and ACN were used to extract cocaine
                                                              Aqueous extractant (10 mL) was loaded on a precondi-
from banknotes prior to GC-MS analysis which cause
                                                              tioned C18 cartridge. The cartridge was washed with
damage of the security band and holographic marks [4
                                                              2.00 mL of distilled water and 2.00 mL of methanol. The
9]. Even use of methanol, which has been considered an
                                                              analyte was eluted using 5.00 mL of a mixture of metha-
environmentally friendly nondestructive organic sol-
                                                              nol, ethyl acetate, and hexane (1:3:1 by volume) into a
vent, loosens the metallic foil used to check against coun-
                                                              clean vial and evaporated to dryness at ambient temper-
terfeit money [5, 9]. In this study, we have aimed to
                                                              ature under nitrogen and reconstituted with 475 lL of
develop a simple, accurate, and nondestructive proce-
                                                              methanol and 25 lL of internal standard (IS) (0.700 mg/
dure for the determination of cocaine on US banknotes
                                                              mL anthrancene in methanol) to make a final volume of
using ultrasound-enhanced aqueous extraction and GC-
                                                              500 lL. A second extraction was made on the same bank-
flame ionization detection (FID) and GC-MS detection. A
                                                              notes to check the extraction efficiency of the above
SPE with Supelco Discovery C18 cartridges was used to iso-
                                                              described procedure by following the same procedure
late the analyte in aqueous extracts.
                                                              but using methanol instead of water to soak the bank-
                                                              notes.

2 Materials and methods
                                                              2.4 Cocaine analysis
2.1 Drug standards, chemicals, and materials                  GC analysis was carried out on a Shimadzu GC-17A gas
Cocaine, 1.00 mg/mL in ACN drug standard, was pur-            chromatograph equipped with a FID, a Shimadzu AOC-
chased from Sigma (St. Louis, Missouri, USA). All organic     20i GC auto-injector, and a Gateway E-4200 computer
solvents such as methanol, ethyl acetate, hexane, and         that utilizes CLASS-VP Chromatography Data System Ver-
chloroform were of HPLC grade from Pharmco Products           sion 4.2 (Shimadzu Scientific Instruments, Columbia,
(Brookfield, NJ, USA). Anthracene was supplied by East-       MD, USA). Samples were separated on a 30 m60.32 mm
man Organic Chemicals (Rochester, NY, USA). The water         id, 1.00 lm film ECTM-5 capillary column (Alltech, Deer-
used for the sample extraction and solution preparations      field, IL, USA). The stationary phase was composed of 5%
was doubly distilled and then de-ionized. All the other       phenyl- and 95% dimethyl-polysiloxane mixture. Helium
chemicals were of analytical reagent grade and were           was employed as a carrier gas with a linear velocity of
used without further purification. Supelco Discovery SPE      27 cm/s. Nitrogen make up gas, hydrogen and com-
C18 cartridges coupled with a vacuum system (Bellefonte,      pressed air were used for the FID. A split/splitless injector
PA, USA) were used to isolate aqueous cocaine extract.        was used in a splitless mode. The injector volume was
Prior to extraction, the cartridges were sequentially con-    2.0 lL. The column temperature was initially held at
ditioned with 5.00 mL of hexane, 5.00 mL of ethyl ace-        808C for 2 min, then programmed to 2008C at a rate of
tate, 5.00 mL of methanol, and 5.00 mL of doubly dis-         408C/min, then ramped up to 2808C at a rate of 208C/
tilled and de-ionized water.                                  min, with a final hold time of 3 min. The injector and
                                                              detector temperature were maintained at 2908C and
                                                              3108C, respectively.
                                                                 The peak identification and purity verification was
2.2 Collection of US banknotes
                                                              performed by employing a Hewlett Packard (HP) model
Paper currency in US$ 1, 5, 10, 20, 50, and 100 denomina-     GC 5890 Series II gas chromatograph coupled with an HP
tions were collected randomly from cities in Southeast-       5971 series mass selective detector and an HP 7673 GC
ern Massachusetts, USA (New Bedford, Fall River, and          autosampler [15, 16]. Samples were separated on a DB-5
Dartmouth). The banknotes were in general circulation         fused-silica capillary column (30 m60.32 mm id,
at the time. Noncirculated banknotes were obtained            0.25 lm film, J & W Scientific, Folsom, CA, USA). The col-
directly from an American bank. Upon collection, the          umn temperature was initially held at 808C for 3 min,
notes were placed in plastic storage bags and stored at       then the temperature was raised to 2608C at a rate of
room temperature until analysis.                              208C per min. Ultrahigh purity helium with an inline All-

i   2008 WILEY VCH Verlag GmbH & Co. KGaA, Weinheim                                                     www.jss journal.com
2446        Y. Zuo et al.                                                                   J. Sep. Sci. 2008, 31, 2444 2450


tech oxygen trap was used as a carrier gas with a column         The separation and quantification of cocaine in circu-
head pressure at 3 psi. The injector temperature was          lated paper currency is more difficult due to the chemi-
maintained at 2808C and the injection volume was 1.0 lL       cal complexity of banknote contaminants. In previous
in splitless mode. The interface temperature was held at      studies, several organic solvents including chloroform,
3058C. Mass spectra were scanned from m/z 50 to 650 at a      ACN, and methanol have been used to extract cocaine
rate of 1.5 scans/sec. Identification of cocaine was per-     from contaminated banknotes successfully because of
formed by comparing the retention time of the suspect         the high solubility of cocaine in the organic solvents [4
peak with that of an authentic cocaine standard and its       9]. However, the use of these organic solvents causes a
mass spectra. The quantification of cocaine was based on      damage to the security band and/or holographic marks
the ratio of the peak area of cocaine over the peak area of   of banknotes [5, 9]. Furthermore, in some of the previous
the IS.                                                       studies without a cleanup process for the organic solvent
                                                              extracts, the contaminants such as ink, grease, oil, cos-
                                                              metics, etc. on the paper currency resulted in a large
3 Results and discussion                                      amounts of peaks in the chromatogram, overlapping the
                                                              cocaine peak. Cocaine is an alkaloid base with a pKa of 8.6
                                                              and has a solubility of 0.17 g/100 mL in water at room
3.1 Extraction of cocaine from banknotes
                                                              temperature; its salt, typically cocaine hydrochloride,
Prior to using GC coupled with an FID or MS detector for      the most popular powder form of street market cocaine,
the determination of cocaine extracted from banknotes,        has a solubility of 250 g/100 mL in water at 208C. It is
the efficacy of the separation and detection of cocaine       therefore possible to avoid the destruction of paper cur-
was tested on a standard mixture of cocaine and the IS.       rency in the analytical processes by using water instead
The instrument parameters such as the temperature pro-        of an organic liquid as a solvent to extract cocaine. Water
gram and carrier gas flow rate, were optimized to obtain      as an extraction solvent preferably extracts hydrophilic
a good resolution between cocaine, IS, and possible com-      components such as cocaine salt but not hydrophobic
ponents in the extract matrix. Figure 2A illustrates a        compounds, which interfere the determination of
clean separation of cocaine and the IS with a retention       cocaine as encountered in the previous studies using
time of 8.77 l 0.1 min for the IS and 11.3 l 0.1 min for      organic extraction solvents. Recent studies have shown
cocaine using the method described.                           that the application of ultrasound wave can tremen-




i   2008 WILEY VCH Verlag GmbH & Co. KGaA, Weinheim                                                     www.jss journal.com
J. Sep. Sci. 2008, 31, 2444 2450                                                              Gas Chromatography        2447




Figure 2. GC chromatogram. (A) Chromatogram of a mixture solution of cocaine standard and IS; (B) Chromatogram of water
extract of a $20 banknote (Table 1, banknote no. 21); (C) Chromatogram of the second extract of the same banknote with meth-
anol after the first aqueous extraction.

dously speed up liquid liquid extraction [17 20] and             covery C18 cartridges was employed to isolate the analyte
thus can also be used to enhance the aqueous extraction          in aqueous extracts to ensure reliable identification and
of cocaine from the banknotes. A SPE with Supelco Dis-           quantification in this study.

i   2008 WILEY VCH Verlag GmbH & Co. KGaA, Weinheim                                                       www.jss journal.com
2448        Y. Zuo et al.                                                                    J. Sep. Sci. 2008, 31, 2444 2450




Figure 3. Mass spectrum of cocaine.


   In order to evaluate the efficiency of the extraction
procedure, a series of banknotes were first extracted as
described with water as a solvent. A second extraction
was then made on the same banknotes by following the
same procedure but using methanol instead of water to
submerge the notes. Typical chromatograms from the
first and second extracts of a circulated banknote are pre-
sented in Fig. 2, panels B and C. Figure 3 shows a typical
mass spectrum of cocaine. The characteristic ions of
cocaine at m/z 303 (molecular ion, [M]+), 272 (ion attrib-
uted to a-cleavage product, [M OCH3]+), 182 (ion corre-
sponding to [M C6H5COO]+), and 82 (ion attributed to a-
cleavage product, [C4 H5NCH3]+) provide unequivocal evi-
dence of the identity of cocaine on the banknotes exam-
ined. No detectable cocaine was observed in the second
extracts, indicating a single extraction with water is suf-
ficient to remove all cocaine from the notes.
   The recovery experiments were performed by adding          Figure 4. Extraction efficiency of cocaine in paper currency
                                                              with water and methanol (relative error: l2%).
100 lL of 0.100 mg/mL of cocaine standard solution to
noncirculated banknotes. The cocaine-spiked banknotes
were extracted with water or methanol, as a comparison
to previous studies, and subjected to the entire analytical   had the square of the correlation coefficient, slope, and
procedure with the samples in triplicate. The results are     intercept of 0.994, 1.33610 2, and 2.85610 3, respec-
given in Fig. 4. A good percentage recovery of 95 l 2% was    tively. The LOQ was 4 ng of cocaine per banknote, which
obtained for a single extraction with either water or         was established as the concentration of cocaine that
methanol as a solvent. Water was chosen as an extraction      gives rise to peak height with a S/N of 10.
solvent because it does not cause any damage to the              The reproducibility of the retention time for the IS and
banknotes.                                                    cocaine was determined from 25 consecutive injections
                                                              during an analysis of a series of cocaine samples. The
                                                              RSD%) was found to be less than 0.02%. The precision in
                                                              the peak area ratio of cocaine over the IS was better than
3.2 Method validation                                         1.0% for ten consecutive injections of the same cocaine
A calibration curve was obtained for cocaine using a ser-     sample. Repeatability of the method was performed by
ies of standard solutions over the concentration range        six analysts (five determinations by each analyst) using
from 0.00 to 100 lg/mL. Three replicate injections of         the proposed method and the same instrumentation.
each standard solution were performed. The standard           The results showed no significant differences: RSD% less
curve was linear over the concentration range tested and      than 2.0.

i   2008 WILEY VCH Verlag GmbH & Co. KGaA, Weinheim                                                      www.jss journal.com
J. Sep. Sci. 2008, 31, 2444 2450                                                             Gas Chromatography        2449


Table 1. Amounts of cocaine in various denominations of US     this is the first study that analyzed cocaine in US bank-
paper currency collected in Southeastern Massachusetts         notes of all denominations.
                                                                  Several previous studies have reported cocaine con-
Denomination           Banknote no.        Amount of co-
                                           caine (lg/note)a)   tamination on US currency. Oyler et al. [6] have analyzed
                                                               $1 notes collected from several US cities and found that
1$                      1 5                NDa9                cocaine was present in 79% of the currency samples ana-
5$                      6                  49.4                lyzed in amounts above 0.1 lg. Jenkins [7] reported the
                        7                  16.5
                        8                  12.8                presence of cocaine in 92% of US$1 bills randomly col-
                        9                  12.4                lected from five US cities in a range of 0.01 922.72 lg per
                       10                  4.65                bill with a mean amount of 28.75 l 139.07 lg per bill.
10$                    11                  46.2                Negrusz et al. [8] examined ten $20 banknotes from Rock-
                       12                   6.74
                                                               ford (IL, USA) and four $1 notes from Chicago. They
                       13                   8.57
                       14                   4.05               observed that cocaine was present on 92.8% of all notes;
                       15                   6.57               all $20 notes were contaminated with cocaine and the
                       16                  Traceb)             amount of drug varied from 0.14 to 10.02 lg of cocaine
                       17                  ND                  per bill; only one $1 note was cocaine free; one contained
20$                    18                   7.20
                       19                   9.21               only traces of cocaine (below quantitation limit). Most of
                       20                   3.66               the previous studies of cocaine contamination on US cur-
                       21                   5.14               rency have focused on $1 denomination because it was
                       22                  Trace               believed that no apparent difference in the amount of
                       23                  ND
                                                               cocaine contaminant between denominations. In this
50$                    24                  19.6
                       25                  15.9                study, however, cocaine was not detected in any of the
                       26                  14.1                five $1 bills but in all other denominations of the US
                       27                   3.82               banknotes. It is also interesting to note from the current
100$                   28                  ND                  study that the average amount of cocaine in the $1 and
                       29                   8.87
                       30                  ND                  $100 denominations were significantly lower than in
                       31                  ND                  other denominations of the US paper currency collected
                                                               in the Southeastern Massachusetts. When analyzing
a)
     Not detected.                                             cocaine from currency obtained in criminal cases, the
b)
     Below LOQ.                                                Federal Bureau of Investigation (FBI) requests submission
                                                               of a control sample of banknotes obtained from a source
                                                               that can be considered representing currency in the gen-
3.3 Analysis of cocaine in paper currency
                                                               eral circulation in the area. In the light of this study, the
The described method has been applied to extract and           denominations should be considered when colleting a
determine cocaine in various denominations of the              control sample of banknotes in criminal investigation of
United States banknotes collected in City New Bedford,         cocaine related money.
Fall River, and Dartmouth all in Southeastern Massachu-
setts. The analytical results are listed in Table 1. Cocaine
was detected in 67% of the circulated banknotes (N = 31),
                                                               4 Concluding remarks
in amounts ranging from l2 ng to 49.4 lg per note. All
extracts from $5 and $50 banknotes were positive for           A simple, nondestructive, and accurate ultrasound-
cocaine; the amount of the drug was between 4.65 and           enhanced aqueous extraction and capillary GC-FID/MS
49.4 lg per note with an average of 19.2 lg per note in $5     method has been developed and validated for the deter-
notes, and between 3.82 and 19.6 lg per note with an           mination of cocaine in US paper currency. The results
average of 13.4 lg per note in $50 notes. Seven $10 notes      obtained in this study indicate that ultrasound-
were analyzed; one note was negative and another con-          enhanced extraction with water as a solvent was at least
tained traces of cocaine (below quantification limit); the     as efficient as with methanol and water did not cause
average level of cocaine in $10 notes was 10.3 lg per note.    any damage to the banknotes. This study has also demon-
Six $20 notes were detected; one was negative, four posi-      strated the presence of cocaine in various denominations
tive, and one had trace level of cocaine with an average       of US paper currency collected randomly in Southeastern
of 4.20 lg per note in $20 denomination. Cocaine was           Massachusetts and the average levels of cocaine on $1
found in only one of the four $100 bills with an average       and $100 denominations were significantly lower than
level of 2.22 lg per note and in none of the five $1 notes.    on other denominations of banknotes. To the authors'
All unused banknotes (N = 10) of various denominations         knowledge, this is the first report of cocaine contamina-
were negative for cocaine. To the best of our knowledge,       tion on the US paper currency of all denominations.

i    2008 WILEY VCH Verlag GmbH & Co. KGaA, Weinheim                                                     www.jss journal.com
2450          Y. Zuo et al.                                                                                             J. Sep. Sci. 2008, 31, 2444 2450


The authors thank Dr. W. Dills, C. Wang, G. Desmond, X. Feng, Y.                 [8] Negrusz, A., Perry, J. L., Moore, C. M., J. Forensic Sci. 1998, 43, 626 –
Jiao, C. Moon, O. Onayemi, and T. Van for their contribution and                     629.
                                                                                 [9] Esteve Turrillas, F. A., Armenta, S., Moros, J., Garrigues, S., Pas
assistance to this work. This research was partly supported by the
                                                                                     tor, A., de la Guardia, M., J. Chromatogr. A 2005, 1065, 321 – 325.
Department of Chemistry and Biochemistry, University of Massa-
                                                                                [10] Song, D., Zhang, S., Kohlhof, K., J. Chromatogr. A 1996, 731, 355 –
chusetts Dartmouth.                                                                  360.
                                                                                [11] Dixon, S. J., Brereton, R. G., Carter, J. F., Sleeman, R., Anal. Chim.
The authors declared no conflict of interest.                                        Acta 2006, 559, 54 – 63.
                                                                                [12] Frederick, K. A., Pertaub, R., Kam, N. W. S., Spectros. Lett. 2004, 37,
                                                                                     301 – 310.
                                                                                [13] Xu, Y., Gao, Y., Wei, H., Du, Y., Wang, E., J. Chromatogr. A 2006,
5 References                                                                         1115, 260 – 266.
 [1] United Nations Office on Drugs and Crime, 2007 World Drug                  [14] Keil, A., Talaty, N., Janfelt, C., Noll, R. J., Gao, L., Ouyang, Z.,
     Report.                                                                         Cooks, R. G., Anal. Chem. 2007, 79, 7734 – 7739.
 [2] ONDCP, What America's Users Spend on Illegal Drugs 1988 – 1995,            [15] Zuo, Y., Wang, C., Zhan, J., J. Agric. Food Chem. 2002, 50, 3789 –
     December 2001, The Office of National Drug Control Policy,                      3794.
     Washington, DC.                                                            [16] Zuo, Y., Zhang, K., Lin, Y., J. Chromatogr. A 2007, 1148, 211 – 218.
 [3] Aaron, R., Lewis, P., Crime Lab. Digest 1987, 14, 18.                      [17] Zuo, Y., Zhang, L., Wu, J., Fritz, J. W., Medeiros, S., Rego, C., Anal.
 [4] Hudson, J. C., Can. Soc. Forensic Sci. J. 1989, 22, 203 – 219.                  Chim. Acta 2004, 526, 35 – 39.
 [5] Bohannon, J., Science 2007, 316, 42 – 43.                                  [18] Greenway, G. M., Song, Q. J., J. Environ. Monitor. 2002, 4, 950 – 955.
 [6] Oyler, J., Darwin, W. D., Cone, E. J., J. Anal. Toxicol. 1996, 20, 213 –   [19] Suslik, K. S., Science 1990, 247, 1439 – 1445.
     216.                                                                       [20] Zuo, Y., Wang, C., Lin, Y., Guo, J., Deng, Y., J. Chromatogr. A 2008 in
 [7] Jenkins, A. J., Forensic Sci. Int. 2001, 121, 189 – 193.                        press.




i   2008 WILEY VCH Verlag GmbH & Co. KGaA, Weinheim                                                                                   www.jss journal.com
                                           Attachment C7
               Zuo, Y., et.al., Unpublished presentation to the American Chemical Society.
                    ACS Press Release and Scientific American Article attached




Sanford A Angelos                                                                      No. 03 C 3644
                   THE PRINT EDITION
News | Health



Cocaine Contaminates Majority of U.S.
Currency
And it's not just the U.S.: Canada and Brazil have a preponderance of the drug powder
on their bills, too
By David Biello |August 16, 2009 | 30


For cocaine users, a rolled up $20 bill may be the most convenient tool for snorting the
powder form of the drug. Or so it would seem from a new analysis of 234 banknotes
from 18 U.S. cities that found cocaine on 90 percent of the bills tested.


Perhaps that's not surprising given that the U.S. Office of National Drug Control Policy
reports that more than 2 million Americans used cocaine in 2007, which has been linked
to ill effects ranging from debilitating addiction to heart attacks. The United Nations
Office on Drugs and Crime, for its part, reported in the same year that 6 million
Americans admit using cocaine annually, consuming a total of as much as 457 metric
tons in a year.


"Cocaine is a powerfully addictive stimulant and one of the most commonly abused
illicit drugs in the world," says chemist Yuegang Zuo of the University of Massachusetts
Dartmouth, who conducted the tests and presented the findings today at the biannual
meeting of the American Chemical Society, which is taking place in Washington, D.C.
That city ranked highest in the survey—95 percent of the sampled bills there bore
cocaine contamination—along with Baltimore, Boston and Detroit. Salt Lake City had
the lowest average levels of contamination. "The examination of cocaine contamination
on paper money can provide objective and timely epidemiological information about
cocaine abuse in individual communities," Zuo argues.
What might be more surprising is the fact that the percentage of contaminated bills
seems to be rising; just two years ago, Zuo did a similar study that found cocaine on only
67 percent of banknotes in Massachusetts. "It is too early to draw a conclusion about
why," Zuo says. "The economic downturn may partly contribute to the jump."


But the U.S. Drug Enforcement Administration (DEA) notes that other measures, such
as pretrial urine samples from defendants accused of crimes, show that drug use, at least
in the D.C. area, has gone down slightly—only 29 percent of adult arrestees had traces of
cocaine in their urine in the first six months of 2009, the lowest level since 1985. "We
know that cocaine prices have gone up significantly in the last two years, which usually
deters use of that drug," says special agent Melissa Bell of the Washington, D.C., division
office of the DEA. "Junkies go on to use something cheaper."


Levels of cocaine ranged from .006 micrograms to more than 1,240 micrograms—the
equivalent of 50 grains of sand—on U.S. bills, and $5, $10 and $20 bills on average
carried more contamination than $1 or $100 bills.


Zuo and his colleagues also tested banknotes from Brazil, Canada, China and Japan, and
found that Asians appear to use the drug less—only 20 percent of the 112 Chinese
renminbi notes tested had traces, and only 12 percent of 16 Japanese yen notes tested
bore the drug.


But Canadians seem to be just as fond and, perhaps, a bit sloppier in their consumption
or dealing. More than 2,350 micrograms of cocaine were found on some of the Canadian
bills, 85 percent of which had some level of contamination, while 80 percent of Brazilian
reals also bore traces of the drug.


Whether this means drug use is on the rise or that ATMs and other bulk cash-handling
machines—where one contaminated bill can spread powder to many others—are ever
more ubiquitous cannot be discerned. "It is still difficult to tell quantitatively how much
is due to primary contamination, such as during a drug deal or [use], and how much is
due to secondary contamination, such as interaction between contaminated and
uncontaminated bills," Zuo says. "Both may contribute ... [but] it seems clear that the
banknotes containing 1,240 micrograms of cocaine were used directly during a drug
deal or uptake [drug use]."
Previous studies, stretching as far back as 1987, have found varying levels of cocaine
contamination, some even higher than the new finding. But Zuo is the first to analyze
foreign banknotes for contamination and the first to employ a new method of gas
chromatography, which detects the chemical signature of the drug without damaging
the actual money, to do the analysis.


The finding might complicate an anti-drug dealing tactic used by the Federal Bureau of
Investigation (FBI) and other enforcement agencies, Zuo says. In some cases, the FBI
compares the levels of cocaine contamination on seized bills to levels found on bills in
general circulation, treating this as evidence. "Sometimes [drug dealers] use these
studies to try to get their money back when we seize it," Bell notes. But the DEA's drug-
sniffing dogs are not actually detecting cocaine; they are sensing a chemical used in its
manufacture that dissipates more quickly. "So they don't get their money back," Bell
says.


Regardless, it would seem, according to this research, that C-notes are not as popular
with drug dealers (or users) as perhaps popularly depicted. "You rarely see them
breaking out the hundreds unless they're buying kilos," Bell adds. "The user on the
street is going to be breaking out the five, ten or twenty."
                                          Attachment C8
 Dejarme, L.E., Gooding, R.E., Lawhon, S.J., Ray, P., and Kuhlman, M.R., Formation of Methyl Benzoate
  from Cocaine hydrochloride under Different Temperatures and Humidies, Proceedings. SPIE, 2937:19
                                                (1996).




Sanford A Angelos                                                                   No. 03 C 3644
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
                                           Attachment C9
 Waggoner,L.P., Jonston, J.M., Williams, M., Jackson, J., Jones, M.H., BoussoM, T., and Petrousky, J.A.,
 Canine Olfactory Sensitivity to Cocaine hydrochloride and Methy Benzoate, Proceedings SPIE, 2937:19
                                                 (1996).




Sanford A Angelos                                                                     No. 03 C 3644
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
                                           Attachment C10
  Furton, F.G., Hsu,Y., Luo, T., Alvarez, N., and Lagos, P., Novel Sample Preparation methods and Field
  Testing procedures used to Determine the Chemical Basis of Cocaine detection by Canines, Proceedings
                                            SPIE, 2941 (1997).




Sanford A Angelos                                                                     No. 03 C 3644
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
                                           Attachment C11
Furton, F.G., Hsu,Y., Luo, T., Norelus, A., and Rose, S., Field and Laboratory Comparison of the Senitivity
       and Reliability of Cocaine Detction on Currency using Chemical Sensors, Humans, K-9s and
                       SPME/GC/MS/MS Analysis, Proceedings SPIE, 2941 (1999).




Sanford A Angelos                                                                       No. 03 C 3644
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
Downloaded from SPIE Digital Library on 16 Oct 2010 to 24.148.56.124. Terms of Use http //spiedl.org/terms
                                            Attachment C12
  Carter, J.F., Sleeman, R., and Parry, J., The Distribution of Controlled Drugs on Banknotes via Counting
                                  Machines, Forens. Sci. Intnl., 132 (2003).




Sanford A Angelos                                                                        No. 03 C 3644
                                         Forensic Science International 132 (2003) 106 112




                 The distribution of controlled drugs on banknotes
                               via counting machines
                           James F. Cartera,*, Richard Sleemanb, Joanna Parrya
            a
             Organic and Biological Section, School of Chemistry, University of Bristol, Cantock’s Close, Bristol BS8 1TS, UK
                  b
                   Mass Spec Analytical Limited, Building 20F, Golf Course Lane, P.O. Box 77, Bristol BS99 7AR, UK
                        Received 3 May 2002; received in revised form 9 October 2002; accepted 9 October 2002



Abstract

   Bundles of paper, similar to sterling banknotes, were counted in banks in England and Wales. Subsequent analysis showed that
the counting process, both by machine and by hand, transferred nanogram amounts of cocaine to the paper. Crystalline material,
similar to cocaine hydrochloride, could be observed on the surface of the paper following counting. The geographical
distribution of contamination broadly followed Government statistics for cocaine usage within the UK. Diacetylmorphine, D9
tetrahydrocannabinol (THC) and 3,4 methylenedioxymethylamphetamine (MDMA) were not detected during this study.
# 2003 Elsevier Science Ireland Ltd. All rights reserved.

Keywords: Cocaine; Banknotes; Counting machines; Contamination




1. Introduction                                                         England [1] together with dust from a counting machine. Not
                                                                        only were the banknotes found to be contaminated with a
   A number of studies have shown that a significant propor             range of controlled substances, the dust from the counting
tion of banknotes in worldwide circulation are contaminated             machine was also shown to contain significant amounts of
with cocaine and, to a lesser extent, other controlled sub              cocaine [12]. Other authors have reported the presence of
stances [1 7]. Despite these findings and many other reports            cocaine in counting machines at a bank in Basle, Switzerland
(e.g. Guardian, 15 November 1994; Sunday Times, 7 January               [13]. This study demonstrated that counting machines could
1996; New Scientist, 13 February 1999), the origin of this              pass detectable amounts of cocaine from a heavily contami
contamination has remained a matter for speculation.                    nated banknote to those subsequently counted. The conclu
   Sterling banknotes are printed on a mixture of cotton fibre          sion was, however, that contamination within the counting
and linen rag [8]. After a period of use, the characteristics of        machine did not account for the widespread occurrence of
the banknote fibres change [2,9], giving the appearance                 low levels of cocaine on banknotes.
of cavities which might enclose small particles, including                 In order to assess the extent to which counting machines
cocaine. This implies that the retention of controlled                  are responsible for the widespread occurrence of controlled
substances on banknotes is at least in part due to the physical         substances on banknotes, bundles of paper (with fibre char
entrapment of crystalline materials. Other authors have                 acteristics similar to banknotes) were distributed to banks
proposed that the retention of controlled substances is due             in England and Wales. The bundles of paper were counted as
to dissolution in surface inks or grease [10,11], or to                 if they were banknotes and, upon return, analysed for the
chemical binding [5].                                                   presence of controlled substances.
   In a previous study, particulate material was collected
from a large number of banknotes returned to The Bank of
                                                                        2. Materials and methods
  *
    Corresponding author. Tel.: þ44 117 9546967;
fax: þ44 117 9298611.                                                     A number of commercially available types of papers were
E mail address: jim.carter@bristol.ac.uk (J.F. Carter).                 examined by electron microscopy in order to find a similar

0379 0738/03/$ see front matter # 2003 Elsevier Science Ireland Ltd. All rights reserved.
doi:10.1016/S0379 0738(03)00015 X
                                 J.F. Carter et al. / Forensic Science International 132 (2003) 106 112                              107

fibre structure to sterling banknotes. Banknote and paper              office. The bundles of paper were sent to these branches
samples were attached to an aluminium stud using conduc                together with a request for them to be counted by the usual
tive carbon cement. The samples were placed under vacuum               method employed. Each branch was also supplied with a
for 40 min and sputtered at 20 mA for 4 min to provide a               form to be completed with details of the counting method,
100 nm gold coating. The samples were observed at 500                 machine type (if used) and the number of notes recorded. In
magnification with a Hitachi S 2300 Scanning Electron                  early 1998, samples were dispatched via Lloyds internal mail
Microscope (SEM) operated at an electron energy of 25 keV.             service and returned by Royal Mail. Off cuts of paper were
   Conqueror Vellum Laid (100 g/m2) paper (Arjo Wiggins)               analysed for traces of illicit drugs to ensure that no traces
was cut into pieces the same size as five pound sterling               were present on the paper prior to the counting process.
banknotes (approximately 2:75 in:  5:25 in.). Using dispo                Paper samples were analysed for the presence of cocaine,
sable gloves and work surfaces covered with clean aluminium            diacetylmorphine, D9 tetrahydrocannabinol (THC) and 3,4
foil, bundles comprising 50 pieces of paper were counted and           methylenedioxymethylamphetamine (MDMA) using an
a small cross marked on one outer surface. These bundles               Aromic 9100 triple quadrupole mass spectrometer (PE
were sealed in bags along with instruction for the bundles to          Sciex, Canada) specifically designed for sample introduction
be counted with the marked face on top. Using pseudorandom             by thermal desorption [3]. Paper samples were analysed
numbers, 60 branches of Lloyds Bank in England and Wales               sequentially by inserting one half of each sheet between two
were selected from a register provided by Lloyds Bank head             heated metal plates (285 8C) for approximately 1 s. Volatile




    Fig. 1. (a) Sterling banknote surface 500; (b) Vellum Laid surface 500; (c) Vellum Laid surface 500 after machine counting.
108                             J.F. Carter et al. / Forensic Science International 132 (2003) 106 112




                                                        Fig. 1. (Continued ).


components liberated by this process were drawn into the                 Forty three of the 60 paper bundles were returned follow
atmospheric pressure chemical ionisation (APCI) region of             ing counting. Forty of these bundles had been machine
the mass spectrometer. The instrument was operated in                 counted, three by hand. A number of the banks reported
selected reaction monitoring (SRM) mode, recording two                jamming of the paper in automatic counting machines,
gas phase ion transitions characteristic of each component            presumably due to the paper being slightly thicker than
[3]. Gas phase ion transitions were recorded sequentially             banknotes. A number of these banks recounted the paper
for 20 ms, giving approximately 26 measurements for each              subsequently by hand (reported as M/H in Table 1).
compound per sample. The analysis of each paper bundle was               Of the four controlled substances examined, only cocaine
preceded by a standard solution containing cocaine (1 ng),            was detected on the paper bundles. The amount of cocaine
diacetylmorphine (10 ng), THC (2.5 ng) and 3,4 methylene              present on bundles was qualitatively classified in three
dioxymethylamphetamine (1 ng). This was followed by the               categories; ‘‘high’’ when responses were observed higher
analysis of a paper off cut.                                          than the cocaine standard (i.e. higher than 1 ng per sheet),
                                                                      ‘‘low’’ when responses were observed lower than the
                                                                      cocaine standard (i.e. lower than 1 ng per sheet) and
3. Results                                                            ‘‘none’’ where no controlled substances were deemed to
                                                                      be present. Table 1 summarises the amount of cocaine
   Observation of electron micrographs revealed that Con              detected and the counting method employed at the 43 banks
queror Vellum Laid paper (Fig. 1b) showed the greatest                in this study. The authors have estimated that the response
resemblance to sterling banknotes (Fig. 1a) in terms of fibre         for cocaine desorbed from a paper surface is attenuated
structure and the size of cavities available for particles to         approximately 20 fold when compared to the injection of a
occupy. It was judged that small surface particles, attributed        standard solution.
to pigments, would not influence the retention of controlled             Fig. 2 shows the response of the mass spectrometer to the
substances.                                                           gas phase transition m/z 304 105 (characteristic of cocaine)
   An electron micrograph of the top face of a piece of paper         for a number of typical bundles analysed during this study.
from bundle #24 (opposite end to that analysed) counted in            Fig. 2a shows a typical ‘‘high’’ assignment obtained from
Knightsbridge, London, is shown in Fig. 1c. Particles                 bundle #44 (counted in Fulham, London) and Fig. 2b shows
present on the surface were of a type and size which had              a typical ‘‘none’’ assignment obtained from bundle #1
not originally been observed. These particles were of a               (counted in Peterborough).
similar size to cocaine hydrochloride crystals (count geo                A common pattern observed in both ‘‘high’’ and ‘‘low’’
metric mean diameter 1.4 mm, with a geometric standard                contaminated bundles was an increase in the response for
deviation of 2.6 mm) [3]. Although no chemical analysis of            cocaine from each sheet throughout the bundle (Fig. 2c;
individual particles was undertaken at this time, it has been         counted in London). An unusual pattern of response for
proposed that Raman microscopy could provide a means                  cocaine was recorded from bundles #9 and #39 (Fig. 2d;
of analysing single crystals present on the surface of                counted in Bristol) in which contamination was observed
banknotes [14].                                                       only on the outer sheets of the bundle.
                                J.F. Carter et al. / Forensic Science International 132 (2003) 106 112                          109

Table 1                                                               counted bundles were deemed to be highly contaminated,
Location of banks returning bundles showing amount of cocaine         46% of the bundles classified as showing some contamina
detected and the counting method                                      tion and 40% no contamination.
Ref no.   Branch location                Amount       Method             Cocaine has an obvious connection with paper currency
                                                                      through the use of rolled banknotes as a means of ingestion.
 1        Peterborough, PE1              None         M               It is axiomatic that large amounts of cocaine present on a
 4        London, NW11                   High         M               single banknote, through direct drug use, could be spread to a
 7        Stockton on Tees, TS18         High         M
                                                                      very large number of other banknotes in general circulation.
 8        Edgeware, HA8                  High         M/H
 9        Camberley, GU15                Low          H
                                                                      This is consistent with empirical findings [13]. A number of
10        London, E1                     High         M               controlled substances, other than cocaine, are commonly
11        Eastbourne, BN21               Low          M               used in powder form, e.g. diacetylmorphine and ampheta
12        Hanley, ST1                    None         M               mines. These, however, occur as crystals much larger than
13        Christchurch, BH23             Low          M               cocaine [15,16] and may be less readily retained or dis
14        Gosport, PO12                  None         M               tributed. In addition, diacetylmorphine and THC are known
17        Barnstaple, EX31               None         M               to be readily hydrolysed [17] which may explain the failure
18        North Walsham, NR28            None         M               to detect these compounds. It is impossible, therefore, to
19        Ivybridge, PL21                Low          M               state whether these compounds were not present in the
20        Wells, BS5                     Low          M/H
                                                                      counting machines or were degraded on the paper surfaces
21        Birmingham, B10                None         M
22        Sutton Coldfield, B72          None         M
                                                                      prior to analysis. MDMA is a more stable molecule and
23        Weston super Mare, BS23        None         M               should not degrade as rapidly as diacetylmorphine or THC.
24        London, SW3                    High         M               Both MDMA and THC are, however, used in compressed
27        Lydney, GL15                   None         M               (tablet or resin) forms which are less likely to yield parti
29        Dorking, RH4                   None         M               culate material which may be retained by banknotes.
31        Luton, SY8                     Low          M                  A common pattern observed was an increase in the
32        Market Harborough, LE16        Low          M               response for cocaine recorded on each sheet throughout a
33        Ealing, W5                     Low          M               bundle (Fig. 2c), the sheets having passed through the
34        Wadebridge, PL27               None         M               counting machines in the reverse order to which they were
36        Gloucester, GL1                Low          M
                                                                      analysed. This is attributed to cocaine contamination on
37        Altrincham, WA14               None         M
38        Cheltenham, GL50               Low          M
                                                                      components of the counting machine being passed to the
39        Bristol, BS8                   Low          H               paper and diminishing through abrasion during the counting
40        Llanelli, SA15                 None         M/H             process. The occurrence of crystalline material on bundle
41        Cranbrook, TN17                Low          M               #24 (Fig. 1c) was coincident with black marks on the surface
42        Oswestry, SY11                 None         M               of the paper sheets which are assumed to originate from
44        London, SW6                    High         M               components of the counting machine.
45        Ashbourne, DE6                 None         M                  Bundles of paper which had been counted by hand in
46        London, SE3                    Low          M               Bristol (#39, Fig. 2d) and Camberley (#9) showed detectable
47        Warley, B66                    None         H               amounts of cocaine on the outer sheets of the bundles but no
48        West Midlands, CV1             None         M
                                                                      discernibly contaminated sheets in the middle of the bun
49        Southampton, SO40              Low          M
51        Oxford, OX3                    None         M
                                                                      dles. Previous studies have concluded that cocaine could not
54        Wickham, NE16                  None         M               be detected on the hands of bank staff after many hours of
55        Shotton, CH5                   Low          M               handling banknotes [18]. These findings would imply, there
57        Birmingham, B23                Low          M               fore, that the cocaine detected on hand counted bundles was
58        Penzance, TR18                 Low          M               transferred from working surfaces within the bank.
60        Southampton, SO18              None         M                  Although participating banks were selected at random,
M: machine, H: hand.                                                  certain geographical regions were represented more than
                                                                      others. It is assumed that the occurrence of Lloyds banks
                                                                      mirrors population density. The majority of the bundles
  Fig. 3 shows the geographical distribution of the banks in          containing ‘‘high’’ contamination and a significant number
England and Wales which returned samples for this study.              of the bundles containing ‘‘low’’ contamination were
                                                                      returned from the London area. Only one bundle returned
                                                                      from a London bank remained uncontaminated. This finding
4. Discussion                                                         is consistent with UK Government statistics [19] which
                                                                      found that in 2000 London had a significantly higher rate
   Cocaine was the only controlled substance detected, of             of cocaine usage than other regions of the UK. In general,
the four sought, on the bundles of paper returned after               the use of cocaine and other Class A drugs was highest
counting. Using the classification described, 14% of the              in affluent urban areas and amongst the richest income
110                                J.F. Carter et al. / Forensic Science International 132 (2003) 106 112




Fig. 2. Mass spectrometer response (m/z 304 105) for bundles of paper: (a) #44; (b) #1; (c) #24; and (d) #39. Traces are scaled to 2,000,000
ion counts, (*) indicates response to 1 ng of cocaine standard.

categories. Bundles returned from major population centres               local police forces and operate at, or soon after, the point of
in the North and Midland regions of the UK (Liverpool,                   importation [20]. Hence, seizure rates do not reflect the
Birmingham and Manchester) showed little or no contam                    amount of cocaine which may come into contact with
ination, confirming the correlation with cocaine use.                    banknotes via trading or ingestion. Uncontaminated bun
   Contaminated bundles returned during this study appear                dles were returned from both South Wales (#40) and the
to reflect regional patterns of cocaine usage rather than the            North East of England (#54) which are areas with a high
frequency of drug seizures (per million population for                   number of drug seizures [20] but a low level of cocaine
1999) [19]. Customs typically seize larger quantities than               usage [19].
                                J.F. Carter et al. / Forensic Science International 132 (2003) 106 112                              111




                                 Fig. 3. Locations of participating banks within England and Wales.



   The sole contradiction to this pattern was returned from           or other controlled substances on banknotes is unlikely to be
Stockton on Tees (#7) which was the only bundle containing            accounted for by this transfer mechanism and may still be
‘‘high’’ contamination returned from outside the London               viewed as evidence of close contact with a controlled
area. This is an area with moderate drug seizures and limited         substance.
cocaine usage. The bundle returned from nearby Wickham
(#54), which has a higher rate of drug seizures and compar
able cocaine usage, showed no detectable contamination.               Acknowledgements

                                                                         The authors wish to thank Lloyds banks for their assis
5. Conclusion                                                         tance in making this study possible, especially Paula Hodge
                                                                      of the Fishponds, Bristol branch for her help in authorising
   This study has shown that the widespread occurrence of             and co ordinating the distribution of paper samples.
nanogram amounts of cocaine on banknotes is, at least in
part, due to transfer by counting machines. To a lesser
degree, cocaine may be transferred by hand counting. The              References
extent of cocaine contamination on notes broadly reflected
known trends in cocaine usage rather than regional patterns            [1] R. Sleeman, I.F.A. Burton, J.F. Carter, D.J. Roberts, Analyst
of drug seizures. The presence of large amounts of cocaine                 124 (1999) 103 108.
112                              J.F. Carter et al. / Forensic Science International 132 (2003) 106 112

 [2] D.J. Roberts, J.F. Carter, R. Sleeman, I.F.A. Burton,                    Circulation in England and Wales, M.Sc. Thesis, University
     Spectrosc. Eur. 9 (1997) 20 24.                                          of Bristol, UK, 1995.
 [3] R. Sleeman, I.F.A. Burton, J.F. Carter, D.J. Roberts, P.          [13]   T. Briellmann, F. Dussy, T. Schwerzmann, V. Dittmann,
     Hulmston, Anal. Chem. 72 (11) (2000) 397A 403A.                          Kriminalistik 2 (2001) 113 116.
 [4] J.C. Hudson, J. Can. Soc. Forensic Sci. 22 (1989) 203             [14]   N.W.S. Kam, J. Young Investigators 5 (2001).
     218.                                                              [15]   P.J. Holt, Forensic Sci. Int. 81 (1996) 17 28.
 [5] J. Oyler, W.D. Darwin, E.J. Cone, Anal. Toxicol. 20 (1996)        [16]   Measurement of Aerosols Released from Various Controlled
     213 216.                                                                 Drugs, Report by Winfrith UKAEA on Behalf of BAe, 1988.
 [6] A. Negrusz, J.L. Parry, C.M. Moore, J. Forensic Sci. 43           [17]   A.R.L. Wijesekera, D.M.U.J. Abeysinghe, K.C. Pathirana,
     (1989) 626 629.                                                          Studies on the degradation of heroin, Forensic Sci. Int. 67
 [7] A.J. Jenkins, Forensic Sci. Int. 121 (2001) 189 193.                     (1996) 147 154.
 [8] http://www.bankofengland.co.uk.                                   [18]   S. Pain, in: D. Concar (Ed.), White Hot on Green: New
 [9] J.M. Moss, Quantitation of Levels of Cocaine Contamination               Scientist Supplement, 4th October 1997, Quadrant Publishing
     Found on Sterling Banknotes, B.Sc. Thesis, University of                 Services, UK, pp. 2 3.
     Bristol, UK, 1997.                                                [19]   M. Ramsay, P. Baker, C. Goulden, C. Sharp, A. Sondhi, Drug
[10] D. Paradis, RCMP Gaz. 59 (1997) 20 22.                                   Misuse Declared in 2000: Results from the British Crime
[11] D.M. Song, S.D. Zhang, K. Kohlhof, J. Chromatogr. A 731                  Survey, Home Office Research Study 224, Home Office
     (1996) 355 360.                                                          Research, Development and Statistics Directorate, 2001.
[12] I.F.A. Burton, A Study of the Background Levels of a Range        [20]   J.M. Corkery, Drug Seizure and Offender Statistics, UK,
     of Controlled Substances on Sterling Banknotes in General                1999, Government Statistical Survey, March 2001.
                                            Attachment C13
 Ebejer, K.A., Winn, J., Carter, J.F., Sleeman, R., Parker, J., and Korber, F., The Difference between Drug
                   Money and a “Lifetime‟s Savings”, Forens. Sci. Intnl., 167 (2007).




Sanford A Angelos                                                                        No. 03 C 3644
                                                  Forensic Science International 167 (2007) 94 101
                                                                                                                         www.elsevier.com/locate/forsciint




           The difference between drug money and a ‘‘lifetime’s savings’’
                       Karl A. Ebejer a, Jane Winn a, James F. Carter a,*, Richard Sleeman a,
                                            Jill Parker b, Fritjof Körber b
                            a
                              Mass Spec Analytical Ltd., Building 20F, Golf Course Lane, P.O. Box 77, Filton, Bristol BS34 7QS, UK
               b
                   Faculty of Applied Science, University of the West of England, Frenchay Campus, Coldharbour Lane, Bristol BS16 1QY, UK
                                                       Received 8 June 2006; accepted 14 June 2006
                                                             Available online 4 August 2006



Abstract
    In many countries, monies suspected of being associated with drug trafficking can be seized by the authorities. One of the ways of investigating
this association is through the analysis of seized banknotes for traces of controlled drugs.
    We report three studies which may assist the expert in assessing whether banknotes contaminated with diamorphine are part of the general
population of notes in circulation or whether they show unusual contamination patterns which require explanation.
    Study 1 is based on three plausible contamination scenarios as they may occur during the various stages of an illicit drug transaction and seizure.
It shows that notes which have been in direct contact with visible traces of diamorphine show significantly higher contamination to those in more
indirect contact with the drug.
    Study 2 investigates the transfer of diamorphine from one highly contaminated note to other notes in a bundle over a period of 10 weeks with and
without agitation. It was found that the total amount of drug transferred was smaller than 6% and no more than 4 out of a bundle of 10 previously
clean notes became lightly contaminated.
    Based on extensive background data, study 3 proposes a probabilistic model to assess whether an observed proportion of diamorphine bearing
banknotes is likely to have been contaminated by chance. The model predicts that there is only a 0.3% chance that a bundle of 100 notes from the
general banknote population contains more than six contaminated specimens.
    Jointly, the three studies give useful indications for the spread of contamination throughout a sample and the amounts of heroin which may be
expected given plausible contamination scenarios.
# 2006 Elsevier Ireland Ltd. All rights reserved.

Keywords: Diamorphine; Banknotes; Transfer



1. Introduction                                                                  circumstantial evidence. However, this requires that the
                                                                                 banknotes be distinguishable from those typically in general
    The Financial Action Task Force (FATF) lists 40 recom-                       circulation [3].
mendations, which member countries are committed to                                 Banknote analysis by gas chromatography mass spectrometry
implement [1]. The first of these recommendations is to                          (GC/MS) has been performed successfully by a number of
criminalise money laundering on the basis of the United                          workers [3 7]. A major drawback of any method based on GC/
Nations Convention against Illicit Traffic in Narcotic Drugs and                 MS is the long preparation and analysis time required, in
Psychotropic Substances, 1988 (the Vienna Convention) [1].                       comparison with thermal desorption atmospheric pressure
The United Kingdom is one of the 33 members of FATF and, in                      chemical ionisation tandem mass spectrometry (APCI MS/
the UK, the Proceeds of Crime Act allows for the seizure of                      MS) [8 10]. The latter is currently the method of choice for law
cash reasonably suspected to be gained unlawfully [2]. Where                     enforcement agencies in the UK. The speed of this technique has
illegal drug activity is suspected, the results of the analysis of               allowed a huge number of banknotes from general circulation, so
the banknotes for traces of illicit substances can be used as                    called ‘‘background’’ banknotes, to be analysed individually.
                                                                                 This background database of illicit drug traces detected on
                                                                                 banknotes from the UK is maintained and routinely used for
 * Corresponding author. Tel.: +44 117 317 3600; fax: +44 117 936 8219.          comparison with drug traces detected on banknotes seized from
   E mail address: jimc@msaltd.co.uk (J.F. Carter).                              suspects thought to be involved in illegal drug activities.
0379 0738/$ see front matter # 2006 Elsevier Ireland Ltd. All rights reserved.
doi:10.1016/j.forsciint.2006.06.039
                                      K.A. Ebejer et al. / Forensic Science International 167 (2007) 94 101                             95

   Since the background database contains data from individual             shown to be free from diamorphine, prior to making contact
banknotes, the contamination of bundles of banknotes can be                with the banknotes.
described in terms of both the quantity of drug contamination                 The advantage of the described analytical technique is that a
[11] and the proportion of banknotes in a bundle with detectable           single banknote can be analysed twice once for each end. The
traces of a drug [12]. The advantage of having two                         results from two ends of an individual banknote may vary, due
complementary methods for data interpretation is that either               to localised deposits. However, average results from the two
or both can be employed as appropriate to the drug of interest.            ends are found to converge when large numbers of banknotes
Cocaine, for instance, occurs on virtually all Bank of England             are analysed (unpublished results). In forensic casework,
banknotes in general circulation [10]. Therefore, any attempt to           exhibits that have been analysed once can be reanalysed if
differentiate on the basis of contaminated proportion is futile.           required.
Such an approach, however, is valid for diamorphine
contamination, where the drug occurs on much smaller                       2.1. Study 1 primary, secondary and tertiary transfer to
numbers of banknotes in the background.                                    banknotes
   The proportion of banknotes with diamorphine contamina-
tion has been used as the discriminating factor in a large number             British banknotes, being composed of a mixture of cotton
of legal proceedings, but this forms only one aspect of the                and linen, were shown to be simulated best by cotton paper,
evidence. Defendants commonly claim that large quantities of               rather than wood pulp based products as previously used [13]. A
banknotes in their possession represent a lifetime’s savings, a            study of diamorphine transfer showed cotton paper to have
gift, an inheritance, the profits from trading in a grey economy,          similar properties to banknotes (average correlation coefficient
etc. They also maintain that the diamorphine contamination                 0.84) in contrast to a wood pulp based copy paper (average
came to be on the banknotes by mechanisms unknown and                      correlation coefficient 0.79) (unpublished results).
unrelated to them. It is, therefore, useful to consider not only              Contaminated banknotes were modelled using Crane’s Crest
whether a seizure is contaminated to an unusual degree, but also           cotton paper (100% rag, 90GSM, Crane & Co. Inc. Dalton,
to assess the pattern of contamination on the seized banknotes             MA). The paper was cut to the approximate size of a £10
and the likelihood that they became contaminated through                   sterling banknote. This substitution removed the need to correct
means other than illegal drug activity.                                    for the natural background levels of drugs on banknotes and
   In this paper, we report on the contamination patterns of               also eliminated differences between the quality of banknotes
banknotes subjected to three plausible scenarios associated                (e.g. worn, new, dirty, clean). Indeed, it proved difficult to
with activities related to drug dealing. A further study                   obtain a sufficiently large number of banknotes in a similar
investigated the transfer of diamorphine from a highly                     physical condition.
contaminated note to adjacent notes over a period of 10                       Three stages were used to simulate different steps in a drug-
weeks. Lastly, a probabilistic model was fitted to the                     dealing scenario. Each stage was physically isolated on a
diamorphine contamination background database to permit a                  30 cm  30 cm sheet of laminated chipboard of a type
more reliable assessment of which contamination proportions                commonly used in furniture manufacture. The intention was
may be classed as ‘‘unusual’’.                                             that the amounts of diamorphine present on each of the three
                                                                           surfaces were representative of those transferred by primary,
2. Materials, methods, techniques                                          secondary and tertiary contacts with the drug.
                                                                              In the first stage, approximately 10 mg portions of street
    All banknote analyses were performed using triple                      heroin (Avon & Somerset Constabulary, Scientific Investiga-
quadrupole mass spectrometers (MDS Sciex, Concorde, ON.,                   tions, approximately 10% diamorphine) were weighed into
Canada) with custom-built thermal desorption inlets consisting             cigarette papers to make 10 typical street-sized dealer’s
of two metal plates heated to 285 8C. Insertion of a banknote or           ‘‘wraps’’. Samples were weighed using Diamond brand
paper swab, for approximately 1 s, between the metal plates                ‘‘professional mini’’ electronic scales, typical of the variety
caused volatilisation of debris including diamorphine, from the            seized from suspected drugs dealers. Ten cotton paper notes
sample. The vapours became entrained in ambient air flowing                were counted onto this surface into a single pile, which was
into the APCI source of the instrument [12]. The mass                      then inverted and the notes recounted. Subsequently, the notes
spectrometer was programmed to monitor two product ions                    were analysed.
from the protonated molecule of diamorphine (m/z 370). The                    In the second stage the wraps, prepared above, were placed
product ions of interest for diamorphine were m/z 328 and m/z              on a surface previously shown to be clean. Ten cotton paper
268. Peak areas were obtained from the extracted ion                       notes were then counted, as before, onto this surface and then
chromatograms (Analyst 1.4, MDS Sciex, Concorde, ON.,                      again onto a third, clean surface prior to analysis.
Canada) using software written in MATLAB (release 12, The                     In the third stage, 10 cotton paper notes were counted onto
Mathworks, Natick, MA, USA) for the identification and                     the third surface and analysed.
integration of peaks [11].                                                    Gloves were worn during the weighing and wrapping of
   Instrument performance was monitored by injection of a                  heroin, but cotton paper notes were counted using bare hands
solution containing 2 ng of diamorphine in methanol. Swabs                 because this appeared more realistic. Hands were washed with
from the analyst’s gloves and worktop were analysed, and                   copious amounts of warm water between counting stages. The
96                                   K.A. Ebejer et al. / Forensic Science International 167 (2007) 94 101

entire sequence was repeated using clean surfaces and cling               [12]. This number was then normalised to the total number of
film to manufacture the wraps.                                            banknotes in the sample (true positives per 100 banknotes) to
                                                                          correct for sample size variation, and rounded to the nearest
2.2. Study 2 transfer between banknotes                                   integer.
                                                                             The arithmetic mean of the number of contaminated
    To simulate the contaminants as realistically as possible,            banknotes per 100 (m) was also determined from the same
particulate street heroin and household dust were used to                 data set. A Poisson distribution, using m as the predicted
contaminate clean paper. Household dust is likely to contain              outcome (l) was then generated and compared to the
skin oils as found on banknotes [10] and may be expected to               background database. Data were processed using SYSTAT
simulate the daily environment to which banknotes are                     11 for Windows (SYSTAT software Inc., Richmond, CA).
exposed. A quantity of street heroin (as above) was mixed in
a plastic receptacle with a dust taken from a domestic vacuum             3. Results
cleaner and passed though a 1.7 mm sieve followed by a
0.5 mm sieve.                                                             3.1. Study 1 primary, secondary and tertiary transfer to
    A number of cotton paper notes were agitated manually for a           banknotes
period of several minutes with the spiked dust. The notes were
withdrawn, shaken to remove loose deposits and tested and the                Fig. 1(a and b) show the intensity of the diamorphine product
response to diamorphine was measured. The amount of heroin                ions, as a function of time, detected on ten cotton paper notes
in the dust was adjusted until the response was approximately at          from each of the three stages simulated. The trends observed for
the mid-point of the dynamic range of the MS MS instrument.               cigarette paper wraps and cling film wraps can better be
This mixture was then used to spike further cotton paper notes            visualised from a histogram representing the relative, average
in the same manner. A few of the spiked notes were analysed to            diamorphine transfer for each category (Fig. 2). The number of
check that sufficient diamorphine had been transferred to                 contaminated notes decreases with the level of contact in both
mimic the contamination levels typically detected on con-                 the cigarette paper and cling film wrap scenarios. Secondary
taminated banknotes observed in case work.
    A sample consisting of 120 banknotes (£10 denomination)
was drawn over the counter from a bank in Bristol, UK and one
end of each note analysed for the presence of diamorphine. A
record was kept of the order in which the notes were analysed,
and this order was maintained while dividing the banknotes into
12 groups of 10 banknotes each. A spiked cotton note was then
inserted exactly in the middle of each bundle (Fig. 3), and the
bundles were sealed inside close fitting zip-lock bags. All bags
were then sealed inside a tamper-evident bag and stored in the
dark.
    Over the course of 10 weeks, each bundle, except two
control bundles, was counted on a weekly basis. The zip-lock
bags were distributed to different co-workers who opened the
bag and counted out the banknotes, including the spiked
note, at least once, in any manner they pleased, but without
altering the sequence of notes within the bundle. After a few
minutes, the banknotes were returned to their respective zip-
lock bags. In weeks 2, 4, 6, 8 and 10, two bundles were
analysed and removed from the pool. The analysis was
performed on both ends of each note. The remaining samples
were resealed inside a tamper-evident bag and returned to
dark storage.

2.3. Study 3 comparing contamination with the
background database

   One hundred and eighty-six bundles of banknotes, each
comprising 100 banknotes or more, were selected from the
background database. Diamorphine contamination on both
                                                                          Fig. 1. Ion counts recorded for the m/z 268 product ion of diamorphine on
ends of the banknotes was measured using the procedure                    cotton paper notes counted on (tertiary, secondary and primary) surfaces used to
described. The mean number of banknotes in each sample that               simulate a drug deal using wraps of (a) cigarette paper (b) cling film. The same
gave a true positive response for diamorphine was determined              trend was observed for the second ion monitored (m/z 328).
                                          K.A. Ebejer et al. / Forensic Science International 167 (2007) 94 101                                 97

                                                                               whether one can distinguish the various stages of a drugs deal
                                                                               by the quantity of drug transferred.
                                                                                  In the two factor analysis the main factor was the type of
                                                                               transfer scenario (primary, secondary or tertiary transfer). This
                                                                               variable was responsible for approximately 65% of the total
                                                                               variation in the sample set, as measured by the total sum of
                                                                               squares. Its contribution was more than twice as large as that
                                                                               from random fluctuations, showing that this factor is highly
                                                                               significant ( p < 10 14). The second factor analysed was the
                                                                               type of material used for the wraps. This factor was responsible
                                                                               for less than 5% to the variation but was still a statistically
                                                                               significant source of difference ( p < 0.01). As might be
                                                                               expected, the interaction between the two factors is small and at
                                                                               any reasonably chosen level of significance the two factors are
                                                                               not correlated.
                                                                                  The Tukey test identified which of the bundles were
                                                                               significantly different with regards to the amount of drug
                                                                               transferred. The test was performed independently for each ion
                                                                               on all six bundles (three transfer types and two wrap materials)
                                                                               at a confidence level of 95%. The test reliably differentiated
                                                                               between primary transfer scenarios in one group and secondary
                                                                               and tertiary transfer scenarios in a second group, i.e. the notes in
Fig. 2. The mean responses for the product ions of diamorphine (summed)        direct contact with spilled heroin on the cutting table were
detected on banknotes counted onto primary, secondary and tertiary stage       significantly more contaminated than those from indirectly
surfaces.
                                                                               contaminated bundles. Despite the apparent trend towards less
                                                                               contamination for the tertiary stage it was not possible to
transfer from cigarette paper wraps produced about half the                    differentiate between secondary and tertiary transfer, based
number of contaminated notes compared to primary transfer.                     solely on the quantity of material transferred, at the 95%
However, for secondary transfer from cling film wraps almost                   confidence level. By reference to Fig. 2 it is, however,
all the notes in the bundle were contaminated, making it                       immediately clear that secondary and tertiary transfer can be
difficult to distinguish primary from secondary transfer on the                distinguished on the basis of the proportion of contaminated
basis of contamination proportion. Tertiary transfer resulted in               notes.
a single note becoming contaminated from both types of
wrapping material.                                                             3.2. Study 2 transfer between banknotes
   The relative intensity plot (Fig. 2) shows that the quantities
transferred in the various stages differ considerably and an                      A signal to noise ratio of 4.5 was used as a threshold for peak
analysis of variance was performed to establish whether the                    detection. Peak areas for the two ions were summed. The real
apparent differences are statistically significant. For a given                peak data for each end of a given banknote or spiked note were
experimental situation, i.e. for each bundle, the distribution of              also summed to give a better representation of the total
contamination (peak areas) was found to be approximately log-                  diamorphine contamination detected on the note. Every two
normal. Therefore a two factor analysis with replication                       weeks average of the data from two bundles, was calculated to
(Microsoft Excel 97) and a Tukey test [14] were performed on                   arrive at a single value for the response of the MS/MS
the logarithms of the peak areas for the m/z 268 and the m/z 328               instrument to a banknote in a given environment.
product ions. The tests established which parameters influence                    The diamorphine contamination detected on banknotes at a
the mean quantity of drug detected on each analysed bundle and                 given sequential distance (Fig. 3) from the spiked note was




                                          Fig. 3. Arrangement of banknotes and cotton paper spike in study 2.
98                                  K.A. Ebejer et al. / Forensic Science International 167 (2007) 94 101

calculated as the total contamination on the two contributing            for diamorphine per 100 banknotes. The number of con-
notes. The degree to which diamorphine was transferred or                taminated banknotes in a bundle was shown to follow a Poisson
retained was expressed as a proportion of the total amount of            distribution (x2 = 2.30, p = 0.81) (Fig. 6). Using this Poisson
diamorphine detected (Fig. 4).                                           distribution it is possible to estimate the chance that a sample of
   In addition, the number of contaminated banknotes in a                banknotes with a high degree of diamorphine contamination
bundle was plotted as a function of time (bar chart, Fig. 5).            has been drawn from the background by chance. The highest
The amount of diamorphine detected on the spiked paper,                  proportions of contaminated banknotes observed in the 186
corrected for instrument variation, was also plotted (line               backgrounds were two incidents of 6 contaminated banknotes
graph, Fig. 5).                                                          per 100, and a single incident of 8 notes per 100. These upper
                                                                         values are consistent with those predicted by a Poisson
3.3. Study 3 comparing contamination with the                            distribution based on a predicted outcome (l) of 1.85
background database                                                      contaminated notes per 100 (Table 1).
                                                                            The chance of a seizure having 10 contaminated banknotes
   A total of 186 bundles of banknotes in the background                 per 100, or higher, is very slight if the banknotes had a similar
database were found to have an average of 1.85 true positives            history to that experienced by banknotes in the background




                               Fig. 4. Proportion of diamorphine detected on the spike and adjacent banknotes.
                                              K.A. Ebejer et al. / Forensic Science International 167 (2007) 94 101                                    99

                                                                                   Table 1
                                                                                   The chance that a given number of contaminated banknotes are drawn from
                                                                                   general circulation (given a Poisson distribution with l 1.85)
                                                                                   Number of contaminated                          Approximate odds of
                                                                                   banknotes in a sample of 100                    drawing these by chance
                                                                                    0                                              6:1
                                                                                    1                                              3:1
                                                                                    2                                              4:1
                                                                                    3                                              6:1
                                                                                    4                                              12:1
                                                                                    5                                              33:1
                                                                                    6                                              100:1
                                                                                    8                                              2000:1
                                                                                   10                                              50,000:1


                                                                                   represent a true reflection of the range of particle sizes found in
                                                                                   the real world [15]. It is reasonable to speculate that larger
                                                                                   crystals may transfer more easily between banknotes as they
                                                                                   become trapped less readily between the fibres. Since most of
                                                                                   the mass transferred will be in the form of larger crystals,
Fig. 5. Total number of contaminated banknotes (excluding the spiked notes)        applying diamorphine in solution is likely to represent a poor
detected from two bundles of ten banknotes after introducing a spiked note to
                                                                                   model for real world contamination, even though the spiking
each bundle and counting on a weekly basis.
                                                                                   would be more quantitative and less variable. Further,
                                                                                   application of a solution could be achieved by dipping (leading
                                                                                   to homogeneous distribution of the material) or via a syringe
                                                                                   (resulting in contamination concentrated in certain areas),
                                                                                   neither of which accurately reflects the likely distribution of
                                                                                   particulate material. Hence, although the method used to spike
                                                                                   cotton notes lacks both repeatability and reproducibility it was
                                                                                   considered the best model available.
                                                                                      In study 1 it was, perhaps, unsurprising that cotton notes
                                                                                   counted on a surface with visible deposits of heroin retained
                                                                                   significant traces of diamorphine which could subsequently be
                                                                                   liberated by thermal desorption. The intensity of the responses
                                                                                   observed from these notes was similar to those observed when
                                                                                   analysing banknotes from suspected drugs dealers. Wraps
                                                                                   prepared on the same surface would be exposed to similar
Fig. 6. Data observed (red) and predicted by a Poisson distribution (blue) for
                                                                                   amounts of heroin and can reasonably be expected to retain
diamorphine contamination of banknotes taken from general circulation. (For
interpretation of the references to colour in this figure legend, the reader is    external deposits. Some proportion of these deposits may then
referred to the web version of the article.)                                       fall onto the stage 2 surface, becoming available for retention
                                                                                   by the cotton notes counted on this surface.
database. This implies that an alternative explanation is called                      From Figs. 1 and 2, it is apparent that some secondary
for.                                                                               transfer to the cotton notes has indeed occurred. Cotton notes
                                                                                   counted after cigarette paper wraps had been in contact with the
4. Discussion                                                                      surface, however, retained much smaller traces of diamorphine
                                                                                   than those counted after cling film wraps had been in contact
   Although quantitative amounts of diamorphine could easily                       with the surface.
have been applied to the simulated notes as solutions, it was                         Different mechanisms are undoubtedly responsible for the
considered that the use of impure, solid ‘street heroin’ samples                   retention of particles by paper and by cling film. In the latter
would provide a more realistic model for ‘real-life’ heroin                        case the mechanism is almost certainly electrostatic, possibly
contamination in several ways. First, solutions are likely to                      leading to larger initial retention and a larger resulting deposit.
‘wick’ into the fibres of the paper, rather than remaining on the                  In addition, the retention mechanism of the cling film may be
paper surface, or being trapped in the interstices between fibres                  weaker than the paper, resulting in a deposit that is more readily
as would be expected of particles. In turn, this may render the                    lost. In contrast, particles retained by paper surfaces are likely
diamorphine less amenable to liberation by thermal desorption.                     to be retained as inclusions in surface features [10] or by
Secondly, the evaporation of the solvent would lead to the                         dissolution in surface dirt (finger grease, etc.) or water
formation of smaller crystal sizes than would typically be                         associated with the cellulose. These different mechanisms
present in ‘street heroin’, and most certainly would not                           may well exhibit different affinities for different crystal sizes
100                                   K.A. Ebejer et al. / Forensic Science International 167 (2007) 94 101

resulting in preferential retention of different materials. It is          first contact event, experienced by all bundles when the spiked
possible that deposits retained by both the cotton and cigarette           paper was introduced. Subsequently, transfer is minimal, and
papers are strongly bound, not readily lost to the stage 2 and 3           each counting occasion results in losses from the bundles and
surfaces and, therefore, not available for subsequent retention            more exposure to light and moist air that could increase the
by clean cotton notes. This conjecture is supported by the small           natural degradation of the diamorphine [16 18].
deposits retained by cotton notes counted on the third surface.                In study 3, the database against which comparisons were
   The statistical analysis shows that the quantities of drugs             made comprises mainly samples drawn from over the counter at
transferred to the notes directly from the cutting table are               banks throughout the UK. A smaller component of the database
significantly different from those transferred at the secondary            consists of samples from small businesses such as pubs and
and tertiary stages. This information would be of limited value            shops. These are all considered to be representative of banknotes
unless the study was performed at similar primary surface                  in general circulation. There has been extensive discussion on the
contamination levels as observed in real life scenarios. Whilst            degree to which banknotes mix in general circulation [12]. If the
this cannot be asserted, the aforementioned similarity in                  small proportion of banknotes contaminated with diamorphine in
intensity observed in seized samples gives an indication that              general circulation is indeed randomly distributed, then the
this may indeed be the case.                                               probability of drawing a sample bearing a given number of
   In study 2 the source of contamination (the spike) was easily           contaminated banknotes can be described by a Poisson
identifiable at every stage of counting. The amount of                     distribution [19]. This is a good approximation for a binomial
diamorphine remaining on the spiked note through the study                 probability for large numbers where the event of interest occurs
varied from 94 to 99% of the total amount detected on all                  with a low probability. There is no need to specify sample size as
banknotes in a bundle. Transfer occurred primarily from the                long as an expected frequency can be calculated for the number
spiked note to one or both banknotes immediately adjacent                  of events observed [19].
(Adj1) to it in a bundle. Where the spiked note lost as much as 6%             The study has illustrated that the chance of detecting highly
of its diamorphine to other banknotes in the bundle, the amount            contaminated bundles of banknotes in samples drawn at
detected on a single adjacent banknote was less than 6%. This is           random from general circulation, is slight. Indeed, the detection
in line with previous findings [10]. After 4 weeks and after 8             of high frequencies of diamorphine contamination implies that
weeks, diamorphine was also detected on a banknote two steps               the banknotes may have originated from an isolated population,
(Adj2) and three steps (Adj3) away from the spiked note,                   such as drug dealers or drug users. It is possible that
respectively. On banknotes between these and the spiked note, no           contaminated monies could, for example, be paid into a bank
contamination was detected, suggesting that transfer in these              and subsequently withdrawn by an innocent individual prior to
instances may have occurred via the inner surface of the zip-lock          mixing. Extensive mixing of such banknotes with banknotes in
bag in which a bundle was stored, or via the counting surface.             general circulation would account for the low frequency
   Since a single source of contamination was, in general,                 observed in the database. Finding a highly contaminated bundle
found to contaminate up to two banknotes with diamorphine, it              therefore cries out for an explanation.
might be argued that two-thirds of the contamination detected
in an exhibit could have arisen by this process. This would                5. Conclusions
assume minimal bunching of contaminated notes in a bundle.
To have an appreciable effect, banknotes with ‘‘primary’’                     The limited studies discussed in this paper have produced
contamination would need to be dispersed throughout a bundle               some interesting findings, although further work will be
of otherwise uncontaminated banknotes.                                     necessary to strengthen the conclusions that can be drawn.
   In the first 8 weeks of the study, the number of contaminated           Cotton notes in direct contact with surfaces bearing visible
banknotes in every bundle of 20 notes increased with the                   deposits of heroin were found to retain significant amounts
number of counting events. This was, however, concomitant                  diamorphine. Such deposits did not transfer readily between
with a general increase in the diamorphine contamination of the            banknotes when mixed and counted in bundles (less than 6%
spiked paper in these bundles. One of the drawbacks of using a             transfer). A single highly contaminated note is unlikely to
solid material to create the spiked notes was that there was no            contaminate more than the two adjacent banknotes. Since only a
way to precisely regulate the amount of drug present on them.              small proportion of the initial deposit is transferred the primary
The observed trend in the spike note intensity reflects the                and secondary deposits are readily distinguishable. The extent of
random variations in this process.                                         transfer between banknotes appears to be dependent upon the
   A combination of the amount of drug initially present on the            amount of material on the initial spiked note but may also be
spiked note, and the number of mixing events, is probably                  dependent upon the physical handling of the notes, which can
closer to the truth. In the 10th week, a sudden drop in the number         increase or decrease the size of secondary deposits.
of contaminated banknotes in the bundles that had been subjected              Other materials, e.g. cling film and cigarette papers can
to weekly counting corresponded with a fall in the amount of               transfer deposits to a secondary surface where they are available
contamination on the spiked paper. However, the spike sizes were           for retention by cotton notes. These secondary deposits do not
similar in the counted and uncounted control samples, but the              then transfer readily to other surfaces to become available for
number of contaminated banknotes in that sample was higher.                retention by other notes. Hence, counting contaminated notes on
One explanation may be that the majority of transfer occurs in the         a surface along with clean notes does not appear to spread
                                             K.A. Ebejer et al. / Forensic Science International 167 (2007) 94 101                                               101

contamination. These data suggest that two retention mechan-                       [4] J. Oyler, W.D. Darwin, E.J. Cone, Cocaine contamination of United States
                                                                                       paper currency, J. Anal. Toxicol. 20 (1996) 213 216.
isms are involved, one by which material is strongly retained and
                                                                                   [5] D. Song, S. Zhang, K. Kohlhof, Determination of a trace amount of
one by which material is weakly retained and readily lost; the                         cocaine on a bank note by gas chromatography positive ion chemical
latter providing a means of secondary transfer.                                        ionization mass spectrometry, J. Chromatogr. A 731 (1996) 355 360.
    As a result of poor transfer, only a very limited number of                    [6] A. Negrusz, J.L. Perry, C.M. Moore, Detection of cocaine on various
banknotes in general circulation (approximately 2%) carry                              denominations of United States currency, J. Forensic Sci. 43 (1998) 626
traces of diamorphine. The mixing and circulation of banknotes                         629.
                                                                                   [7] F.A. Esteve Turrillas, S. Armenta, J. Moros, S. Garrigues, A. Pastor, M. de
provides a mechanism by which these contaminated notes are                             la Guardia, Validated, non destructive and environmentally friendly
randomly dispersed in the general population producing a                               determination of cocaine in euro bank notes, J. Chromatogr. A 1065
homogeneous background. Knowing the average number of                                  (2005) 321 325.
contaminated banknotes in the background it is, therefore,                         [8] D.J. Roberts, J.F. Carter, R. Sleeman, I.F.A. Burton, Application of tandem
                                                                                       mass spectrometry to the detection of drugs on cash, Spectroscopy Eur. 9
possible to estimate the chance of drawing a given number of
                                                                                       (1997) 20 24.
contaminated banknotes using a Poisson distribution. Using                         [9] R. Sleeman, I.F.A. Burton, J.F. Carter, D.J. Roberts, Rapid screening of
this predictor, the chance of drawing a large proportion is very                       banknotes for the presence of controlled substances by thermal desorption
slight. Even if the contamination on these banknotes had spread                        atmospheric pressure chemical ionisation tandem mass spectrometry,
to adjacent notes, the overall conclusion of this study is that                        Analyst 124 (1999) 103 108.
                                                                                  [10] R. Sleeman, J.F. Carter, I.F.A. Burton, D.J. Roberts, P. Hulmston, Drugs on
banknotes known to have been in direct contact with deposits of
                                                                                       money, Anal. Chem. 71 (2000) 397A 403A.
heroin can be distinguished from those contaminated by                            [11] S.J. Dixon, R.G. Brereton, J.F. Casale, R. Sleeman, Determination of
secondary or tertiary processes.                                                       cocaine contamination on banknotes using tandem mass spectrometry and
                                                                                       pattern recognition, Anal. Chim. Acta 559 (2006) 54 63.
Acknowledgements                                                                  [12] K.A. Ebejer, R.G. Brereton, J.F. Carter, S.L. Ollerton, R. Sleeman, Rapid
                                                                                       comparison of diacetylmorphine on banknotes by tandem mass spectro
                                                                                       metry, Rapid Commun. Mass Spectrom. 19 (2005) 2137 2143.
   The authors wish to thank the following people for their                       [13] J.F. Carter, R. Sleeman, J. Parry, The distribution of controlled drugs on
help. Lauren Baba of the Centre for Chemometrics, School of                            banknotes via counting machines, Forensic Sci. Int. 132 (2003) 106
Chemistry, University of Bristol for her work in comparing the                         112.
distribution of contamination on banknotes. Paula Hodge and                       [14] J. Zar, Biostistical analysis, fourth ed., Prentice Hall International, New
                                                                                       Jersey, 1998.
Martin Scrase of Lloyds TSB for information about the
                                                                                  [15] P.J. Holt, Particle size analysis of six illicit heroin preparations seized in
circulation of UK banknotes. MSA staff for populating the                              the UK, Forensic Sci. Int. 81 (1996) 17 28.
background database.                                                              [16] G.K. Poochikian, J.C. Craddock, J.P. Davignon, Heroin: stability and
                                                                                       formulation approaches, Int. J. Pharm. 13 (1983) 219 226.
References                                                                        [17] A.R.L. Wijesekera, D.M.U.J. Abeysinghe, K.C. Pathirana, Studies on the
                                                                                       degradation of heroin, Forensic Sci. Int. 67 (1994) 147 154.
 [1] http://www.fatf gafi.org, 30 5 2006.                                         [18] A.R.L. Wijesekera, D.M.U.J. Abeysinghe, K.C. Pathirana, Erratum to
 [2] E. Rees, R. Fisher, Blackstone’s Guide to the Proceeds of Crime Act 2002,         ‘‘Studies on the degradation of heroin’’, Forensic Sci. Int. 71 (1995)
     second ed., Oxford University Press, 2005.                                        77.
 [3] J.C. Hudson, Analysis of currency for cocaine contamination, J. Can. Soc.    [19] D. Lucy, Introduction to Statistics for Forensic Scientists, first ed., John
     Forensic Sci. 22 (1989) 203 218.                                                  Wiley and Sons Ltd., Chichester, 2005.
                                         Attachment C14

Wimmer, K., and Schneider, S., Screening for Illicit Drugs on Euro Banknotes by LC-MS/MS, Forens. Sci.
                                     Intnl, Article in Press (2010).




Sanford A Angelos                                                                   No. 03 C 3644
G Model
FSI 6173; No. of Pages 6

                                                                 Forensic Science International xxx (2010) xxx–xxx



                                                                Contents lists available at ScienceDirect


                                                         Forensic Science International
                                                journal homepage: www.elsevier.com/locate/forsciint




Screening for illicit drugs on Euro banknotes by LC–MS/MS
Kurt Wimmer a, Serge Schneider b,*
a
    Université du Luxembourg, Division of Toxicology, Avenue de la Faiencerie, 162 A, L-1511 Luxembourg, Luxembourg
b
    Laboratoire National de Santé (LNS), Division of Toxicology, Avenue de la Faiencerie, 162 A, L-1511 Luxembourg, Luxembourg




A R T I C L E I N F O                                    A B S T R A C T

Article history:                                         A method for the simultaneous quantiﬁcation of illicit drugs on Euro banknotes, using an ultra
Received 14 April 2010                                   performance liquid chromatography tandem mass spectrometry, was developed and validated. The
Received in revised form 19 July 2010                    method included cocaine, benzoylecgonine, MDMA, MDEA, MDA, methamphetamine, diacetylmor
Accepted 28 July 2010
                                                         phine, 6 MAM, morphine and D9 THC. Drug residues were monitored and quantiﬁed via positive ESI
Available online xxx
                                                         mode using multiple reaction monitoring. Banknotes were extracted with methanol by vigorous
                                                         shaking. Recovery rates were in the range of 60 80%. Calibration was performed with spiked banknotes
Keywords:
                                                         in the range of 10 100 ng/note (R2 0.98 0.99). Intra day analysis showed fair precision and accuracy
Drugs of abuse
                                                         (15%). Matrix effects were in the range from 27% to 235%. 7 15 samples of each denomination were
Paper currency
LC–MS/MS                                                 analyzed. The calculated median values per note were 106 ng cocaine, 43 ng benzoylecgonine, 41 ng
                                                         heroin, 15.5 ng 6 MAM, 16.5 ng morphine, 9 ng MDMA and 7 ng methamphetamine. D9 THC was
                                                         detected on 4 banknotes. MDEA and MDA were not detected on any note. A widespread background
                                                         contamination for cocaine and opiates was demonstrated.
                                                                                                               ß 2010 Elsevier Ireland Ltd. All rights reserved.




1. Introduction                                                                            presence of signiﬁcant amounts of various drugs, mainly cocaine,
                                                                                           on different paper currencies [7 11]. Contamination may be
   Drug consumption has become a major societal problem in                                 caused by direct contact during drug consumption or trafﬁcking.
most countries as it is linked to high crime rates as well as other                        Drug ingestion by snorting via rolled banknotes leads to strong
social disruptions [1]. According to estimations of the European                           polluted paper currency. Large amounts of cocaine present on a
Monitoring Centre for Drugs and Drug Addiction (EMCDDA), 22% of                            single banknote could be spread to a very large number of other
European adults in the age of 15 64 years have experience with                             banknotes in general circulation. Drugs in compressed form are
the consumption of cannabis, 3 4% consumed at least once                                   less likely to be retained by the ﬁbers of banknotes than powdery
cocaine, ecstasy or amphetamine and about 1.2 and 1.5 million                              drugs [12].
Europeans already consumed illicit opiates [2,3]. The world                                    In many countries, currency suspected of being associated with
production for cocaine and opiates seems to be stable or is                                drug trafﬁcking can be seized by the authorities. One of the ways of
shrinking. However, the global problem with amphetamine type                               investigating this association is through the analysis of seized
stimulants (ATS) is worsening [4,5]. Cannabis is still the most                            banknotes for traces of illicit drugs [14]. If banknotes are used for
traded and seized herbal drug in Europe. In many countries across                          evidentiary purposes, non invasive analyze method has to be
the globe, methamphetamine is reported to be the second most                               applied to enable reanalysis by other laboratories. In this context,
prevalent illicit drug after cannabis. Methamphetamine belongs to                          the application of Raman Microspectroscopy for the identiﬁcation
the ATS and is probably the most widely consumed synthetic                                 of drug crystals on paper currency is described. This method suffers
stimulant in the world. Other prominent ATS are amphetamine and                            from ﬂuorescence interferences from cutting agents and is
various ‘‘ectasy type’’ drugs (3,4 methylenedioxy N methyl am                              relatively insensitive in comparison to mass spectrometric
phetamine, MDMA and its close relatives 3,4 methylenedioxyam                               methods, which are more commonly used for the identiﬁcation
phetamine, MDA and 3,4 methylenedioxy N ethyl amphetamine                                  and quantiﬁcation of drugs on paper money [1]. Different
MDEA) [6]. MDMA and cannabis are mainly used in compressed                                 analytical approaches (GC MS, LC MS, CE, GLORIA, IMS) were
form (tablet or resin). Methamphetamine, cocaine and heroin                                developed in the last years [15]. Thermal desorption tandem mass
occur in powder form in the market. Previous studies revealed the                          spectrometry (TD MS) is a very fast method and allows the
                                                                                           analysis of 100 banknotes in a single 20 min analytical run [13].
                                                                                           The disadvantage of this method is that heating is (like rinsing of
    * Corresponding author. Tel.: +352 4666446480; fax: +352 221331.                       the banknote) a destructive process to the analyte (not to the
      E-mail address: Serge.Schneider@lns.etat.lu (S. Schneider).                          banknote) so that analysis cannot be repeated [17]. Among the

0379-0738/$ – see front matter ß 2010 Elsevier Ireland Ltd. All rights reserved.
doi:10.1016/j.forsciint.2010.07.037



    Please cite this article in press as: K. Wimmer, S. Schneider, Screening for illicit drugs on Euro banknotes by LC MS/MS, Forensic Sci. Int.
    (2010), doi:10.1016/j.forsciint.2010.07.037
G Model
FSI 6173; No. of Pages 6

2                                              K. Wimmer, S. Schneider / Forensic Science International xxx (2010) xxx–xxx


applied methods, LC MS was the most sensitive method with an                           2.2. Banknotes
LOD in the range of pg/note.                                                              All banknotes (circulated as well as printfresh, non-circulated notes) were
   In this paper, a new validated method using ultra perform                           obtained from the National Bank of Luxembourg (Banque Centrale du Luxembourg,
ance liquid chromatography triple quadrupole tandem mass                               BCL). Notes were received in bundles of 10–20 notes, packed in plastic bags and
spectrometry (UPLC MS) for the identiﬁcation and quantiﬁca                             originated from 8 different Euro emitting countries.

tion of illicit drugs on Euro paper currency is presented.
                                                                                       2.3. Extraction procedure
Attention is paid to the consideration of the matrix for drug
quantiﬁcation, which was disregarded in previous GC MS and                                Euro banknotes were placed in a 50 ml glass vial to which 9 ml of methanol was
LC MS studies. There is concern about the ability of analytical                        added. The vial was sealed and shaken (300 min 1) for 15 min. Extracts were
                                                                                       transferred to a 10 ml glass vial and evaporated to dryness at 40 8C under a gentle
methods to distinguish between ‘‘dirty money’’, which has
                                                                                       nitrogen stream. Remaining residues were resuspended in 1 ml of a 80:20 mixture
recently been in contact with drugs, and ‘‘background money’’,                         of ammonium acetate (5 mM, pH 4.5) and methanol. Extracted solids were removed
which has been in general circulation and may have been                                by centrifugation (7 min, 14,000 rpm). A ﬁnal ﬁltration step with nylon ﬁlters was
inadvertently contaminated [1]. Several illicit drugs are known                        applied if extracted solids were not entirely removed by centrifugation. The
to readily degrade in the presence of moisture (e.g. diacetyl                          supernatant was analyzed using the developed LC–MS/MS method. If necessary,
                                                                                       samples were diluted with ammonium acetate/methanol 80:20 (5 mM, pH 4.5) to
morphine, THC) [17]. For a more precise picture of the grade of
                                                                                       ensure a concentration in the calibration range.
contamination and a better discrimination between ‘‘back
ground’’ and ‘‘dirty’’ money, cocaine and heroin degradation                           2.4. UPLC conditions
products were analyzed. Banknotes were screened for cocaine,
benzoylecgonine, heroin, 6 MAM, morphine, MDMA, MDEA,                                     Chromatographic equipment consisted of an Acquity ultra-performance liquid
                                                                                       chromatography (UPLC) system (Waters, Zellik, Belgium). Separation was
MDA, methamphetamine and D9 THC.
                                                                                       performed on an BEH C18 column (1.7 mm, 2.1  100, Waters). A multi-step linear
                                                                                       gradient of solvent A (95:5 H2O/acetonitrile + 0.5% formic acid) and solvent B
2. Materials and methods
                                                                                       (acetonitrile + 0.5% formic acid) was applied. The initial mobile phase contained
2.1. Chemicals and reagents                                                            97.5% solvent A. The system was run in a linear gradient from 0.75 min to 4.25 min
                                                                                       from 97.5% to 80% solvent A, followed by a gradient from 4.25 min to 4.50 min from
   Water used in this study was deionized by a Millipore AFS 8 puriﬁcation system      80% to 2.5% solvent A. A ﬁnal linear increase to 99% of solvent A was performed from
and was >10 MV. Methanol and acetonitrile were of LC–MS grade. Glacial acetic          5.50 min to 5.75 min. The total run time was 6 min. In all instances, the injection
acid (p. A. grade) was obtained by UCL. Ammonium acetate (ACS reagent grade)           volume was 10 ml (full loop). Column temperature was set to 40 8C, sample
and formic acid (p. A. grade, 98–100%) were purchased from Merck. All drug             temperature to 25 8C. Fig. 1 shows the seperation of a standard mixture.
standards were purchased from Cerillant. Cocaine hydrochloride, heroin, and 6-
MAM (6-monoacetylmorphine) had a concentration of 1 mg/L in acetonitrile.
                                                                                       2.5. MS/MS conditions
Other drug standards had a concentration of 1 mg/L in methanol. Mini-UniPrep
nylon ﬁlter (Whatman, 0.2 mm pore size) with polypropylene housing was used              The LC system was coupled to a Waters Xevo TQ MS mass spectrometer with an
for ﬁltration.                                                                         atmospheric pressure electrospray interface. Waters MassLynx version 4.1 SCN 644




Fig. 1. Separation of a standard solution containing all analytes (100 ng ml 1) applying a multi-step gradient (Acquity UPLC BEH C18 column, ESI+ MS/MS detection). Peak
identiﬁcation from the top: morphine, MDA, methamphetamine, 6-MAM, MDMA, MDEA, benzoylecgonine, heroin, cocaine, D9-THC.



    Please cite this article in press as: K. Wimmer, S. Schneider, Screening for illicit drugs on Euro banknotes by LC MS/MS, Forensic Sci. Int.
    (2010), doi:10.1016/j.forsciint.2010.07.037
G Model
FSI 6173; No. of Pages 6

                                                   K. Wimmer, S. Schneider / Forensic Science International xxx (2010) xxx–xxx                                        3

Table 1
MS/MS parameter for the quantitative and qualitative daughter ions (m/z).

  Analyte                      Parent ion (m/z)           Quantative ion           Cone (V)        Collision (V)       Qualitative ion   Cone (V)     Collision (V)

 Morphine                      286.36                     165.06                   42              38                  286.20            42            5
 MDA                           180.25                     163.11                   14              16                  135.37            14           16
 Methamphetamine               150.21                     119.03                   20              10                   91.03            20           16
 6-MAM                         328.37                     165.10                   42              36                  211.13            42           24
 MDMA                          194.27                     135.39                   20              19                  163.07            20           12
 MDEA                          208.28                     163.05                   20              16                  132.45            20           22
 Benzoylecgonine               290.35                     104.95                   30              28                  168.10            30           18
 Heroin                        370.38                     165.11                   44              50                  268.18            44           26
 Cocaine                       304.37                     182.11                   32              18                   82.04            32           30
 D9-THC                        315.25                     193.12                   30              22                  122.97            30           34




was used for LC–MS system control and data analysis. Analyte identiﬁcation was                extracted. In contrast to methanol, acetonitrile and chlorinated
performed by monitoring the protonated molecule with the two most intense
                                                                                              solvents also removed considerable amounts of colorants. An
product ions. The parameters used for the mass spectrometer under the ESI+ mode
were as follows: capillary voltage 3.00 kV, extractor voltage 3.00 V, source                  important consideration also is whether the method may destroy
temperature 150 8C, desolvation temperature 650 8C, desolvation gas ﬂow                       evidence of seized paper currency. Fingerprints on banknotes also
1200 l h 1, cone gas ﬂow 30 l h 1, collision gas ﬂow (argon) 0.15 ml min 1,                   may be valuable as money could be linked with an individual.
collision cell pressure 3.22  10 3 mbar, LM1 2.8 V, LM2 2.8 V, HM1 14.5 V, HM2               Swabbing paper currency with methanol do not signiﬁcantly affect
14.5 V, ion energy 10.2 V, ion energy 20.8 V. Parameters for the cone and collision
energy are listed in Table 1. Parameters optimization was done by MassLynx/
                                                                                              ﬁngerprint detection on banknotes [17]. Analyte reconstitution in a
IntelliStart. Drug residues were monitored and quantiﬁed using multiple reaction              80/20 mixture of ammonium acetate (5 mM, pH 4.5) and methanol
monitoring (MRM). Five time windows (0.4–0.7 min, 1.7–2.3 min, 2.3–3 min, 3.6–                was beneﬁcial in concern of analyte stability and signal intensity.
4.0 min, 5.1–5.4 min) were deﬁned for MRM. Optimization of the mass
spectrometer was performed by direct infusion of an aqueous solution containing
                                                                                              3.2. Banknotes
all drugs investigated.


2.6. Method performance
                                                                                                 A banknotes’ serial number includes a letter that identiﬁes the
                                                                                              emitting country. Paper currency emitted by the Banque Centrale
   Printfresh, non-circulating 5s banknotes were used for the evaluation of the               du Luxembourg (BCL) are/were printed in different European
method performance data. A methanolic standard mixture containing all analytes
                                                                                              countries and show the identiﬁer letter of the country, in which the
with a concentration of 10 mg/L was prepared and stored at 70 8C. A six-point
calibration in the range of 10–100 ng/note for all analytes (10, 20, 40, 60, 80, 100 ng/      money was printed. As a consequence, banknotes, emitted by the
note) was performed. Banknotes were spiked with 10, 20, 40, 60, 80 or 100 ml of a             BCL, cannot be recognized as Luxemburgish notes. Analyzed
diluted standard mixture (1 ng ml 1). After a sufﬁcient drying time (2–4 h),                  banknotes originated from 8 Euro emitting countries.
banknotes were treated according to the described extraction procedure. Linear
regression with a 1/x weighting was performed. The limit of detection (LOD) and the
limit of quantiﬁcation (LOQ) were deﬁned as, respectively, 3 and 6 times the level of
                                                                                              3.3. Recovery and matrix effect
noise. Intra- and inter-day analyses were performed each with ﬁve spiked 5s
banknotes (75 ng/note). The percentages of matrix effect (ME), the recovery of the               Very different recovery rates are reported for similar analytes
extraction process (RE) and the overall process efﬁciency (PE) are calculated as: ME          by Bones et al. [7]. It was assumed that the basic nature of certain
(%) = B/A  100; RE (%) = C/B  100; PE (%) = C/A  100 [16]. A is the analyte peak
                                                                                              drugs of abuse may be responsible for a different extend of drug
area (75 ng ml 1) in the resuspension medium (n = 2). B is the analyte peak area
spiked into the resuspension medium (75 ng ml 1) of 5s blank extracts (n = 2). C is           retention on banknotes. In fact, a possible matrix effect was not
the analyte peak area in the resuspension medium of spiked (75 ng/note) 5s notes              considered. Published data seem to correspond to values of the
(n = 4).                                                                                      process efﬁciency (PE) which includes the matrix effect as well as
                                                                                              the recovery of the extraction process. Moreover, banknotes,
3. Results and discussion                                                                     used for ‘‘recovery experiments’’, were prewashed with metha
                                                                                              nol. This ‘‘cleaning step’’ deﬁnitely changes the matrix. Bank
3.1. Extraction procedure                                                                     notes fell hard and ﬁrm [18]. Prewashed banknotes cannot be
                                                                                              compared with untreated samples. Estee Turillas et al. [9] were
   Various extraction procedures are described in the literature                              performing two consecutive methanolic extraction steps of
applying acidiﬁcation, different solvents and clean up processes                              spiked banknotes. About 2% recovery in respect to the ﬁrst
[15]. Acetonitrile, methanol and chlorinated solvents were tested as                          extraction was reported for the second one. The absence of a
extraction solvents. In all cases, a substantial amount of solids were                        matrix effect was concluded. We agree, that a second extraction


Table 2
Performance data: RE, recovery of the extraction process; ME, matrix effect; PE, process efﬁciency.

  Analyte                               R2                  LOD (pg/note)                  LOQ (pg/note)               RE (%)            ME (%)             PE (%)

 Cocaine                                0.98                   4                              8                        65  7            235  35           153
 Benzoylecgonine                        0.98                 154                            308                        75  2             61  2             46
 MDMA                                   0.96                 746                           1492                        74  7            113  1.5           84
 MDEA                                   0.98                 114                            228                        68  8             96  9             65
 MDA                                    0.99                 158                            316                        65  10            44  3             29
 Methamphetamine                        0.96                  10                             20                        79  8            297  25           235
 Heroin                                 0.98                  41                             82                        65  6             30  2             20
 6-MAM                                  0.98                 181                            363                        73  3             69  2             50
 Morphine                               0.99                 216                            432                        70  2             27  0.3           19
 D9-THC                                 0.91                4762                           9524                        62  18            37  10            23




  Please cite this article in press as: K. Wimmer, S. Schneider, Screening for illicit drugs on Euro banknotes by LC MS/MS, Forensic Sci. Int.
  (2010), doi:10.1016/j.forsciint.2010.07.037
G Model
FSI 6173; No. of Pages 6

4                                                K. Wimmer, S. Schneider / Forensic Science International xxx (2010) xxx–xxx

Table 3
Performance data; intra- and inter-day analyses (75 ng analyte/note).

    Analyte              Intra-day (n = 5)                                                           Inter-day (n = 5)

                         Mean result (ng/note)       Precision (RSD, %)     Accuracy (error, %)      Mean result (ng/note)     Precision (RSD, %)   Accuracy (error, %)

    Cocaine              71                            7.2                    5.4                    67                         13.1                 10.3
    Benzoylecgonine      72                            3.6                    4.7                    74                         13.3                  1.2
    MDMA                 78                           14.7                    4.4                    68                        >20                    9.2
    MDEA                 72                            5.8                    4.5                    73                         17.3                  2.5
    MDA                  83                            7.3                   11.2                    84                         12.1                 11.8
    Methamphetamine      64                          >20                     14.0                    58                        >20                  >20
    Heroin               86                           15.3                   14.4                    97                        >20                  >20
    6-MAM                75                           14.6                    0.2                    86                        >20                   13.9
    Morphine             82                            3.5                    9.0                    86                         14.1                 15.1
    D9-THC               94                           11.2                  >20                      95                        >20                  >20


step does not improve the overall process efﬁciency. As already                          cocaine, heroin, 6 MAM, morphine, methamphetamine, codeine,
noted by Sleeman et al. [20], this does not necessarily exclude a                        amphetamine and phencyclidine (PCP) on US paper currency is
matrix effect.                                                                           reported [11]. In addition, British pounds were tested positive for a
    Evaluated performance data are listed in Table 2. Recovery rate                      range of narcotics, including cocaine, THC, MDMA, amphetamine
and the matrix effect were evaluated with 5s banknotes. The                              and heroin [17,22]. Euro paper currency was screened before by a
recovery rate for all analytes is in the range of 60 80%. Similar                        LC MS/MS method for a range of controlled drugs. Cocaine,
analytes showed very different matrix effects (cocaine: 235%;                            benzoylecgonine and heroin contaminations are reported on Euro
benzoylecgonine: 46%), leading to very different values for the                          banknotes [7,9]. Very different cocaine contamination levels are
process efﬁciency. If ME (%) = 100, no matrix effect is present. ME                      published, ranging from beneath pg/note up to high mg amounts/
(%) > 100 represents a signal enhancement, ME (%) < 100% a signal                        note [7 9].
suppression [16]. MDEA showed no signiﬁcant matrix effect. A                                In the present study, 7 15 samples of each denomination were
strong signal enhancement was observed for cocaine and                                   screened for drugs of abuse (in sum 64 banknotes). Non circulated
methamphetamine. Other analytes were affected by signal                                  5s banknotes were analyzed as blanks in each run. In order to get a
suppression. As it is difﬁcult to ensure a quantitative drug                             better picture of the overall contamination per note, substances
deposition on banknotes in particulate form, banknotes were                              were grouped and summed up. Fig. 2 (cocaine, benzyolecgonine)
spiked with drugs in solution. Sleeman et al. [20] raised concerns if                    and Fig. 3 (opiates: heroin, 6 MAM, morphine) show analyte group
the application of cocaine onto banknotes via solution adequately                        amounts/note, calculated for the free base form.
models the crystalline nature of cocaine observed on paper money                            Cocaine was found on all samples analyzed. Banknotes
as the contamination will most likely occur in particulate matter.                       contaminated with cocaine (COC) also showed signiﬁcant amounts
The inﬂuence of the drug administration on paper money as solids                         of benzoylecgonine (BE). A median amount/note of 106 ng
or in solution remains to be investigated. Circulated banknotes are                      (349 pmol) for COC and 43 ng (149 pmol) for BE was found. The
worn and show manifold contamination (dirt, ﬁnger grease, etc.).                         presence of BE can be explained by the hydrolysis of cocaine on
Non circulated banknotes were used in this study as contamina                            banknotes. Fig. 2 illustrates the sum of COC and BE in pmol/note.
tions cannot be excluded for used and worn paper money. ‘‘Street’’                       Two banknotes obviously exhibit higher contaminations. A 10s
drugs usually also contain cutting agents and other impurities.                          note showed the highest cocaine deposits (12.4 mg COC, 4.2 mg BE,
These inﬂuences were not considered in this study. Signal                                S55 nmol). These two samples showed 53 and 123 times the
enhancement may be the reason for the huge cocaine values                                calculated median amount of 451 pmol/note (SCOC, BE). All
reported in some studies [9].                                                            remaining samples showed contaminations below 7 nmol for the
                                                                                         sum of COC and BE. A study performed with Canadian banknotes
3.4. Method performance                                                                  indicated, that paper currency associated with criminal cases
                                                                                         contained cocaine quantities that were 50 1000 times higher than
    Many published studies for the analysis of drugs on paper                            those found on notes in general circulation [17]. Previous studies
currency do not report comprehensive method performance data. If
performance data are published, no matrix consideration was made.
To authors knowledge, this is the ﬁrst study reporting a matrix effect
for euro banknotes. Method performance data are presented in
Tables 2 and 3. Calibration curves showed good linearity for all
analytes (R2 0.98 0.99), except methamphetamine and D9 THC.
Cocaine, benzoylecgonine, MDEA, MDA and morphine gave fair
results for intra and inter day analyses. Values for MDMA,
methamphetamine, heroin, 6 MAM and D9 THC have to be regarded
as semiquantitative, as inter day analysis showed deviations of over
20% for precision and/or accuracy. Results for THC and metham
phetamine were calculated with a quadratic function. Fast
hydrolysis is reported for THC and diacetylmorphine in the presence
of moisture [12]. Banknote inhomogenities and different drying
times after spiking also may inﬂuence analysis results.

3.5. Sample analysis

   Numerous studies proved a widespread cocaine contamination
of different paper currencies [15]. Moreover, the presence of                                        Fig. 2. Sum of cocaine and benzoylecgonine in pmol/note.



    Please cite this article in press as: K. Wimmer, S. Schneider, Screening for illicit drugs on Euro banknotes by LC MS/MS, Forensic Sci. Int.
    (2010), doi:10.1016/j.forsciint.2010.07.037
G Model
FSI 6173; No. of Pages 6

                                                K. Wimmer, S. Schneider / Forensic Science International xxx (2010) xxx–xxx                                                     5


                                                                                        amphetamine type stimulants MDEA and MDA were not detected
                                                                                        on any note. 4 banknotes were tested positive for traces of D9 THC.
                                                                                        One of which showed a high THC deposit (>3 mg/note).
                                                                                            In general, small denominations (5s, 10s, 20s) showed higher
                                                                                        illicit drug amounts which can be correlated with their higher
                                                                                        circulation rate and/or a more frequent use in street deals.
                                                                                        Frequently used banknotes are more hackneyed. Their ﬁbers
                                                                                        spread apart and produce interstices that allow the inclusion of
                                                                                        small particles [17]. Analyzed samples from small denomination
                                                                                        had a much rawer surface than bigger denomination. In our
                                                                                        opinion, this has a big inﬂuence on the grade of contamination. If
                                                                                        results of banknotes analysis for traces of illicit substances should
                                                                                        act as evidence, banknotes have to be distinguishable from
                                                                                        banknotes with background contamination. For the evaluation
                                                                                        of discrimination thresholds between ‘‘dirty’’ money and notes
                                                                                        with background contaminations, possible degradation products
                                                                                        should be taken into account.
          Fig. 3. Sum of opiates (heroin, 6-MAM, morphine) in pmol/note.
                                                                                        4. Conclusions

                                                                                            A UPLC MS/MS method has been developed and validated for
on Euro notes [7,9], using methanol and a similar extraction                            the determination of 10 illicit drugs of abuse on Euro paper
procedure, reported a small number of banknotes with deﬁnitely                          currency. To authors knowledge, previous published LC MS as well
higher cocaine contaminations. The difference between ‘‘bank                            as GC MS studies disregarded a matrix inﬂuence. In the present
ground money’’ and ‘‘dirty money’’ may not be that huge for Euro                        study, attention was paid to the matrix consideration using spiked
banknotes than reported before for Canadian dollars. The                                non circulated Euro banknotes for the evaluation of performance
signiﬁcantly elevated cocaine levels of certain banknotes were                          data. All Euro denominations were tested. Small denominations
correlated with a possible direct cocaine exposure during drug                          (5s, 10s, 20s) showed higher drug quantities. Banknotes with
dealing or consumption. On basis of our results and by comparing                        considerable amounts of cocaine or heroin were also tested
with other similar Euro investigating approaches [7,9], we regard                       positive for their breakdown products. Euro banknotes are
banknotes with contamination levels of under 7 nmol/note (SCOC,                         circulating in the European Union and other countries. Conse
BE) as background money and those, exceeding this threshold, as                         quently, geographical and sociological conclusions, as it was
suspicious of having been in direct cocaine contact.                                    frequently done before [15], have to be regarded with scepticism.
    Fig. 3 shows the sum of heroin, 6 MAM and morphine in pmol/
note. Heroin and/or its degradation product 6 MAM were found on                         Acknowledgements
over 90% of all samples. 16 samples were tested positive for
morphine, predominantly on 5s banknotes. Four samples showed                               Authors are grateful to the Fonds national de lutte contre le
apparently higher opiate amounts. The highest opiate amount was                         traﬁc des stupéﬁants for ﬁnancial support. Sincere thanks are given
detected on a 10s note (507 ng heroin, 301 ng 6 MAM). Calculated                        to the Banque Centrale du Luxembourg (BCL) for providing
median values per note were 41 ng (111 pmol) heroin, 15.5 ng                            samples and for forthcoming collaboration.
(47 pmol) 6 MAM and 16.5 ng (58 pmol) morphine. Illicit heroin is
rarely pure and may contain a number of other substances. Heroin                        References
particles were shown to exist over a wide range of size. Holt [19]
calculated a median value for the size of heroin particles of 45 mm                      [1] K.A. Frederick, R. Pertaub, N.W.S. Kam, Identiﬁcation of individual drug crystals on
                                                                                             paper currency using Raman spectroscopy, Spectrosc. Lett. 37 (2004) 301–310.
in diameter, which corresponds to 137 pmol (55.5 ng) and was
                                                                                         [2] Annual Report on the State of the Drugs Problem in Europe, European Monitoring
proposed as a representative particle of illicit heroin. The majority                        Centre for Drugs and Drug Addiction (EMCDDA), 2009.
of samples were contaminated with less than 500 pmol opiates                             [3] Cocaine Use in Europe: Implications for Service Delivery (EMCDDA).
(Sheroin, 6 MAM, morphine) per note with a median opiate sum                             [4] World Drug Report 2009, United Nations Ofﬁce on Drugs and Crime (UNODC).
                                                                                         [5] A Report on Global Illicit Drugs Markets 1997–2007. European Commission,
of 160 pmol/note. The most contaminated banknote showed 14                                   Directorate General Justice, Freedom and Security, 2009.
times the calculated median amount. However, this seems to be                            [6] Methamphetamine—A European Union Perspective in the Global Context,
not dissimilar enough to make a clear differentiation between                                EMCDDA–Europol Joint Publications, 2009.
                                                                                         [7] J. Bones, M. Macka, P. Bretta, Evaluation of monolithic and sub 2 mm particle
‘‘bankground’’ and ‘‘dirty’’ money. Assuming, that 6 MAM and                                 packed columns for the rapid screening for illicit drugs—application to the
morphine originate from hydrolysis of heroin on paper money,                                 determination of drug contamination on Irish euro banknotes, Analyst 132
analyzed banknotes showed a median contamination of about one                                (2007) 208–217.
                                                                                         [8] Y. Zao, K. Zhang, J. Wu, C. Rego, J. Fritz, An accurate and nondestructive GC method
particle heroin per note. A poor transport between banknotes and a                           for determination of cocaine on US paper currency, J. Sep. Sci. 31 (2008) 2444–
small percentage of banknotes in general circulation (approxi                                2450.
mately 2%) with traces of diacetylmorphine is described by Ebejer                        [9] F.A. Estee-Turillas, S. Armenta, J. Moros, S. Garrigues, A. Pastor, M. De la Guardia,
                                                                                             Validated, non-destructive and environmentally friendly determination of co-
et al. [14,21]. However, our study showed a widespread opiate
                                                                                             caine in euro bank notes, J. Chromatogr. A 1065 (2005) 321–325.
background on Euro banknotes.                                                           [10] M. Laﬁtte, F. Brousse, L. Noel, Y. Gaillard, G. Pepin, Drugs of abuse on banknotes:
    53 notes showed traces of methamphetamine (median: 7 ng/                                 comparison between notes from the general circulation and those from drug
                                                                                             trafﬁcking, Ann. Toxicol. Anal. 14 (2002) 95–99.
note), whereas 80% of them showed quantities beneath 15 ng/note.
                                                                                        [11] A.J. Jenkins, Drug contamination of US paper currency, Forensic Sci. Int. 121
Only 3 Euro notes showed levels over 100 ng methamphetamine/                                 (2001) 189–193.
note. MDMA was found on 17 samples (median 9 ng/note), mainly                           [12] J.F. Carter, R. Sleeman, J. Parry, The distribution of controlled drugs on banknotes
on small denominations (5s, 10s, 20s). Bigger denomination                                   via counting machines, Forensic Sci. Int. 132 (2003) 106–112.
                                                                                        [13] S.J. Dixon, R.G. Brereton, J.F. Carter, R. Sleeman, Determination of cocaine con-
almost showed no MDMA positive samples. The highest MDMA                                     tamination on banknotes using tandem mass spectrometry and pattern recogni-
amount (115 ng) was found on a 10s note. The less popular                                    tion, Anal. Chem. Acta 559 (2006) 54–63.



 Please cite this article in press as: K. Wimmer, S. Schneider, Screening for illicit drugs on Euro banknotes by LC MS/MS, Forensic Sci. Int.
 (2010), doi:10.1016/j.forsciint.2010.07.037
G Model
FSI 6173; No. of Pages 6

6                                                   K. Wimmer, S. Schneider / Forensic Science International xxx (2010) xxx–xxx

[14] K.A. Ebejer, J. Winn, J.F. Carter, R. Sleeman, J. Parker, F. Körber, The difference   [19] P.-J Holt, Particle size analysis of six illicit heroin preparations seized in the UK,
     between drug money and a ‘‘lifetimés savings’’, Forensic Sci. Int. 167 (2007) 94–          Forensic Sci. Int. 81 (1996) 17–28.
     101.                                                                                   [20] R. Sleeman, J.F. Carter, K.A. Ebejer, Comments on ‘‘Validated, non-destructive and
[15] S. Armenta, M. De la Guardia, Analytical methods to determine cocaine contamina-            environmentally friendly determination of cocaine in euro bank notes’’, J. Chro-
     tion of banknotes from around the world, Trends Anal. Chem. 27 (2008) 344–351.              matogr. A 1108 (2006) 285–1285.
[16] F. Gosetti, E. Mazzucco, D. Zampieri, M.C. Gennaro, Signal suppression/enhance-        [21] K.A. Ebejer, R.G. Brereton, J.F. Carter, S.L. Ollerton, R. Sleeman, Rapid comparison of
     ment in high-performance liquid chromatography tandem mass spectrometry, J.                 diacetylmorphine on banknotes by tandem mass spectroscopy, Rapid Commun.
     Chromatogr. A 1217 (2010) 3929–3937.                                                        Mass Spectrom. 19 (2005) 2137–2143.
[17] R. Sleeman, J. Carter, F. Burton, D. Roberts, P. Hulmston, Drugs on money, Anal.       [22] R. Sleeman, I. Fletcher, A. Burton, J.F. Carter, D.J. Roberts, Rapid screening of
     Chem. 71 (2000) 397A–403A.                                                                  banknotes for the presence of controlled substances by thermal desorption
[18] J. Bohannon, Hard data on hard drugs, grabbed from the environment, Science 316             atmospheric pressure chemical ionisation tandem mass spectrometry, Analyst
     (2007) 42–44.                                                                               124 (1999) 103–108.




    Please cite this article in press as: K. Wimmer, S. Schneider, Screening for illicit drugs on Euro banknotes by LC MS/MS, Forensic Sci. Int.
    (2010), doi:10.1016/j.forsciint.2010.07.037
                                          Attachment C15
     Felix, J., and Gardner, E.A., Cocaine Contamination of Paper Currency in Birmingham, Alabama,
                                Proceedings Am. Acad. Forens. Sci., (2009).




Sanford A Angelos                                                                   No. 03 C 3644
        ratio is relevant because it reflects the species of precursors and reagents    methanol extract was divided into two equal portions and the methanol
        used for the synthesis, the origin and synthetic method.                        evaporated. One portion was then analyzed by dry extraction into CHCl3
              Usually, enantiomeric ratio of methamphetamine is measured using          and the other portion underwent an acid base extraction. Results from
        GC/MS method. Methamphetamine is converted to diastereoisomers                  GC/MS analysis of the extractions indicate that 80% of the bills were
        with chiral derivatization reagents and separated by gas chromatography         positive for cocaine when analyzed with the dry extraction, however, the
        with a nonchiral column.                                                        chromatogram had many impurities. Some of the impurities carried over
              The best known derivatization reagents in literature: N                   into the blank injected between each sample. The number of bills testing
        (trifluoroacetyl)prolyl chloride (TPC) and (S) (+) α Methoxy α                  positive for cocaine was much less using the acid base extraction,
        (trifluoromethyl)phenylacetic acid MTPA were used. The enantiomeric             however, the chromatograms were cleaner and there was no carryover.
        enrichment with D tartaric acid and subsequent derivatization with                    Similar extraction experiments were performed using nasal
        BSTFA with TMCS before analysis will be tried as well. The                      decongestion Inhalers to compare the results of dry extraction versus
        convenience, simplicity and speed of the different methods will be              acid/base extraction for l meth. Similar results were obtained: there was
        compared.                                                                       loss of the l meth after acid/base extraction relative to the dry extraction.
        Methamphetamine, Enantiomer Ratio, Chiral Derivatization                         The levels of some impurities were decreased relative to the l meth.
                                                                                        There were some impurities that were not affected by the acid/base
                                                                                        extraction and may, in fact, have even been enhanced. Carryover was not
        A41       Cocaine Contamination of Paper Currency                               a problem in either of the extraction methods. This work is ongoing.
                  in Birmingham, Alabama                                                      In conclusion, two methods were used to extract cocaine and l meth
                                                                                        from $1 bills and Vicks decongestive inhalers, respectively. For both sets
        Jeremy Felix*, and Elizabeth A. Gardner, PhD, University of Alabama at          of date, the acid/base extraction results in a cleaner GC/MS spectrum, is
        Birmingham, Department of Justice Sciences, UBOB 210, 1530 3rd                  better to run on the GC column, but yields less intensity in chromatogram
        Avenue South, Birmingham, AL 35294 4562                                         peaks due to sample loss through the multi step cleaning process.
                                                                                        Carryover of the impurities was seen in blank injections between cocaine
              After attending this presentation, attendes will have learned about       sample runs.
        analyte loss through different extraction methods. In addition, the             Cocaine, Currency, Extraction
        methods can also be adapted and applied in any classroom setting to teach
        drug chemistry, techniques for extractions and GS/MS usage, and
        practical hands on experience with techniques applied in forensic               A42           Optimization of Solid Phase Micro
        laboratories. The long term aim of this project is to develop purification                    Extraction - Gas Chromatography/Nitrogen
        methods for profiling impurities and precursor materials.                                     Phosphorous Detector (SPME - GC/NPD)
              This presentation will impact the forensic community by adding                          for the Detection of Methyl Centralite and
        Birmingham, AL to the major U.S. cities that have been tested for the                         Ethyl Centralite From Gun Shot Residues
        presence of cocaine in the local currency. In addition, the researcher will
        be able to analyze the pros and cons for dry extraction versus acid/base        Jorn Chi Chung Yu, PhD, and Brittney C. Gonzalez*, Sam Houston State
        extraction methods, allowing analysts in forensic labs to choose between        University, 1003 Bowers Boulevard, Huntsville, TX 77340
        detection limit and injecting unknown impurities in sensitive lab
        equipment which may result in carry over to subsequent runs.                         After attending this presentation, attendees will have had the
              The objective of this project was to test $1 bills in Birmingham, AL      opportunity to discuss a method for detecting small amounts of methyl
        for trace amounts of cocaine and to compare both purification of the            centralite and ethyl centralite with a novel extraction scheme of using
        sample and sample loss on a qualitative basis using a dry extraction and        solid phase micro extraction. The ease of adaptation of this technique to
        an acid base extraction for both cocaine on $1 bills and                        forensic labs from other chemistry focused areas will be shown.
        levmethamfetamine (l meth) in nasal decongestive inhalers. The attendee         Discussion of similar efforts towards advances in science being applied to
        will learn about analyte loss through different extraction methods. In          forensics will be encouraged.
        addition, the methods can also be adapted and applied in any classroom               This presentation will impact the forensic community by explaining
        setting to teach drug chemistry, techniques for extractions and GS/MS           the many compounds that are specific to gun powder primers and
        usage, and practical hands on experience with techniques applied in             stabilizers. For the purposes of uniqueness, methyl centralite and ethyl
        forensic laboratories. The long term aim of this project is to develop          centralite were reported as highly significant to GSR. Detection of trace
        purification methods for profiling impurities and precursor materials.          amount of methyl centralite and ethyl centralite has been a challenging
              There have been numerous reports of the percentage of paper               task. This investigation of a novel extraction technique has created an
        currency that is contaminated with cocaine and other controlled                 alternative way to detect these GSR signature molecules. This new
        substances in both the U.S. and internationally. However, the term “dirty       method will have a great impact on the determination of molecular marks
        money,” covers more than just the presence of a controlled substance.           of those GSR samples that couldn’t be easily determined by conventional
        Contamination found on currency includes nicotine, bug repellent,               analytical procedures.
        sunscreen, Ritalin, procaine, plasticizers, cosmetics, glycerol, and other           Methyl centralite (MC) and ethyl centralite (EC) are two signature
        substances (JOEL). Potentially pathogenic bacteria were found on 94%            molecules highly associated with gunshot residues (GSR). The objective
        of $1 dollar bills tested in west Ohio (Pope et al. 2002) and germs of fecal,   of this work was to find a sensitive analytical method for extracting and
        respiratory, and skin origin were found on bills from Chicago, New York         identifying trace amount of EC and MC from GSR related samples.
        City, and Washington, DC (Turner 2001).                                              A sensitive extraction scheme to extract MC and EC from the
              Twenty $1 bills randomly retrieved from a Wachovia bank in the            samples has been successfully developed, such as gun powders, un burnt
        Birmingham AL area were extracted with 10 ml of methanol. The                   gun powder residues collected near the target. The extraction was
        * Presenting Author                                                                                                                                       63

Aris Associates Ltd                                                       Distributed by Permission                                             Forensic Laboratory Use Only
                                           Attachment C16
Sleemam, R., Burton, I.F.A., Carter, J.F., and Roberts, D.J., Rapid Screening of Banknotes for the Presence
of Controlled Substances by Thermal Desorption Atmospheric Pressure Chemical Ionization Tandem Mass
                                 Spectrometry, The Analyst, 124 (1999).




Sanford A Angelos                                                                       No. 03 C 3644
Rapid screening of banknotes for the presence of controlled
substances by thermal desorption atmospheric pressure
chemical ionisation tandem mass spectrometry

Richard Sleeman,a I. Fletcher A. Burton,a James F. Carter*b and David J. Robertsb

a Mass Spec Analytical Limited, Building 20F, Golf Course Lane, PO Box 77, Bristol, UK
BS99 7AR. E-mail: rs@msaltd.co.uk
b Environmental and Analytical Section, School of Chemistry, University of Bristol, Cantock’s

Close, Bristol, UK BS8 1TS. E-mail: jim.carter@bristol.ac.uk

Received 4th November 1998, Accepted 21st December 1998



The ability to thermally desorb directly particulate matter, trapped on filter meshes, into the atmospheric pressure
chemical ionisation source of a tandem mass spectrometer allowed the simultaneous detection of a range of
controlled substances within complex matrices with a high degree of confidence. Dust samples were collected
from bundles of banknotes using simple apparatus attached to a portable vacuum cleaner. This technique was
employed without additional clean-up procedures, rendering the overall method extremely rapid. The intensities
recorded for characteristic gas phase ion transitions allow the determination of the amounts of contaminants
present. It has been reported that a significant proportion of bundles of banknotes are contaminated with cocaine.
This study found that cocaine and heroin (and two related opiates) were present above the detection threshold on
UK banknotes from general circulation. Differences in both the frequency and degree of contamination were
apparent between bundles of banknotes from general circulation and those suspected of being associated with the
trafficking of drugs. In addition, a significant number of bundles of banknotes, confiscated by H.M. Customs and
Excise, were found to be contaminated with detectable levels of tetrahydrocannabinol and
3,4-methylenedioxymethylamphetamine.



Large quantities of controlled substances are seized by              ter. A number of precursor–product ion transitions are mon-
authorities within the UK each year. The transportation, re-         itored which are characteristic of specific compounds.
packaging, sale and use of such materials will almost inevitably        In this study, filters were analysed for the presence of the nine
cause contamination of the premises, clothing and other              compounds listed in Table 1. A different range of compounds
possessions of persons involved in these activities. In addition,    may be sought on each filter mesh as required. This technique
dealing in controlled substances frequently involves the ex-         has been applied to the detection of trace levels of explosives in
change of large sums of cash, which may in turn become               extremely complex matrices, with no need for additional clean-
contaminated. The presence of trace levels of controlled             up procedures.3,4 It is evident that the removal and collection
substances in premises and motor vehicles and on clothing and        efficiency of the technique described will vary according to the
currency is frequently used as part of the evidence to establish     chemical and physical nature of both the analyte and the
a link between an individual and these substances. Furthermore,      substrate. The overall vacuum sampling strategy has been
English law permits the seizure1 of cash sums of £10 000 or          shown empirically to be suitable for the removal and collection
more from persons suspected of being associated with drugs           of trace levels of a wide range of compounds, including the nine
trafficking. A forfeiture order may subsequently be granted if       substances reported here, from a variety of substrates. The
this can be substantiated.2                                          limits of detection of the overall approach are likely to differ
   The contamination of clothing, banknotes, etc., is assumed to     from those achieved via alternative extraction procedures, such
result, at least in part, from microscopic particles of material,    as those employed by other workers.5,6 The rapidity of this
physically trapped between the fibres of the specimens. A            approach enables a greater number of samples to be collected
strategy has therefore been devised whereby dust samples may         and analysed from a given population in the time available, an
be collected by means of vacuum sampling. Particles are              important consideration for forensic applications. Similarly,
collected on filter meshes using relatively simple equipment and     other potentially significant evidence, present in the form of
are transferred to a laboratory for subsequent analysis. In this     soluble components, such as fingerprints and inks, is not
manner, it is not necessary for the items requiring examination      destroyed. Although GC-MS is perhaps the most widely used
to be physically transported to the laboratory. This methodology     confirmatory technique in analytical chemistry, Busch et al.7
reduces the number of handling stages, which, in turn,               compared and contrasted it with MS-MS for the determination
minimises the possibility of inadvertent contamination from          of targeted compounds in complex mixtures. They concluded
other sources; solvents, glassware, etc. A ‘control blank’ is also   that the analysis of targeted compounds (certain drugs) in the
routinely taken in order to establish that the person involved in    presence of complex mixtures (inks and dyes, finger grease and
the collection of the sample and the equipment used are free         sweat, household contaminants and general dust and debris) is
from contamination with the compounds sought. The filter             precisely the type of analysis for which MS-MS is suited.
meshes are subsequently thermally desorbed in the laboratory,           A limited number of studies have examined the contamina-
liberating volatile compounds into the atmospheric pressure          tion of paper currency from North America with cocaine and
chemical ionisation (APCI) source of a tandem mass spectrome-        related substances.5,6 These two studies employed solvent

                                                                                                Analyst, 1999, 124, 103–108         103
extraction to remove controlled substances from banknotes,                    through the DBCA by the vacuum cleaner, which is located
followed by extensive clean-up procedures and GC–MS                           upstream with regard to the direction of air flow and is,
detection. Hudson5 examined Bank of Canada notes in Regina,                   therefore, unlikely to contaminate the filters. The filter
Saskatchewan. More recently, Oyler et al.6 examined US dollar                 cartridges are manufactured with a locating key on one face,
bills from various locations within the USA. They concluded                   ensuring that dust is collected on only one side of the meshes.
that the contamination of banknotes with cocaine was wide-                    When the meshes are desorbed, air passes through in the same
spread. Nevertheless, Hudson also concluded that although such                direction, reducing the amount of particulate material carried to
contamination is commonplace, there may still be grounds to                   the ion source of the mass spectrometer. For routine applica-
associate confiscated monies with the drugs trade if it is                    tions, the DBCA is supplied in a heat-sealed plastic bag together
contaminated to an abnormally high degree.                                    with a tamper-evident bag into which it is sealed for return to the
   The data shown illustrate the application of thermal de-                   laboratory.
sorption tandem mass spectrometry to the detection of nine
controlled substances (Table 1) in dust collected from bundles
of UK banknotes. Two groups of 97 and 96 bundles, each
comprising approximately 250 banknotes, were analysed (a                      Sampling
total of 48 250 banknotes). The first group8 had been returned to
the Bank of England Printing Works after a period in general                  Dust samples were collected at the Bank of England Printing
circulation, ranging from 1 year for £5 notes to several years for            Works (Loughton, Essex, UK) using an Electrolux Harmony
£50 notes.9 These were assumed to be representative of                        1300 W variable speed domestic vacuum cleaner equipped with
banknotes in general circulation at the time of this study, June              a DBCA unit. The vacuum cleaner was adjusted to produce an
1995. The second group was typical of bundles of banknotes                    air flow of 2.5 m s21, measured at the head of the DBCA unit
seized by H.M. Customs and Excise Officers within the UK                      with a cartridge installed. The flow was calibrated using an
between January 1994 and May 1996. At the time of seizure all                 Airflow Instrumentation TA2 anemometer/thermometer (Air-
these monies were suspected of being associated with the                      flow Developments, High Wycombe, Bucks., UK).
trafficking of controlled substances.                                            Wearing a disposable paper oversuit and gloves, the operator
                                                                              covered a table with a layer of clean aluminium foil. A DBCA
                                                                              was fitted to the vacuum cleaner and passed over the entire
Experimental                                                                  surface of the foil and the operator’s gloves. The sample thus
                                                                              obtained was designated as a control blank. The bundles
Equipment                                                                     sampled were drawn from larger bundles which comprised 500
                                                                              individual UK banknotes, which had been returned to the Bank
Each dust sample was collected using a specially designed                     of England in sealed, labelled, plastic wrappers, indicating the
disposable brush-head cartridge assembly (DBCA), fabricated                   date and the location of source. A Bank of England employee
from stiff card [Fig. 1(a)] (S. H. Fiske, Bristol, UK). The                   separated approximately 250 notes from a bundle and handed
opening at the front of the DBCA supports a row of bristles,                  these to the operator for sampling. The Bank of England staff
designed to liberate dust from the object being sampled. The                  were requested to handle the cash in as normal a manner as
body of the DBCA holds a filter cartridge [Fig. 1(b)] which                   possible and took no unusual precautions to preclude cross-
supports three quartz mesh elements designed to collect                       contamination. It was thought that this would best reflect the
particulate matter and adsorb vapours. The mesh elements are                  conditions under which cash sums are normally handled.
coated with dicyanoallylsilicone gum (OV-275) to enhance                      Particulate matter was collected from the bundle of banknotes
collection efficiency. When used correctly, it is not possible for            by holding it above the aluminium foil covered surface, fanning
the operator to come into contact with these meshes. In                       the banknotes out and passing the DBCA over the money and
operation, the DBCA is mounted on the nozzle of a portable                    the foil surface so that any particles disturbed from the notes
domestic vacuum cleaner. Particle laden air is then drawn                     were drawn on to the filter meshes. The sampling time was of
                                                                              the order of 30 s. The bundle of banknotes was then handed back
                                                                              to the Bank of England employee and the surface of the
                                                                              aluminium foil again vacuumed. The cartridge was removed
                                                                              and sealed into a suitably labelled plastic bag. The aluminium
                                                                              foil, gloves and filter holder were discarded. A total of 97
                                                                              bundles, comprising approximately 25 000 individual bank-
                                                                              notes, were analysed in this manner.
                                                                                 Dust samples from monies seized by H.M. Customs and
                                                                              Excise were collected by trained Customs Officers spanning the
                                                                              period January 1994 to May 1996. Officers responsible for
                                                                              collecting the samples were instructed to use the above
                                                                              procedures. Samples were collected using a hand held portable
                                                                              vacuum cleaner (Black and Decker HC150), which produced a
                                                                              similar air flow to the system used at the Bank of England. The
                                                                              sample size and collection procedure were, therefore, compara-
                                                                              ble to those employed at the Bank of England.



                                                                              Mass spectrometry

                                                                              The analytical instrument used for this study was an Aromic
                                                                              9100 triple quadrupole mass spectrometer (Perkin-Elmer
Fig. 1 (a) Disposable brush-head cartridge assembly (DBCA) with filter        SCIEX, Thornhill, ON, Canada) specifically designed for
cartridge installed, shown fitted to a portable domestic vacuum cleaner, as   sample introduction by thermal desorption and APCI. The
employed during sample collection. (b) Filter cartridge assembly.             instrument was tuned using diisopropyl methylphosphonate

104       Analyst, 1999, 124, 103–108
vapour bled into the ion source in a flow of high purity air          analysed and found to be blank before proceeding with any
(99.999%) (BOC, London, UK) and ionised in the positive               further analyses.
mode. A number of reference peaks were monitored across the
mass range using each of the analysing quadrupoles and the
resolution was adjusted to give half-height peak widths of            Results and discussion
between 0.64 and 0.70 Da at m/z 29 and between 0.74 and 0.80
Da at m/z 361. Mass calibration was effected using these ions         The APCI mass spectra of the nine substances examined are
and the ion at m/z 181. Finally, the electron multiplier voltage      dominated by the protonated molecule, [M + H]+. These spectra
was adjusted for optimum response to the ion at m/z 361. A            provide little information other than confirming the molecular
system check was then performed which monitored the                   mass of the compound. In contrast, the product ion spectra of
response of the instrument to a 1 ml aliquot of a standard            these protonated species, shown in Fig. 2, are highly specific to
solution containing cocaine (1 ng), diacetylmorphine (heroin)         the compounds of interest. In the analytical methodology
(2.5 ng) and D9-tetrahydrocannabinol (THC) (1 ng). Mass               adopted, a complete product ion spectrum is not recorded, and
calibration, peak width adjustment and system performance             the mass spectrometer dwells for a longer period on gas phase
checks were conducted at the beginning and end of each day’s          transitions which have been empirically found to be highly
operations and were automatically prompted following 4 h of           specific to the compounds of interest, not necessarily the most
operation.                                                            intense transitions. In this way, an enhancement in sensitivity is
   The filters were removed from their packaging and inserted         obtained without a concomitant loss in selectivity. For most
into the analytical instrument by the operator without the need       compounds only two precursor–product transitions are mon-
for any further handling steps. The relevant control blank was        itored, although simple molecular species require more than two
analysed immediately prior to each sample. Control blanks and         transitions to be recorded for positive identification.3 Similarly,
sample cartridges were treated in an identical manner. The            the very high detection threshold designated for the precursor–
operator entered the identity of the sample into the data system,     product transition m/z 136?119 (150 000 ion counts) reflects
all subsequent operations being automated. The filter cartridge       the lower specificity to amphetamine. It must also be noted that
was positioned so as to align with the stream of high purity air      the transitions corresponding to THC are characteristic of D9-
at a flow rate of 2 l min21. A small element heated the air stream    tetrahydrocannabinol, D8-tetrahydrocannabinol and certain
to a temperature of 330 ± 30 °C (measured immediately after the       other cannabinoids which are natural constituents of cannabis.
heated element) by application of a 5.0 A current for 2.0 s,             The signal thresholds, shown in Table 1, were established
followed by 6.0 A for a further 13 s. The temperature achieved        empirically for each of the chosen precursor–product transitions
varied according to the amount of dust present on the cartridges,     and represent detection limits in excess of three standard
which may have restricted the flow of air. The desorbed vapours       deviations above the average signal observed from many
were entrained in this stream and carried along a PTFE lined          thousands of analyses performed on dust samples collected
transfer tube, maintained at a temperature of 200 °C, to the          from a wide range of substrates over a period of many years. For
ionisation source of the mass spectrometer. APCI was used with        a compound to be positively identified, the response obtained
the corona discharge current maintained at 3 mA (corresponding        from all relevant precursor–product transitions must be above
to about 6 kV). Ions were introduced to the mass analyser region      the threshold levels. If the response for any of the ion transitions
via a 250 mm orifice. Dry nitrogen curtain gas was passed across      monitored was below the threshold, the compound was deemed
this opening to prevent the ingress of atmospheric impurities         not to be detected. The ratios of the ion transitions were also
and to facilitate the break-up of adduct ions.10                      required to lie within a range of 0.5–2 times those recorded for
   Filters were screened for the presence of the nine compounds       an authenticated standard for positive identification. A simple
listed in Table 1. The instrument was used in the multiple            criterion to confirm the presence of a compound was thus
reaction monitoring (MRM) mode, sequentially scanning 21              established.
transitions for 20 ms each, for a total time of 15 s. The collision      Results from the analysis of samples and control blanks
region was operated with argon at a concentration of 300              collected by H.M. Customs and Excise and from the Bank of
mmol cm23 and an offset voltage of 58 V for heroin and                England were treated as four discrete data sets. For each data set
methaqualone and 41 V for all other compounds. Ion counts for         the average and standard deviation of the peak height for each
each transition were recorded approximately 26 times through-         precursor–product transition were calculated. These results
out the desorption process, data being acquired and processed         were then used to calculate the range of signal (calculated as
using the Aromic data system operating on a Digital PDP/11            average ± 1.96 3 standard error of measurement) expected for
computer. Data reported show the peak height of the transient         each transition at a 95% level of confidence,11 shown in Table
signal recorded for each transition during the desorption             1. The signals recorded, corresponding to cocaine, THC, heroin,
process.                                                              MDMA and amphetamine for each sample from both groups,
   Routinely, two of the filter meshes were analysed for the          are shown graphically in Fig. 3. For clarity, Fig. 3 shows only
presence of a range of compounds. The third mesh was retained         the intensity of the first transition listed in Table 1, data for other
for possible subsequent analysis either by this or some other         transitions being in close agreement. Narcotine and papaverine,
complementary technique. Although thermal desorption is               which are products of the opium poppy, were found to occur
considered to be a ‘destructive’ technique, it has been shown         with heroin and are not included in Fig. 3, also for clarity. The
empirically that the process does not remove all material and         range for the percentage of bundles of banknotes which
further analyses may be performed on any of the meshes.               exceeded the detection threshold for specific compounds, at a
   Following each sample in which the presence of a monitored         confidence level of 95% (calculated as P ± 1.96 3 standard
substance was detected, a purge cycle was initiated by the            error of percentage),12 is given in Table 2. Only data from the
operator. This procedure entailed the introduction of an              analysis of the central filter meshes are shown in Fig. 3 and
aluminium block with the same profile as a filter cartridge into      Table 2. Data from the analysis of the second mesh of each
the instrument. A sequence was then initiated whereby hot air         cartridge were in close agreement with results from the first
(about 380 °C) was passed through the desorption region and           mesh and are not presented for clarity.
heated transfer line for 15 s at each mesh position, to remove           No controlled substances were detected on any of the control
residual contamination. This was automatically followed by a          blank cartridges acquired at the Bank of England. The signals
normal analytical sequence with the aluminium block in situ.          recorded were equivalent to approximately 20 pg of cocaine and
The purge cycle was repeated until the signals recorded returned      100 pg of other compounds, but these were all below the
to below established values. Two unused cartridges were then          designated thresholds. There was no statistical difference

                                                                                                  Analyst, 1999, 124, 103–108           105
between the range of signals recorded for the control blanks                    Cocaine, heroin, narcotine and papaverine were all deemed to
taken from the Bank of England and those collected by H.M.                   be present on at least one of the bundles of banknotes sampled
Customs and Excise corresponding to any of the compounds                     at the Bank of England. Of these compounds, only the signal
sought. This indicates that the environments in which both                   ranges for the precursor–product transitions corresponding to
groups of samples were collected could be considered to be free              cocaine were statistically different from the control blanks at a
from contamination with these compounds. Two control blank                   95% confidence level, probably because the opiates were only
cartridges acquired by H.M. Customs and Excise showed small,                 detected on a single sample. The upper range of signal recorded
but detectable, responses for cocaine (equivalent to approx-                 for cocaine was equivalent to approximately 1.1 ng. Of the 97
imately 60 and 80 pg). This was probably due to contamination                bundles of banknotes sampled, 39 were deemed to be
from paper oversuits which are not routinely changed between                 contaminated with cocaine, which was equivalent to 40.2% of
the collection of different samples. In practice, data from the              the samples. Assuming that the number of banknotes in general
samples corresponding to these control blanks would be                       circulation represents an infinitely large population, it may be
considered unreliable but are included for the purpose of this               inferred that there is at least a 31.4% chance of a bundle of 250
study. With these two exceptions, all control blanks yielded                 banknotes drawn from general circulation being detectably
signals far below the designated thresholds.                                 contaminated with cocaine. These data show a slight trend for




Fig. 2 Product ion mass spectra of (a) amphetamine, (b) methamphetamine, (c) MDMA, (d) methaqualone, (e) cocaine, (f) THC, (g) papaverine, (h) heroin
and (i) narcotine, showing [M + H]+ species formed by atmospheric pressure chemical ionisation and monitored product ions (marked with asterisks).

106      Analyst, 1999, 124, 103–108
smaller denominations to be more frequently contaminated, £5                    was saturated. This was also obvious from the number of purge
(57%), £10 (42%), £20 (37%) and £50 (19%), possibly                             cycles required to remove all traces of the compound from the
reflecting a higher incidence of contact between these denomi-                  instrument following the analysis of dust from a number of
nations and cocaine or the greater number of transactions which                 bundles of confiscated banknotes. A more distinct difference
these denominations undergo. A single bundle of £5 banknotes                    between the two populations would undoubtedly have been
exceeded the detection limit for heroin, equivalent to approx-                  apparent had the dynamic range of the analyser been greater. It
imately 500 pg. The same bundle also contained traces of                        is also unquestionable that the frequency of contamination
narcotine and papaverine, which are natural products of the                     observed is dependent on the designated detection threshold and
opium poppy [Papaver somniferum L. (Papaveraceae)]. Despite                     it is essential, therefore, that comparisons are made only
this finding, ranges of both the signal level and percentage                    between samples acquired and analysed in an identical manner.
contamination, at 95% confidence, were not significantly                        Had a higher detection threshold been assigned, the percentage
different from the corresponding control blanks. These data,                    of bundles of confiscated banknotes deemed to be contaminated
therefore, do not provide conclusive evidence that any propor-                  with cocaine would have been much greater than those from
tion of UK banknotes in general circulation is contaminated                     general circulation.
with opiates. The detection of high frequencies or amounts of                      The range of signals recorded corresponding to, methaqu-
heroin contamination can, therefore, be viewed as uncommon.                     alone, methamphetamine and amphetamine from the Bank of
   The extent of contamination found on bundles of banknotes                    England and H.M. Customs and Excise samples were not
confiscated by H.M. Customs and Excise was more intense and                     statistically different from each other, or from the correspond-
widespread than found on those sampled from general circula-                    ing control blanks. Methaqualone and methamphetamine were
tion, as is apparent from Fig. 3. Cocaine, THC, heroin,                         not positively detected on any of the samples analysed.
papaverine, narcotine, amphetamine and MDMA were all                            Amphetamine was detected above the threshold level on a
positively identified on at least one bundle of banknotes. With                 single sample collected by H.M. Customs and Excise with the
the exception of amphetamine and THC, the ranges of signal                      outcome that the signals recorded encompassed a wide range,
intensities recorded were all significantly greater than those                  including zero. This is consistent with the range of the
from the corresponding control blanks. In addition, the ranges                  proportion of samples found to be contaminated, which also
of both signal intensity and percentage contamination for                       includes zero, indicating that the detection of amphetamine,
cocaine, heroin, narcotine, papaverine and MDMA were                            methamphetamine or methaqualone on bundles of banknotes is,
significantly greater than those recorded from banknotes in                     again, far from commonplace.
general circulation. The differences in both the frequency and                     Estimates of the levels of controlled substances detected have
intensity of contamination with cocaine between confiscated                     been made by comparison with the response obtained from the
banknotes and those in general circulation were less distinct                   standard solutions analysed during the system checks. Material
than observed for other compounds and were not distinct at a                    deposited from solution has, however, been empirically shown
95% confidence level (Tables 1 and 2). The upper range of the                   to exhibit a much sharper desorption profile than material
signal corresponding to cocaine on confiscated banknotes was                    collected as part of a dust sample. Also, the total amount of
equivalent to approximately 2.9 ng. Many of the bundles of                      material collected on a filter mesh will affect the efficiency of
seized banknotes analysed were, however, contaminated with                      the APCI process and may reduce the response of the instrument
such large amounts of cocaine that the response of the detector                 to any targeted substances present. Using this comparison, the

Table 1 (i) Target compounds, (ii) gas phase ion transitions recorded, (iii) designated detection threshold for each transition and (iv) range of ion counts
predicted for each transition, at 95% confidence (unless stated otherwise)

                                                  (iv)

                                                 Bank of England           H.M. Customs and Excise Bank of England             H.M. Customs and Excise
                      (ii)          (iii)        control blanks            control blanks          samples                     samples
                      Precursor?    Detection    (ion counts)              (ion counts)            (ion counts)                (ion counts)
(i)                   product       threshold
Compound              (m/z)         (ion counts) Lower         Upper       Lower         Upper         Lower         Upper     Lower         Upper

Cocaine               304?182        30000        4318          5627        5173          8963         123810        440411    519906        1134886
                      304?105        20000        2105          2616        2859          4391          43928        117091    268264         741935
Cocaine               304?182        30000        4111          5834        4574          9563          65954        491548    422639        1232154
at 99% confidence     304?105        20000        2024          2697        2617          4633          18659        228961    193347         816852
THCa                  315?193        13500         703          1232        1232          1984            485           663      7478          24945
                      315?259         4500         651           744         798          1056            615           662      1639           4251
Heroin                370?328         3000         186           214         183           726              0           652      1746           9548
                      370?268         3000         340           378         884          1638             72           679      1364           6441
Papaverineb           340?202         6000         471           535         337           798            441           825      1384           5184
                      340?171         3000         741           890         768          1018            676           756      1001           1842
Narcotineb            414?220        12000         489           584         329           400              0          6072     13053          49544
                      414?179        12000        2106          2508        1705          2126           1588          2671      3323           7268
Methaqualone          251?132        30000        1524          1819        1201          1799           1703          2087      1289           1931
                      251?91         30000        2061          2216        3495          4196           2490          2652      3712           4591
Methamphetamine       150?119        20000         866           981        1045          1363            851           898      1055           1826
                      150?91         80000        4678          5212        5008          5922           4617          4833      5858          10498
                      150?32         30000         358           437         203           258            389           424       376            667
Amphetamine           136?119       150000        4350          5051        4744          7056           3689          3977      3125          16682
                      136?91         50000        7200          7724       11032         13393           7482          7768         0          69424
MDMAc                 194?163        10000         557           611         478           598            636           682      2980          32794
                      194?135        10000        2864          3018        1746          2951           2865          2945      4037          21600
                      194?133        10000        1180          1273        1034          1344           1390          1496      3072          25001
                      194?105        10000        1231          1326        1132          1433           1423          1506      3576          30096
a Tetrahydrocannabinol, the active constituent of cannabis.     b   Natural products of the opium poppy.     c   3,4-Methylenedioxymethylamphetamine or
‘ecstasy’.


                                                                                                                 Analyst, 1999, 124, 103–108           107
Table 2   Confidence interval for proportion of bundles of banknotes found to be contaminated, at 95% confidence (unless stated otherwise)

                          Bank of England                H.M. Customs and Excise          Bank of England                   H.M. Customs and Excise
Compound                  control blanks (%)             control blanks (%)               samples (%)                       samples (%)

Cocaine                   0.0             0.0            0.0             4.9              31.4             51.0               56.1           75.1
Cocaine                   0.0             0.0            0.0             5.8              28.3             54.1               53.1           78.1
at 99% confidence
THC                       0.0             0.0            0.0             0.0               0.0              0.0                7.5           21.6
Heroin                    0.0             0.0            0.0             0.0               0.0              3.0                9.2           24.1
Papaverine                0.0             0.0            0.0             0.0               0.0              3.0                0.2            8.2
Narcotine                 0.0             0.0            0.0             0.0               0.0              3.0                8.4           22.9
Methaqualone              0.0             0.0            0.0             0.0               0.0              0.0                0.0            0.0
Methamphetamine           0.0             0.0            0.0             0.0               0.0              0.0                0.0            0.0
Amphetamine               0.0             0.0            0.0             0.0               0.0              0.0                0.0            3.1
MDMA                      0.0             0.0            0.0             0.0               0.0              0.0                3.5           15.2


                                                                                  The data reported in this study are similar to the findings of
                                                                               both Hudson5 and Oyler et al.6 as a significant number of
                                                                               bundles of UK paper currency examined from general circula-
                                                                               tion were found to be contaminated with cocaine. The levels of
                                                                               contamination detected were significantly lower than those
                                                                               reported by Oyler et al.,6 possibly reflecting different sampling
                                                                               procedures or different geographical patterns of drug use. These
                                                                               data also confirm the findings of Hudson5 that the levels of
                                                                               cocaine contamination on bundles of banknotes alleged to be
                                                                               associated with the trafficking of controlled substances are
                                                                               significantly higher than those observed on bundles of bank-
                                                                               notes in general circulation. In addition, this study has shown
                                                                               that the occurrence of controlled substances, other than cocaine,
                                                                               on bundles of UK banknotes in general circulation was rare, in
                                                                               contrast to those suspected of being associated with the
                                                                               trafficking of such substances. The rapidity of the overall
                                                                               technique described allows sufficient samples to be collected
                                                                               and analysed in a given period for valid comparisons to be
                                                                               effected.


                                                                               Acknowledgements
                                                                               The authors thank the Bank of England and H.M. Customs and
                                                                               Excise National Investigation Service, Manchester for their
                                                                               cooperation in the collection of the samples for this study.
                                                                               Perkin-Elmer SCIEX, Canada, are thanked for their collabora-
                                                                               tion with instrument development. Pete Waller, Dave Leggett
                                                                               and S. H. Fiske Ltd. are acknowledged for their work in the
                                                                               development of the DBCA.


                                                                               References
                                                                                 1   Drug Trafficking Act 1994, Section 42, H.M. Stationery Office,
Fig. 3 Bar charts showing the response recorded for each sample,                     London, 1994.
corresponding to five compounds, of the two banknote groups studied.             2   Drug Trafficking Act 1994, Section 43, H.M. Stationery Office,
                                                                                     London, 1994.
responses obtained from the six most heavily contaminated                        3   J. B. French, W. R. Davidson, N. M. Reid and J. A. Buckley, in
bundles of banknotes from the Bank of England indicate that the                      Tandem Mass Spectrometry, ed. F. W. McLafferty, Wiley, New
level of contamination collected on the filters was in excess of                     York, 1983, ch. 18.
5 ng of cocaine per bundle. Other contaminated bundles yielded                   4   W. R. Stott, W. R. Davidson and R. Sleeman, Proc. SPIE, 1992, 1824,
at least 100 pg. Since each bundle contained approximately 250                       68.
banknotes, it is impossible to ascertain whether the contamina-                  5   J. C. Hudson, J. Can. Soc. Forensic Sci., 1989, 22, 203.
                                                                                 6   J. Oyler, W. D. Darwin and J. Cone, J. Anal. Toxicol., 1996, 20,
tion observed was distributed evenly amongst the banknotes or                        213.
concentrated on a few individual specimens. It is also certain                   7   K. L. Busch, G. L. Glish and S. A. McLuckey, Mass Spectrometry/
that the sampling procedure did not remove all the material                          Mass Spectrometry, VCH, New York, 1988.
present on the bundles of banknotes. In addition, it is not                      8   I. F. A. Burton, MSc Thesis, University of Bristol, 1995.
possible to estimate the proportion of material removed and,                     9   The Bank of England Printing Works World Wide Web Pages, http:/
therefore, attempts to quantify the levels of controlled sub-                        /www.bankofengland.co.uk/bndest.htm, 1998.
                                                                                10   J. A. Buckley, J. B. French and N. M. Reid, Can. Aeronaut. Space J.,
stances present on either the bundles or the individual notes are                    1974, 20, 231.
further complicated. Despite these restrictions, the technique                  11   J. C. Miller and J. N. Miller, Statistics for Analytical Chemistry, Ellis
does provide an indication of the overall concentration of                           Horwood, Chichester, 1st edn., 1984, ch. 2.
controlled substances present on the bundles of banknotes and,                  12   V. Barnett, Elements of Sampling Theory, Hodder and Stoughton,
therefore, may provide valuable evidence of contact with these                       London, 1974.
compounds.                                                                                                                              Paper 8/08573K

108       Analyst, 1999, 124, 103–108
                                           Attachment C17
 Sleemam, R., Burton, I.F.A., Carter, J.F., Roberts, D.J., and Hulmston, P., Drugs on Money, Anal. Chem,
                                                June (2000)




Sanford A Angelos                                                                     No. 03 C 3644
DRUGS ON
MONEY        U.S. government report revealed that in 1995,        eral studies have demonstrated that a significant number of

A            an estimated 3.3 million U.S. citizens were de-
             signated hardcore cocaine users, annually con-
suming between 287 and 376 metric tons of cocaine at a
                                                                  U.K. and North American banknotes in general circulation
                                                                  carry traces of cocaine (2–4), and we have detected other
                                                                  illicit compounds on banknotes. These findings should not
cost of $38 billion USD (U.S. dollars) (1). In the same           be surprising, because these commodities are traded using
year, Americans spent $57 billion USD on illegal drugs,           cash, which is handled by the same fingers that directly
compared with $43 billion USD on tobacco products (1).            touch the drugs or wrappings. The crucial question for law
Drug use is known to foster crime; increase the spread            enforcement agencies is whether “drug money” can be dif-
of health problems such as hepatitis, heart disease, and          ferentiated from money in general circulation.
AIDS; and disrupt personal, family, and legitimate eco-               Demonstrating the presence of substances of abuse is
nomic relationships.                                              only one facet of the forensic evidence that may be obtained
   The public bears the costs of this high level of drug con-     from a particular exhibit. Fingerprint evidence, for example,
sumption through the funding of the criminal justice system,      also may be valuable. Linking money with a drug or drugs
drug treatment programs, and anti-drug programs. In an            may only be significant if the money also can be linked with
effort to combat the trade in illicit drugs, many countries       an individual. An important consideration is whether the
have introduced laws that permit the seizure of money             analytical method may destroy other valuable evidence. Sur-
associated with drug trafficking. The detection of trace          prisingly, empirical evidence has shown that methods that
quantities of controlled substances (e.g., cocaine, diacetyl-     involve swabbing with methanol or direct heating do not
morphine, ⌬9-tetrahydrocannabinol [THC], and ampheta-             significantly affect fingerprint detection on banknotes.
mine-related compounds) on banknotes is frequently used               Several mechanisms have been postulated for the reten-
as part of the evidence to obtain a forfeiture order for sus-     tion of controlled substances by banknotes. It has been
pected drug dealers.                                              suggested, for example, that the ink on currency never
   Even if the analyst can establish the presence of controlled   really dries and, therefore, provides a microscopic, sticky
substances on banknotes, this does not automatically imply a      surface onto which human oils and miscellaneous environ-
direct link with the use or trafficking of that compound. Sev-    mental dirt and grime (including narcotics) can become


     Richard Sleeman                                 Jim Carter
      Fletcher Burton                               Dave Roberts                             Peter Hulmston
Mass Spec Analytical Limited (U.K.)              University of Bristol (U.K.)         Nottinghamshire Constabulary (U.K.)



               In the war on illegal drugs, it is
              important to distinguish “drug”
              money from “innocent” money.
   (a)
                                                                  Snout of portable
                                                                  vacuum cleaner


                                                                  Cardboard
   Locating                                                       housing
   key
                                                                  Handling
                                                                  indentation




                                                                  Inlet aperture
                                                                  (bristles not       Drug collection, detection, and analysis
         Direction of air flow                                    shown)              Possibly the best device for locating minute traces of con-
                                                                                      trolled substances within a large search area is a dog. A
                                                                                      trained dog can walk through a residence and complete
   (b)                                                    Quartz
                          Plastic                         meshes                      a search of all the articles present, including banknotes,
                          casting                                                     within a few minutes (5, 9). In contrast, hundreds of sam-
                                                                                      ples might be needed to ensure a complete search using
                                                                                      an instrumental technique. Though dogs can indicate the
                                                          Locating                    presence of vapors associated with certain substances, it
                                                          key                         remains the work of forensic scientists to specify the types
                 Holding                                                              and quantities. Courts have only recently explored the
                 indentation                                                          possibility of admitting “canine evidence”—a skilled han-
                                                                                      dler’s interpretation of a canine response (7 ) .
                  Cartridge not handled to the right of                                   Banknotes can be sampled in batches or individually. In
                  the dotted line
                                                                                      choosing an approach, an investigator must consider the
                                                                                      overall quantity of banknotes and the techniques available.
FIGURE 1. (a) Vacuum and (b) vacuum head for collecting dust at a                     Various methods have been used for the removal of mate-
crime scene.                                                                          rial from banknotes, including vacuum sampling, solvent
                                                                                      extraction, and direct thermal desorption.
                                                                                          Portable, domestic vacuum cleaners are now widely
attached (5). Other data have shown that after a period of                            used to collect dust samples at crime scenes (Figure 1)
use, the fibers of banknotes spread apart to produce inter-                           (10). Material can be collected from any dry surface onto
stices that allow the inclusion of small particles (6). Further,                      a small filter held at the end of a vacuum cleaner hose. Be-
the cotton–linen fibers used to manufacture banknotes may                             cause air does not pass through the vacuum cleaner before
bind chemically with controlled substances and become a                               reaching the filter, any compounds identified on the filter
significant retention mechanism. The surface and body of                              can be assumed to have come from the object being exam-
banknotes typically contain high amounts of innocuous sub-                            ined. This technique does not require portable analytical
stances, such as ink, finger grease, cosmetics, and dust par-                         equipment or that the objects being examined be physi-
ticles (7 ) , while traces of controlled substances are rarely                        cally transported to the laboratory, thus reducing the
present in more than nanogram quantities. Any practical                               amount of handling and the possibility of contamination.
analytical method must, therefore, be extremely sensitive                             Efficiency of the collection and analytical procedures will
and have a very high degree of selectivity for the com-                               vary for different substances, matrixes, and substrates, and
pounds of interest (7 ) .                                                             the technique is best regarded as semiquantitative. Vac-
    A U.S. court has ruled that evidence of banknotes con-                            uum techniques allow remote sampling and the sampling
taminated with drugs is not admissible unless it can be dem-                          of relatively large amounts of cash with a single filter. The
onstrated that the traces are markedly different from those                           low efficiency of removal generally renders the approach
that would be expected on banknotes from a particular geo-                            unsuitable for analyzing individual notes. Traces of con-
graphical area (8). One study cited in the ruling included                            trolled substances on the filter can be detected using
evidence that >75% of all circulating currency in Los Angeles                         immunoassay, ion mobility spectrometry (IMS), atmos-
is contaminated with residues of cocaine or other controlled                          pheric pressure chemical ionization tandem MS (APCI
substances. Several related studies suggest that contamination                        MS/MS), or solvent extraction followed by GC/MS.
is widespread and traces are easily transferred. In an experi-                           Although laborious and time-consuming, liquid–liquid
ment in which eight samples of cash were taken from civic                             extraction procedures have been used to study banknotes.
dignitaries in Orlando, Florida, six out of the eight samples                         In a study of Canadian currency, batches of banknotes were
showed detectable amounts of cocaine (8).                                             examined by dipping them in ethanol followed by liq-


398 A    A N A LY T I C A L C H E M I S T R Y / J U N E 1 , 2 0 0 0
uid–liquid extraction and analysis by GC/MS (2). Between          tion of cocaine on a single banknote (7) by monitoring the
0.13 and 0.49 ng of cocaine was found on Canadian ban-            protonated cocaine molecule (m/z 304).
knotes drawn from general circulation. Banknotes associated          Given that detectable amounts of controlled substances
with criminal cases contained quantities of cocaine 50–1000       are found on notes in general circulation, unless a statisti-
times higher. The overall recovery was reported as 35.6%,         cally significant number of banknotes is analyzed, the infor-
but the complexity of the method precluded detecting drugs        mation gathered may still be inadequate to assess the like-
other than cocaine, nicotine, and a few local anesthetics.        lihood of money being associated with drugs. The overall
    More recently, solid-phase extraction (SPE) using mixed-      time required for solvent extraction makes such procedures
mode sorbents specifically designed for the isolation of con-     unsuitable for analyzing large numbers of individual bank-
trolled substances (11) have proved simple, sensitive, and        notes, though they are ideally suited for confirming results
specific for detecting controlled substances on banknotes         obtained using other techniques.
(3, 4). Individual banknotes were extracted with methanol or         A recently developed technique called gold-labeled, opti-
dilute hydrochloric acid followed by addition of buffer, SPE,     cally read, rapid immunoassay (GLORIA), has been applied
and GC/MS. Again, the only controlled substance detected          to the detection of controlled substances on banknotes (16).
was cocaine, with an absolute recovery >90%. SPE methods          These “drug wipes” are supplied as disposable, single-test
are applicable only to a limited range of compounds.              kits, available for opiates, cannabis, cocaine, and ampheta-
    Supercritical fluid extraction (SFE), initially used to de-   mines. The wipes are based on an immunochemical detec-
termine cocaine in human hair, has been applied to con-           tion process that uses antigen–gold conjugates. The test
trolled substances (12). The reported ability to distinguish      takes three minutes and is sensitive to nanogram quantities
between trapped and chemically bound forms of cocaine             of analyte. The kits, together with controls, are usually re-
(13) makes this a potentially useful technique for studying       tained as exhibits because the pink coloration, which indi-
banknotes because it could reveal the time that has passed        cates a positive finding, remains for many months after the
since a bill was in contact with the drug.                        test has been done. Drug wipes are typically used either as
    We have developed a technique for analyzing individual        a preliminary screening method or as a secondary method
banknotes inserted for ~1 s between metal blocks heated           to support results from other techniques.
to 285 °C (14). Ambient air, carrying the desorbed vapor,            Some concerns exist about the lack of specificity of
is drawn between the blocks into the plenum chamber of            immunoassay techniques. Although the test responds to
a modified tandem mass spectrometer. The advantages of            the parent compounds and many or all of the metabolites,
this technique over the analysis of bundles of money include      some false positives may occur due to fluorescent com-
enhanced sensitivity and the ability to determine both the        pounds from other drugs, food additives, or residues from
number of banknotes contaminated and the degree of con-           medical investigation techniques. False negatives also may
tamination. The disadvantage is that it is a destructive pro-     result from dilution, adulteration, filtration, or lack of app-
cess (to the analyte, not the banknote!) and cannot gener-        ropriate detection limits (17).
ally be repeated if requested by defense counsel. To some            IMS can reveal traces of controlled substances collected
extent, this problem can be resolved by analyzing only a          onto a filter paper, heated to vaporization, and ionized by
portion of each banknote.                                         electrons emitted by a 63Ni source. The time required for
    Solvent extraction followed by GC/MS provides a high          the ions to drift through an electric field and impinge on a
degree of confidence in the identification of any compounds       detector is measured, and the substances are identified by
present, although typically, only three ions characteristic of    their “drift time” (Figure 2) (18, 19). Commercially avail-
cocaine (m/z 303, 182, 82) are used. Quantification is also       able equipment is robust, portable, requires very little main-
possible by using isotopically labeled internal standards (6).    tenance, and is widely used in airport and other security
Another approach has been to use solvent extraction in com-       settings. It is a sophisticated screening method capable of
bination with selective MS ionization. Positive ion CI GC/        detecting nanogram amounts of drugs and is ideally suited
MS has been applied to the analysis of cocaine and its meta-      to operating in the field. IMS has been successfully used
bolites from biological specimens (15) and also to the detec-     in drug counteroperations by the U.S. Drug Enforcement


                                                                                   J U N E 1 , 2 0 0 0 / A N A LY T I C A L C H E M I S T R Y   399 A
                                                  Heroin

            2000
   Signal




            1000




               0
                   0                 5             10                    15   20      The individual banknote method (14) has now been used
                                               Time (ms)                           to sample a very large number of notes from a wide range of
                                                                                   locations. It is abundantly clear that the majority of notes in
FIGURE 2. Heroin on banknotes by IMS.                                              circulation are contaminated with drugs, primarily cocaine.
                                                                                   The advantage of this approach is that the results are present-
                                                                                   ed to the analyst in real time, and thus appropriate decisions
Agency (20), the Canadian Revenue (21), and the U.K.                               can be made about how best to proceed, such as the choice
Nottinghamshire Police (22).                                                       of sampling strategy or confirmatory analysis.
   IMS is a useful and economical screening technique,                                We analyzed 21 pieces of paper currency collected from
particularly when large sums of money are seized. Large                            various locations on a business trip from the United King-
quantities of banknotes are vacuumed of loose, surface-                            dom to Canada and the United States (Figure 3). The
born particles. Subsequently, individual banknotes may be                          notes were kept together in a well-used wallet. All but one
tested by collecting surface swabs, which are analyzed by                          showed a response to cocaine, the exception being a £20
insertion into the vaporizer unit of the IMS, or by directly                       banknote, and the largest response was from a $20 Cana-
inserting the banknotes themselves. Inserting the bank-                            dian bill. The fifth note analyzed, a $1 USD bill, showed
notes is approximately 1000 times more sensitive than vac-                         a response for diacetylmorphine, and the twelfth, a $20
uum collection. The combined evidence from this simple                             USD bill, showed a small response to THC. No trace of
approach, together with confirmation by GC/MS or APCI                              MDMA was observed. We believe that this is the first
MS/MS, has been presented in U.K. Crown Courts.                                    report of heroin and THC contamination on U.S. cur-
   Direct thermal desorption of materials into the APCI                            rency from general circulation.
source of a tandem mass spectrometer (23) allows rapid                                Precise quantification has not been attempted because
identification of microscopic quantities of target com-                            of the difficulty of comparing responses from solutions
pounds from complex matrixes, such as household dust,                              with those from particulate materials trapped within the
without time-consuming sample preparation (24). Rather                             matrix of banknotes. It has been estimated that matrix
than collecting a full product ion spectrum, two or more                           effects attenuate the instrument response 15–20 fold. Al-
characteristic precursor/product ion-pair transitions for                          though heroin contamination was noticeable on one note,
each compound are monitored, yielding enhanced sensitiv-                           the drug did not appear to have spread to any detectable
ity without a loss in selectivity (25). Typically, samples are                     extent to the other notes, despite their close proximity and
analyzed for the most common controlled substances, al-                            similar handling over a period of several days. Similarly,
though the technique can be tailored to specific applica-                          while some of the notes exhibited relatively high cocaine
tions. Although no single analytical procedure can identify                        contamination, notably the $20 Canadian bill, others
a compound completely unambiguously, this method pro-                              showed minimal contamination.
vides a high degree of confidence.
   The technique has been used to analyze particulates                             What it all means
collected from bundles of U.K. banknotes (10, 26); both                            It is generally assumed that larger traces of controlled sub-
the frequency and amount of controlled drugs were com-                             stances can be detected nearer to the initial contact with the
pared with banknotes suspected of being associated with                            drug, both spatially and temporally. In the case of paper
drug trafficking. Cocaine, heroin, and two heroin-related                          money, drug particles within the matrix of a banknote will
opiates were present above the detection threshold on                              be abraded or augmented each time the banknote is han-
banknotes from general circulation, but significantly larger                       dled, and equilibrium will be established. The upper limit of
amounts of these compounds were present on a greater                               the general background quantity for cocaine on currency in
proportion of the drug money. In addition, a significant                           the United States is 13 ng per banknote (5), whereas 13–
number of confiscated banknote bundles were also con-                              100 ng amounts indicate closer contact with the original
taminated with THC and 3,4-methylenedioxymethylam-                                 contamination. Although it is not possible to say how traces
phetamine (MDMA, “Ecstasy”).                                                       of drugs originated or how long they have been present, a


400 A       A N A LY T I C A L C H E M I S T R Y / J U N E 1 , 2 0 0 0
large quantity is consistent with direct contact.                    Traces of controlled substances on banknotes could arise
   The prevalence of cocaine may, at least in part, be attrib-   from contact with the drug itself, a contaminated hand, or
uted to the abuse of this compound through “snorting”,           another contaminated item. Thus, it is possible for an indi-
the practice of inhaling drugs through the nose, which is        vidual who has no personal involvement with drugs to be
sometimes effected with a rolled banknote. The relative          in possession of banknotes bearing detectable amounts of
ease with which cocaine can be isolated from banknotes is        controlled substances. The mere presence of these com-
also reflected in the number of reports of its presence, in      pounds is, therefore, unlikely to be sufficient for a court
contrast with other drugs of abuse. Although ampheta-            to conclude that a quantity of money is linked with drugs.
mine is also frequently administered in powder form, the         Several individual analyses should be conducted to assess
crystal size is typically larger than that of cocaine, and re-   both the quantities present and the frequency of contami-
tention by banknotes appears less effective. (Crystal sizes      nation. In the event that money is linked to drug traffick-
vary considerably, but sample studies reveal that the count      ing, one would expect to find that many, if not most, of
geometric mean diameter for cocaine hydrochloride crys-          the banknotes are contaminated. It is self-evident that the
tals is 1.4 µm, with a geometric standard deviation of 2.6       higher the frequency of contamination, the stronger the
µm.) Cannabis usually occurs as either resin or dried leaves,    likelihood of direct involvement. From relatively few sam-
which produce resinous surface deposits. Other drugs are         ples, it is not possible to claim that the contamination of a
usually administered in tablet form (e.g., MDMA), and            large quantity of money is widespread.
material must be removed before it can be transferred to             The study of cocaine contamination on Canadian cur-
a banknote. LSD is considerably more potent than many            rency stated that the most meaningful information would
other drugs, and, although the drug in its pure form is a        be gained by analyzing samples in batches according to de-
crystalline solid, it is normally handled in solution and        nomination and comparing the amount per banknote from
soaked into paper “tabs” for use. Because of the method          general circulation with seized money (2). Four batches of
of handling and usage, combined with the small doses             100 banknotes of each denomination were analyzed; the
used, it is unusual to encounter a detectable amount of          extracts were combined, and an average amount of contam-
the drug.                                                        ination was derived for each denomination in each batch.
   In an attempt to establish how recently banknotes had         Using this method, it is impossible to comment on the
been in contact with controlled substances, bundles of           origins of any drugs traces; the drugs found could come
banknotes were shaken inside polyester envelopes (27),           from a single banknote or could be equally distributed on
assuming that recent contact would result in particles           all the notes. If individual banknotes are analyzed, it be-
being loosely bound to the banknotes. The insides of the         comes possible to assess the extent to which contamina-
envelopes and some of the bundles were subsequently              tion permeates a bundle.
rinsed with methanol and the extract analyzed by GC/                 As of August 1999, more than £100,000 worth of used
MS. The study concluded that cocaine was present on              Sterling currency from general circulation had been analyzed
banknotes in general circulation, but detectable quantities      by the individual note technique (~5000 individual English,
were not removed by shaking.                                     Scottish, and Northern Irish banknotes). The results broadly
   Several commonly determined substances (e.g., di-             reflected results obtained from the analysis of banknote bun-
acetylmorphine and THC) are known to readily degrade             dles (8); while cocaine contamination was widespread, the
in the presence of moisture and air. If these compounds          incidences of heroin, THC, MDMA, and amphetamine were
are detected, recent contact with the drug can be inferred.      rare, being found on <3% of banknotes. The total quantity
When diacetylmorphine has degraded, it is sometimes pos-         of seized cash analyzed exceeded £8 million Sterling, com-
sible to establish the presence of crude heroin by deter-        prising more than a quarter of a million individual notes.
mining the more stable opiates narcotine and papaverine,         Although it has been demonstrated that cocaine can be
which often persist in the mixture following acetylation of      transferred to and from banknotes by hand contact (28),
opium. Degradation products may also be sought, for              it is also commonly asserted that a single highly contami-
example, benzoylecgonine in the case of cocaine.                 nated banknote can contaminate a whole bundle; however,


                                                                                  J U N E 1 , 2 0 0 0 / A N A LY T I C A L C H E M I S T R Y   401 A
                                            (a)
    Intensity (ion counts per second)




                                            (b)




                                            (c)

                                                                                                                                            nificant contamination
                                                                                                                                            with cocaine. It is possi-
                                                                                                                                            ble that these sheets
                                                                                                                                            were placed on a con-
                                                               Time (min)                                                                   taminated surface or
                                                                                                                                            were handled immedi-
FIGURE 3. Tandem MS of banknotes (15 U.S., 4 Canadian, and 1 Sterling) of various denominations.                                            ately after handling
(a) Cocaine (m/z 304 → 105 transition), all 21 notes positive. (b) Heroin (m/z 370 → 268 transition), one $1 USD positive. (c) THC (m/z 315 contaminated money.
→ 259 transition), one $20 USD weakly positive.                                                                                             In total, 46% of the
                                                                                                                                            returned bundles of
                                                                                                                                            paper showed traces of
very little evidence exists that this occurs.                                               cocaine. Overall, the levels of cocaine found on the sheets of
     For example, a Northern Irish banknote that produced                                   paper were lower than those observed on the majority of
a large instrument response for cocaine was placed between banknotes from general circulation, which will have passed
four other used banknotes that had shown no response for through counting machines many times. No drug other
cocaine. The banknotes were then folded together and                                        than cocaine was detected in a survey of more than 2000
agitated to simulate normal handling. When the four outer analyzed samples.
banknotes were re-examined, <5% of the original quantity
was observed to have passed to the two banknotes with                                       The future
which it had been in direct contact. The original banknote It is possible to differentiate “drug” money from “inno-
was still, by far, the most highly contaminated. Similar                                    cent” money. However, the interpretation of the signifi-
results have been observed for MDMA and other com-                                          cance generally relies on the experience of the analyst. Such
pounds, suggesting that at least some of the residues are                                   factors as the proportion of banknotes contaminated with
bound to the fabric of the banknote and are not easily                                      a particular compound and the extent of contamination
transferred through secondary contact. Transfer of mate-                                    need to be considered and compared with money taken
rial by means of primary contact is, therefore, a more                                      from general circulation. Simplistic yardsticks, such as de-
likely cause of contamination than is transfer between ban- fining a contamination threshold for individual notes, only
knotes, and traces are unlikely to significantly homogenize tell part of the story because they fail to monitor absolute
within or between bundles of cash during transport to the                                   concentrations. Reporting the percentage of contaminated
laboratory.                                                                                 banknotes disregards the extent of contamination on indi-
     Counting machines may contribute to the wide dissemi-                                  vidual notes, and the percentage will, of course, vary acc-
nation of drugs on currency (5). Indeed, counting machines ording to the detection limit of the particular analytical
at the Bank of England have been shown to be contami-                                       approach used. A unified approach is needed whereby re-
nated with cocaine (26), probably resulting from the myriad sults obtained using different techniques and at different
banknotes counted daily. In one study, 50 sheets of paper                                   laboratories can be meaningfully compared. Because a sta-
banknotes with similar fiber characteristics to Sterling ban-                               tistically significant number of analyses are required, it
knotes were cut to the size of £5 notes and dispatched to                                   seems likely that one of the rapid approaches, such as
60 different banks within England and Wales to be counted thermal desorption followed by IMS or APCI MS/MS,
by routine methods (29). On return, the sheets of paper                                     will become the standard against which other techniques
were analyzed by direct thermal desorption APCI MS/MS                                       are compared.
for various controlled substances. The sheets passed through                                     Further work is now in progress to demonstrate how
the counting machine in reverse order to that in which they                                 drug     traces can be correlated with bulk quantities of mate-
were analyzed, the first accumulating the most contamina-                                   rial.  It  is sometimes possible to characterize controlled sub-
tion, with less transferred to subsequent sheets. In contrast,                              stances     by profiling other compounds present (e.g., natural
the outer sheets of a manually counted sample showed sig-                                   products,      cutting agents, and contaminants). Because differ-


402 A                                   A N A LY T I C A L C H E M I S T R Y / J U N E 1 , 2 0 0 0
ent materials adhere to banknotes with varying degrees of                                     (19)   McGann, W.; Jenkins, A.; Ribiero, K.; Napoli, J. Proc. Euroopt. Oct 1993,
tenacity, and sample collection and analysis may further dis-                                        64–75.
criminate between different components, the profile of a                                      (20)   Sobotka, A. J. Proceedings of the Counter Drug Law Enforcement: Applied
drug trace rarely reflects the constituency of the bulk sample.                                      Technology for Improved Operational Effectiveness International Technology
We anticipate that characterizing the stable isotopic composi-                                       Symposium, Office of National Drug Control Policy, Executive Office of
tion of the active components will permit such matches.                                              the President: Nashua, NH, Oct 24–27, 1995; pp 1–6.
                                                                                              (21)   Fytche, L. M.; Hupe, M.; Kovar, J.; Pilon, P. Proceedings Contraband and
The authors wish to thank John Moss for work on trapping mechanisms and                              Cargo Inspection Technology International Symposium, Office of the
Joanna Parry for the counting machines work. Bill Davidson and Bill Stott of Sciex                   National Drug Control Policy and National Institute of Justice,
assisted in the design of the thermal desorption unit manufactured by John Luke.                     Oct 1992; pp 147–164.
                                                                                              (22)   Hulmston, P.; Harries, L. Proceedings of Harnessing Technology To Support
References                                                                                           the National Drug Control Strategy, Chicago, IL, August 18–21, 1997,
   (1)     Rhodes, W.; Langenbahn, S.; Kling, R.; Scheiman, P. What America’s                        Office of the National Drug Control Policy and National Institute of
           Users Spend on Illegal Drugs 1988–1995; The Office of National Drug                       Justice; pp 1–12.
           Control Policy: Washington, DC, Sept 29, 1997.                                     (23)   Busch, K. L.; Glish, G. L.; McLuckey, S. A. Mass Spectrometry/Mass
   (2)     Hudson, J. C. J. Can. Soc. Forensic Sci. 1989, 22, 203–218.                               Spectrometry Techniques and Applications of Tandem Mass Spectrometry;
   (3)     Oyler, J.; Darwin, W. D.; Cone, E. J. J. Anal. Toxicol. 1996, 20, 213–216.                VCH: Weinheim, Germany, 1988.
   (4)     Negrusz, A.; Perry, J. L.; Moore, C. M. J. Forensic Sci. 1998, 43, 626–629.        (24)   Liu, R. J. H. In Forensic Mass Spectrometry; J. Yinon, Ed.; CRC Press:
   (5)     Paradis, D. RCMP Gaz. 1997, 59, 20–22.                                                    Boca Raton, FL, 1987, pp 1–50.
   (6)     Moss, J. M. Quantitation of Levels of Cocaine Contamination Found                  (25)   Busch, K. L.; Cooks, R. G. In Tandem Mass Spectrometry; F. W. McLaf-
           on Sterling Bank Notes. BSc. Thesis, University of Bristol, U.K., 1997.                   ferty, Ed.; Wiley: New York, 1983; pp 11–40.
   (7)     Song, D. M.; Zhang, S. D.; Kohlhof, K. J. Chromatogr., A 1996, 731, 355–360.       (26)   Burton, I. A. F. A Study of the Background Levels of a Range of Con-
   (8)     Alexander, A. J. United States of America v. U.S. Currency, $30,060.00;                   trolled Substances on Sterling Banknotes in General Circulation in
           No. 92–55919. D.C. No. CV-90-4598-RSWL OPINION; Pasadena, CA,                             England and Wales. MSc. Thesis, University of Bristol, U.K., 1995.
           argued and submitted Jan 31, 1994, filed Nov 8, 1994.                              (27)   Aaron, R.; Lewis P. Crime Lab. Digest 1987, 14, 1.
   (9)     Rouhi, A. M. Chem. Eng. News 1997, 75 (39), 24–27.                                 (28)   ElSohly, M. A. J. Anal. Toxicol. 1991, 15, 46.
   (10)    Sleeman, R.; Burton, I. A. F.; Carter, J. F.; Roberts, D. J. Analyst 1999,         (29)   Parry, J. Investigation of Sources and the Ability to Trace Cocaine
           124, 103–108.                                                                             Residues. BSc. Thesis, University of Bristol, U.K., 1998.
   (11)    Clauwaert, K. M., et al. Anal. Chem. 1998, 70, 2336–2344.
   (12)    Morrison, J. F.; Chesler, S. N.; Reins, J. L. J. Microcolumn Sep. 1996, 8,          Richard Sleeman is scientific director and Fletcher Burton is the
           37–45.                                                                          forensic manager of Mass Spec Analytical Ltd. (United Kingdom).
   (13)    Morrison, J. F.; Chesler, S. N.; Yoo, W. J.; Selavka, C. M. Anal. Chem.         Their main research interest is developing rapid sample introduction
           1998, 70, 163–172.                                                              techniques for real-time trace analytical applications. Jim Carter is
   (14)    Roberts, D. J.; Carter, J. F.; Sleeman, R.; Burton, I. A. F. Spectros. Eur.     research associate in MS at the NERC Organic Mass Spectrometry
           1997, 9, 20–24.                                                                 Facility and is interested in developing applications for organic and
   (15)    Crouch, D. J.; Alburges, M. E.; Spanbauer, A. C.; Rollins, D. E.; Chasin,       stable isotopic MS. Dave Roberts is a lecturer with research inter-
           A. A. J. Anal. Toxicol. 1995, 19, 352–358.                                      ests in method development for trace substances in environmental
   (16)    Aberl, F.; Berg, R.; McLean, C. Proceedings of Harnessing Technology to         samples. Both are based at the University of Bristol (United King-
           Support the National Drug Control Strategy, Chicago, IL, Aug 18–21, 1997,       dom). P. Hulmston is scientific support manager and head of the
           Office of National Drug Control Policy, 37, pp 45–46.                           scenes of crime department of the Nottinghamshire Police. He is
   (17)    Visher, C. A Comparison of Urinalysis Technologies for Drug Testing in Crimi-   particularly interested in the application of trace drug detection and
           nal Justice; National Institute of Justice: Washington, DC, 1991; pp            identification technology to support police counter drug operations.
           1–44.                                                                           Address correspondence to Carter at School of Chemistry, Univer-
   (18)    Hill, Jr., H. H.; Siems, W. F.; St. Louis, R. H.; McMinn, D. G. Anal. Chem.     sity of Bristol, Cantock’s Close, Bristol BS8 ITS, United Kingdom
           1990, 62, 1201 A–1209 A.                                                        (jim.carter@bristol.ac.uk).


                                                                                                                 J U N E 1 , 2 0 0 0 / A N A LY T I C A L C H E M I S T R Y   403 A
                                          Attachment C18
Jourdan, T.H., Veitenheimer, A., and Wagner, J.R., Exploration Of Cocaine Contamination of United States
               Currency – Continuing Studies, Proceedings Am. Acad. Forens. Sci., (2010).




Sanford A Angelos                                                                    No. 03 C 3644
A86       Microcrystal    Analysis  of    Cocaine A87                                      Exploration of Cocaine Contamination
          Hydrochloride and Added Adulterants                                              of    United     States Currency   –
                                                                                           Continuing Studies
Hannah C. Nelson, BS*, University of Alabama at Birmingham, 1201
University Boulevard, Birmingham, AL 35294; Elizabeth A. Gardner,                Thomas H. Jourdan, PhD*, Forensic Science Institute, University of
PhD, University of Alabama at Birmingham, Department of Justice,                 Central Oklahoma, 100 North University Drive, Box 203, Edmond, OK
UBOB 210, 1530 3rd Avenue, South, Birmingham, AL 35294 4562; and                 73034; Allison Veitenheimer, BS, 801 Northern Trace, Keller, TX 76248;
Dan Matteo, MSFS, Alabama Department of Forensic Sciences, 2026                  and Jarrad R. Wagner, PhD, Department of Forensic Sciences, Oklahoma
Valleydale Road, Hoover, AL 35244                                                State University CHS, 1111 West 17th Street, Tulsa, OK 74107

      After attending this presentation, attendees will have a basic                   The goals of this presentation are to continue the development of the
understanding of microcrystal tests, the effect of adulterants on cocaine        understanding of the contamination of U.S. currency resulting from illicit
microcrystal morphology, and general trends to observe when performing           cocaine trafficking, as well as to introduce a survey of several foreign
microcrystal tests on cocaine.                                                   currencies for similar contamination; and to offer a mathematical model
      This presentation will impact the forensic science community by            which seeks to assign a numerical probability of drawing from currency
shedding new light on an old technique by showing trends in crystal              in general circulation bills contaminated at the levels quantitated in
behavior of cocaine when diluted with common adulterants. It will                evidence submissions to the FBI Laboratory associated with forty
demonstrate that microcrystal tests are specific enough to be used in drug       criminal investigations involving drug trafficking and money laundering.
analysis. The techniques developed in this project have potential                      This presentation will impact the forensic science community by
application in drug profiling to track both local and international              providing information on an analytical protocol developed for
trafficking patterns.                                                            quantitation of loosely bound cocaine residue levels on currency, and a
      Microcrystal analysis of drugs, once used as a confirmatory test, has      mathematical model offered regarding the interpretation of the resulting
gradually been replaced with more sophisticated technology; however,             values for U.S currency.
these tests still have a place in forensic labs. The objective of this project         This study, early results of which have been reported to the Academy
was to investigate the changes in the crystal morphology of cocaine in the       (1997 and 2003), had its beginnings in response to a 1994 decision by the
presence of the common adulterants, caffeine and lidocaine.                      9th Circuit Court of Appeals in the case of U.S. v. U.S. Currency
      The observed changes in the morphology of the cocaine crystals             (Alexander), 39 F.3d 1039, in which the court(s) acknowledged the wide
were unique to both the specific adulterant and the concentration of that        spread contamination of the U.S. currency supply by the illicit cocaine
adulterant. Similar trends were seen for aqueous and powder samples.             importation trade. The argument has been put forth and a former FBI
Cocaine/caffeine mixtures can be identified by the appearance of curved          Laboratory forensic examiner, successfully so during expert witness
short axes. The degree of curvature increases with caffeine concentration,       testimony in federal court on several occasions, that the absolute amount
until at fifty percent caffeine, sphere shaped branched crystals appear.         of the drug on currency, and not its mere presence, is probative.
The crystal formation was also delayed in the presence of caffeine.                    The ink on U.S. currency never really dries. In effect, one can
      Unlike caffeine, the changes in crystal morphology of cocaine in the       conceptualize currency as in a microscopic sense a “sticky” surface on to
presence of lidocaine were seen immediately. Lidocaine adulterant can            which, as it is circulated, various oils (e.g., human sebaceous) and
be identified by longer, thinner crystals with an X shaped short axis. As        miscellaneous environmental dirt and grime (including residue amounts
the lidocaine concentration increases, the crystals become x shaped and          of drugs of abuse) become attached. In the case of cocaine, a person who
at fifty percent lidocaine, the crystal form an X with the presence of few       has handled the drug the then handles currency transfers residue in the
non branched spherical crystals.                                                 low hundreds of nanograms range to the bill(s), and that this amount over
      The results show that the cocaine crystal morphology does change in        the course of subsequent circulation and manipulation is reduced to a
the presence of an adulterant. Distinct trends were observed with each           steady state “background” level.
adulterant at each concentration.                                                      A study has recently been completed of the currency in general
      Current work on this project includes examining the crystal habit of       circulation in the U.S. Quantifiable levels of cocaine have been
cocaine mixtures of procaine, benzocaine, table sugar, baking soda,              encountered on more than ninety percent of the bills thus far examined.
and levamisole.                                                                  Because it is unlikely that members of the illicit drug trade have actually
Microcrystal, Cocaine, Adulterants                                               physically handled this volume of bills, it was presented during a 1997
                                                                                 presentation to the Academy that some other agent is responsible for the
                                                                                 extent of the distribution of the drug on currency in general circulation, in
                                                                                 particular submitting that this agent is the mechanical currency counters
                                                                                 which are universally employed in financial institutions have had a
                                                                                 “homogenizing” effect on the currency supply.
                                                                                       The sampling aliquot for this study is $1,860, which translates to ten
                                                                                 bills of each common U.S. currency denomination ($1, … $5, … , $100).
                                                                                  Thus results are reported by location and by denomination. The initial
                                                                                 screening is performed with a Barringer Instruments IONSCAN ion
                                                                                 mobility spectrometer (IMS), an instrument with nanogram sensitivity for
                                                                                 a number of the commonly encountered drugs of abuse, and cocaine in
                                                                                 particular. Confirmation and quantitation is accomplished using liquid
                                                                                 chromatography mass spectrometry mass spectrometry (LC/MS/MS) on


68                                                                                                                                        * Presenting Author
an Applied Biosystems API4000Q instrument with Shimadzu LC. A                          • Providing minimum standards for drug examinations and
deuterated internal standard is introduced in the extraction solvent in the              reporting;
initial step of the quantitation process so as to eliminate potential errors           • Establishing quality assurance requirements;
associated with subsequent manipulations. Currency aliquots from some                  • Considering relevant international standards; and,
70 locations in 42 states have been surveyed (quantitated). In addition,               • Seeking international acceptance of SWGDRUG
currency from on the order of ten foreign countries has been similarly                   recommendations.
surveyed.                                                                           The SWGDRUG core committee is comprised of representatives
      Following plotting of the background currency data (frequency as a       from federal, state and local law enforcement agencies in the United
function of contamination level in ng/bill) the equation of the resulting      States, Canada, Great Britain, Germany, Japan, Australia, the European
curve has been established and the function then normalized. Integration       Network of Forensic Science Institutes (ENFSI), the United Nations Drug
from zero to a particular contamination level, i.e., one from a given          Control Program (UNDCP), forensic science educators, the American
criminal case, with subsequent subtraction from 1.00, estimates the            Society of Crime Laboratory Directors (ASCLD), ASTM, and the
probability of drawing a bill from general circulation contaminated to that    National Institute of Standards and Technology (NIST). Published
particular extent or higher.                                                   recommendations are available on the SWGDRUG website located at:
Cocaine Residue Recovery, Quantitation of Cocaine on Currency,                 www.swgdrug.org.
Interpretation of Cocaine Currency Contamination                               Analysis of Drugs, SWGDRUG, Seized Drugs


A88       The Scientific Working Group for the                                 A89       PCR Optimization of a Highly Polymorphic
          Analysis of Seized Drugs (SWGDRUG)                                             Marijuana STR Locus on Collection Cards
                                                                                         for High-Throughput Screening
Scott R. Oulton, BS*, Southwest Laboratory, 2815 Scott Street, Vista,
CA 92081                                                                       Heather M. Coyle, PhD*, University of New Haven, Forensic Science
                                                                               Department, 300 Boston Post Road, West Haven, CT 06516
      After attending this presentation, attendees will discuss the current
status of SWGDRUG’s work products. Representatives from the                          After attending this presentation, attendees will have a better
SWGDRUG Core Committee will answer questions and address the                   understanding of evidence archival for plant DNA and how plant DNA
concerns of the attendees.                                                     can be useful as forensic evidence.
      This presentation will impact the forensic science community by                This presentation will impact the forensic science community being
providing the current work products by SWGDRUG as it relates to the            that this is the first time collection cards and automation for plant data
analysis of seized drugs.                                                      basing has been presented in a useful forensic context that could be
      The objective of this presentation is to update forensic drug analysts   implemented in all forensic laboratories and for crime scene personnel for
on recent work products from the Scientific Working Group for the              marijuana typing.
Analysis of Seized Drugs (SWGDRUG). Currently, SWGDRUG is                            The genetics of marijuana has long been undefined and a better
working on the following topics:                                               understanding of the different relationships of Cannabis cultivars would
          • Examples for the estimation of uncertainty of measurement in       be useful in trying to understand different grow operations and for tracing
            weight determinations;                                             drug distribution patterns. As such, a DNA based bioinformatics
          • Revising/updating current SWGDRUG Recommendations;                 classification program using a variety of genetic markers and
          • Developing standard training competencies.                         methodologies is being initiated. A series of different markers have been
      These topics have been widely discussed in the forensic science          identified and published in the scientific literature in recent years;
community. During this presentation, the current status of SWGDRUG’s           however, evaluating which markers would be ultimately the best to use
work products will be discussed. Representatives from the SWGDRUG              (based on power of sample discrimination) is challenging at the
Core Committee will answer questions and address the concerns of               population level. A polymorphic hexanucleotide repeat STR locus
attendees.                                                                     (NMI01) was selected as a genetic marker to screen our samples for initial
      In past presentations to the American Academy of Forensic Sciences,      classification by DNA. As our samples are sorted into groups, we will
a synopsis of the history of SWGDRUG and goals of the core committee           add more markers to determine if further individualization of the samples
have been presented. This year’s presentation will focus on the specifics      can be accomplished as deemed necessary from the data.
described above. However, the following information is presented here                As an initial step, one goal was to define a convenient, long term
for those unfamiliar with the SWGDRUG process. SWGDRUG has been                archival system for plant DNA typing of marijuana (Cannabis sativa L.).
in existence since 1997. The mission of SWGDRUG is to recommend                Forensic evidence collection and archival of plant evidence is typically
minimum standards for the forensic examination of seized drugs and to          performed by collecting leaf samples in coin envelopes and air drying the
seek their international acceptance.                                           sample for later trace evidence analysis. Collection cards, however, are
      The objectives of SWGDRUG are the following:                             utilized for human DNA database archival of blood and saliva fluids and
          • Specifying requirements for forensic drug practitioners’           are considered valuable for long term preservation of DNA evidence and
            knowledge, skill and abilities;                                    for high through put processing by PCR. Samples on these cards are
          • Promoting professional development;                                stable for several years at room temperature storage. These cards are also
          • Providing a means of information exchange within the forensic      pre treated with chemicals that lyse cells, denature proteins and protect
            science community;                                                 nucleic acids from nucleases, oxidation and ultra violet irradiation
          • Promoting ethical standards of practitioners;                      damage as well as preventing mold and bacterial growth.


* Presenting Author                                                                                                                                    69
EXHIBIT 6
EXHIBIT 7
EXHIBIT 8
EXHIBIT 9
EXHIBIT 10
EXHIBIT 11
EXHIBIT 12
Washington's sniffer dogs re-trained to ignore pot and focus on
hard drugs
Police in Washington, where voters legalized marijuana use last year, putting dogs on
marijuana desensitization training

Associated Press: Friday 31 May 2013 17.34 ED

When Dusty, a 19-month-old black Labrador, walked past a pipe full of marijuana during
a recent police search of a house, he was doing exactly what his handler hoped.

The newest drug-sniffing dog on the police force in Bremerton, near Seattle, is one of a
few police dogs in Washington state that are not trained to point out pot during searches.
Other police departments are considering or in the midst of re-training their dogs to
ignore pot as well, part of the new reality in a state where voters last fall legalized
marijuana use.

"We wanted to train our dog on what was truly illegal substances, that would be heroin,
methamphetamine and cocaine," said Dusty's handler, Officer Duke Roessel, who added
that Dusty nabbed 5lbs of meth during that recent search.

Police departments in Bremerton, Bellevue and Seattle, as well as the Washington state
patrol, have either put the dogs through pot desensitization training or plan not to train
them for marijuana detection.

The law decriminalized possession of up to an ounce of the drug for individuals over 21
years old. It also barred the distribution and growth of marijuana outside the state-
approved system.

Police say that having a K-9 unit that doesn't alert to pot will lessen challenges to
obtaining search warrants because the dog won't be pointing out possible legal amounts
of the drug. Traditionally, dogs are trained to alert on the smell of marijuana, heroin,
crack cocaine, methamphetamine and cocaine. They can't tell which one it is or how
much of each there is.

In December, the Washington Association of Prosecuting Attorneys told officers in a
guidance memo that dogs that alert on pot face limitations when a search warrant is
sought but those are "not fatal to a determination of probable cause."

The group instructed officers to point out that the dog was trained to smell pot and how
that is relevant to other information when they seek a warrant, and that a "narcotics-
trained canine's alert will still be relevant to the probable cause equation."

In Pierce County, however, prosecutor Mark Lindquist said authorities are being cautious
about the new law because judges might excise the dog sniff from their analysis of
probable cause. He's also not convinced dogs can be re-trained. "We'll need new dogs to
alert on substances that are illegal," he said.

In January, the Washington State Criminal Justice Training Commission removed
detecting marijuana from its canine team certification standards. The change doesn't
prohibit trainers from doing so, but it's not required anymore.

But some police departments aren't making any changes. And some observers say that a
state Supreme Court decision in 2010 in which the justices sided against medical
marijuana patients who argued police officers no longer had probable cause to
immediately arrest or investigate due to the legalization of medical pot.

Last fall's legalization law "just made one ounce not a crime for adults. That means that
any amount over an ounce is still illegal, growing marijuana is still illegal, selling
marijuana is still illegal, passing a joint to somebody is still illegal," said medical
marijuana advocate and attorney Douglas Hiatt.

For different reasons, dog trainer Fred Helfers of the Pacific Northwest Detection Dog
Association agreed with Hiatt.

But having spent 20 years as a narcotics investigator, Helfers said departments who
abandoned pot training are having a "knee-jerk" reaction. He said they may miss actual
crimes being committed. "What about trafficking? What about people who have more
than an ounce?" he said.

Nonetheless, Helfers is helping departments who want to go through the "extinction"
training, which he said is a common method to change what substances dogs alert to. It
takes about an initial 30 days plus every day reinforcements to modify the dog's behavior.

"Overall, I think there's still a large amount of agencies on a wait-and-see approach with
their dogs," Helfers said.

http://www.theguardian.com/world/2013/may/31/washington-sniffer-dogs-marijuana
